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  HIGHLAND DALLAS FOUNDATION, INC.

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

  In re:                       §                        Case No. 19-34054-sgj11
                               §
  HIGHLAND CAPITAL MANAGEMENT, §
  L.P.,                        §                        Chapter 11
                               §
        Debtor                 §                        Relates to Dkt. No. 2460

   RESPONSE AND DISCLOSURES RELATED TO THE COURT’S ORDER REQUIRING DISCLOSURES




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          CLO HoldCo, Ltd. (“CLO HoldCo”), Charitable DAF Fund, LP (“DAF Fund”), Highland

 Dallas Foundation, Inc., (“Highland Dallas Foundation,” collectively, the “Charitable

 Respondents”), 1 file this Response (“Response”) and submit these Disclosures (“Disclosures”) to

 comply with the Court’s sua sponte Order Requiring Disclosures (Dkt. No. 2460) (the

 “Disclosures Order”).




 1
           CLO Holdco and Highland Dallas Foundation have filed a Motion to Withdraw the Reference in Adversary
 Case No. 20-03195 (the “Adversary Proceeding”), at Dkt. No. 24 (in the Adversary Proceeding), and neither the fact
 nor content of this Response is intended to be nor shall be deemed a waiver of their right to a trial by jury on all claims
 asserted in the Adversary Proceeding nor consent to the entry of final orders in the Adversary Proceeding by the
 Bankruptcy Court. DAF Fund is also a defendant in the Adversary Proceeding but has not been served. Neither the
 fact nor content of this Response by DAF Fund is intended to be nor shall be deemed: a waiver of service requirements
 in the Adversary Proceeding; acceptance of service of citation or summons in the Adversary Proceeding; waiver of its
 right to a trial by jury on all claims in the Adversary Proceeding (if ever served), nor consent to the entry of final
 orders in the Adversary Proceeding by the Bankruptcy Court (again, if ever served). The Charitable Respondents
 submit this Response in the Bankruptcy Case solely because the Court has ordered them to do so, and because they
 have appeared before this Court previously.
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                                        PRELIMINARY STATEMENT

         1.       CLO HoldCo, DAF Fund, and Highland Dallas Foundation have each previously

 filed pleadings in this Court and are, at least arguably, parties to the Bankruptcy Case. As set forth

 herein, several targets of the Court’s Disclosures Order have never made an appearance before this

 Court including Charitable DAF Holdco, Ltd.2 (“DAF Holdco”), Highland Santa Barbara

 Foundation, Inc. (“Highland Santa Barbara Foundation”), and Highland Kansas City Foundation,

 Inc. (“Highland Kansas City Foundation,” collectively with DAF Holdco and Highland Santa

 Barbara Foundation, the “Non-Party Targets”).3 The Court does not have the power to order a

 non-party to produce documents nor undertake sua sponte investigations, particularly into non-

 parties. The fact that these entities are non-parties and at the same time targets, is telling. Further

 the Non-Party Targets have not been served with the Disclosures Order.

         2.       Neither the Charitable Respondents nor undersigned counsel are authorized to

 make appearances for the Non-Party Targets, and the Non-Party Targets are not by this Response

 submitting themselves to this Court’s jurisdiction. The Charitable Respondents file this Response

 and submit these Disclosures solely on their own behalf and neither they nor undersigned counsel

 are appearing for or on behalf of the Non-Party Targets. Nonetheless, much of the Disclosures

 provided by the Charitable Respondents on their own behalf will be informative regarding the

 Non-Party Targets. Further, the Non-Party Targets have provided limited authorization for the




 2
         Undersigned counsel has been retained to represent DAF Holdco; however, DAF Holdco has never made an
 appearance in this bankruptcy case and has not been served in the Adversary Proceeding. Nor has DAF Holdco been
 served with this Disclosures Order. DAF Holdco has not authorized undersigned counsel to accept service nor to
 make an appearance for it in this Bankruptcy Case.

 3
         The Highland Dallas Foundation, the Highland Santa Barbara Foundation, and the Highland Kansas City
 Foundation are sometimes also referred to as “Supporting Organizations.”


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 Charitable Respondents, through Mr. Mark Patrick (“Patrick”), to provide the information to the

 Court that is submitted by the Charitable Respondents in this Response.

        3.      Further, the Disclosures Order does not mention the third-party foundation level

 entities included in the Structure Chart (infra) (“Foundations”); however, these Foundations have

 provided the Charitable Respondents with documents and important information regarding their

 charitable giving structures and the supporting organizations include the Highland Dallas

 Foundation and the supporting organizations that are Non-Party Targets. The fact and content of

 this Response is not intended to be nor shall be deemed to be an appearance by these Foundations

 in this Bankruptcy Case, nor submission by them to this Court’s jurisdiction. The Charitable

 Respondents file this Response and submit these Disclosures solely on their own behalf and neither

 they nor undersigned counsel are appearing for or on behalf of the Foundations.

        4.      Patrick has provided a declaration regarding the information provided by and/or

 about the Foundations and the Supporting Organizations, and as provided herein within the

 Disclosures. As well, he has reviewed the Response and Disclosures. See Exhibit 1 [Mark Patrick

 Declaration]

        5.      As set forth herein, contrary to the Court’s unsupported and highly prejudicial sua

 sponte assertions that the Charitable Respondents and Non-Party Targets “appear to be under the

 de facto control of Mr. Dondero,” the Charitable Respondents and Non-Party Targets (along with

 the Foundations) make up a legal and viable charitable giving structure, established through a non-

 byzantine set of entities that has committed over $42 million in grants, and funded $32.5 million,

 to nonprofits across a wide-range of issues including education, support of military, veterans, and

 first-responders, and victims of family violence and child abuse. With respect to Mr. Dondero, of

 course he is involved, personally in the capacity as the Donor personality. In addition, as disclosed



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 within the Disclosures, he holds positions within the Supporting Organizations, which are subject

 to the authority of the Foundations they support. As well, and as established by Mr. Patrick’s

 uncontroverted testimony before this Court, Mr. Dondero currently acts as an unpaid investment

 advisor to CLO HoldCo and DAF Fund. However, as will be shown Mr. Dondero is not in “de

 facto” or legal control of the Charitable Respondents nor the Non-Party Targets (nor the

 Foundations).

        6.       The Charitable Respondents take the time to refute the Court’s assertions in the

 Disclosures Order because not only are they factually inaccurate—which will be shown herein and

 through the submitted Disclosures—but worse, these sua sponte findings bear directly upon the

 causes of action asserted by Official Committee of Unsecured Creditors (the “Committee”) against

 CLO HoldCo, DAF Holdco, DAF Fund, and Highland Dallas Foundation (the “Charitable

 Defendants”) in Adversary Proceeding No. 20-03195 (the “Adversary Proceeding”). While there

 are several motions to withdraw the reference pending in the Adversary Proceeding, this Court

 should, at an absolute minimum, refrain from espousing, sua sponte, any “findings” or

 “conclusions” that in fact are indistinguishable from allegations made in conclusory fashion (much

 like the Court’s expositions) by a plaintiff party in litigation currently pending in this Court. Such

 an ”approach” to exercise of the judicial function (under the notion of maintaining the Court’s

 docket) is, frankly, not recognizable as a constitutional approach to exercise of judicial power.

 This Court, it appears has become litigant, investigator and decider, far outside the scope of case

 or controversy. Through its assertions the Court appears to have decided integral issues in the

 Adversary Proceeding sua sponte without considering any evidence nor offering the Charitable

 Defendants any opportunity to present their case, and all this notwithstanding pending motions to




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 withdraw reference (that the Court has previously stayed over the objection of the Charitable

 Defendant movers).

                                       PROCEDURAL HISTORY

        7.      As the Court is aware, there was a show cause hearing on June 8, 2021 (the “Show

 Cause Hearing”) related to the lawsuit filed by CLO HoldCo and DAF Fund against the Debtor

 captioned Charitable DAF Fund, L.P. et al. v. Highland Capital Management, L.P. et al., case no.

 21-cv-00842, pending in the United States District Court for the Northern District of Texas (the

 “District Court Suit”). In the District Court Suit, the plaintiffs filed a motion to amend their

 complaint (the “Seery Motion”), and thereafter, the Court issued what it titled: Order Requiring

 the Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating Two

 Court Orders [Dkt. No. 2255] (the “Show Cause Order”) to determine if the “Violators” should

 be held in contempt of court for filing the Seery Motion. The Court ordered the “Violators,” as

 defined by the Court, including CLO HoldCo and DAF Fund, those persons who authorized the

 filing of the Seery Motion and the District Court Suit (and the law firm representing the plaintiffs),

 along with Mr. Dondero, to appear at the Show Cause Hearing.

        8.      Patrick identified himself as the person who authorized the filing of the Seery

 Motion and the District Court Suit and identified that he was vested with such authority by virtue

 of his position as the director CLO HoldCo and control person of DAF Fund. See Response, Dkt.

 No. 2309. The Debtor undertook extensive discovery related to the Show Cause Hearing with the

 express purpose of attempting to prove that despite Mr. Patrick authorizing the filings and being

 the control person of the plaintiffs, Mr. Dondero should nonetheless be held in contempt.




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             9.       Therefore, at the Show Cause Hearing, the respondents, including Patrick,

  introduced evidence reflecting the structure of the Charitable Respondents, 4 the ownership of the

  Charitable Respondents,5 and the controlling entities/persons of the Charitable Respondents.6 At

  the Show Cause Hearing, Patrick further provided extensive testimony regarding the creation,

  structure, organization, purpose, and control of the Charitable Respondents. See Exhibit 2

  [Transcript, June 8, 2021 Hearing, Excerpts].

             10.      On June 17, 2021, the Court issued its Disclosures Order sua sponte pursuant to

  Section 105 of the Bankruptcy Code and its “inherent ability to efficiently monitor its docket and

  evaluate standing of parties who ask for relief in the [Bankruptcy Case].” Disclosures Order, p. 1.

             11.      Importantly, the Disclosures Order does not relate to and was not issued in

  connection with any contested matter or adversary proceeding before the Bankruptcy Court.

  Instead, the Court states that the Disclosures Order is “in furtherance of [its] desire to be more

  clear about the standing of various of these entities, and to assess whether their interests may be

  sufficiently aligned, in some circumstances, so as to require joint pleadings.” Disclosures Order,

  p. 12. As such, the Court appears to be attempting to ascertain some sort of generalized standing

  where there is no proceeding before it and contemplating the issuance of pre-filing injunctions

  against the Charitable Respondents and Non-Party Targets.

             12.      Based on the forgoing, the Disclosures Order requires numerous parties (whether

  before the Court or not), including the Charitable Respondents and Non-Party Targets, to file a

  notice in the Bankruptcy Case disclosing: (a) who owns the entity (showing percentages); (b)



  4
      Exhibit and Witness List, Dkt. No. 2411 (Exhibit 1)
  5
      Exhibit and Witness List, Dkt. No. 2411 (Exhibit 9, 10, 11, 12, 15, 16, 17, 18, 19, 20)
  6
      Exhibit and Witness List, Dkt. No. 2411 (Exhibit 3, 4, ,5, 6, 7, 8, 29)


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  whether Mr. Dondero or his family trusts have either a direct or indirect ownership interest in the

  entity and, if so, what percentage of ultimate ownership; (c) who are the officers, directors,

  managers and/or trustees of the Non-Debtor Dondero-Related Entity (this itself looks to be a

  determination by this Court of “relationship” with damaging consequences); and (d) whether the

  entity is a creditor of the Debtor (explaining in reasonable detail the amount and substance of its

  claims).

         13.     The Disclosures Order does not even pretend to be concerned with such mundane

  matters as proper service, or the right of parties not before the Court, even if creditors, to remain

  outside the Court. Certainly the Court does not exhibit a glimpse of concern about possible

  limitations upon the judicial power to compel parties to appear before it. Because of its assertions

  concerning Mr. Dondero’s “de facto control” of third party entities (again, outside of any pending

  case or controversy and in fact contrary to evidence put before the Court), the Court has (i)

  dispensed with case or controversy boundaries, and (ii) sent its Disclosures Order into the universe

  as an all-powerful compulsion imposed upon entities that have never made appearance before the

  Court - all without service. All because this Court has concluded that these third parties are

  controlled by Mr. Dondero, and because this Court has power over Mr. Dondero, it need not think

  twice about its power over any entity it has determined (without ground) to be controlled by Mr.

  Dondero because such party may have some relation to Mr. Dondero.

         14.     As mentioned above, the Charitable Respondents are responding. But the entities

  outside the scope of the Court’s authority are not appearing in Response. As set forth below, the

  Charitable Respondents believe this Response and the Disclosures provided herein are sufficient

  and compliant. The Charitable Respondents reserve all rights.




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                                              RESPONSE

         15.     The Charitable Respondents file their Response to the Disclosures Order to comply

  with it, but with full reservations concerning the propriety of such a sua sponte investigation into

  standing where there is no proceeding before the Court and the prospective issuance of pre-filing

  injunctions against parties who have never participated in the Bankruptcy Case (i.e. the Non-Party

  Targets), or have only do so on a limited basis or were compelled to by order of the Court (i.e. the

  Charitable Respondents).

         16.     The Charitable Respondents have already provided the Debtor and the Court with

  much of the information ordered by the Court, and do so again and more robustly herein, to show

  to the Court that the Charitable Respondents are not “under the de facto control of Mr. Dondero”

  and its directors do not act “at Mr. Dondero’s direction.” See Disclosures Order, pp. 5, 11.

         17.     The Charitable Respondents, however, take this opportunity to correct any

  misunderstanding regarding their structure and control, while noting and reserving all rights

  regarding the impropriety of such prejudicial sua sponte assertions.

           I.    The Charitable Respondents are independently owned and controlled
                 charitable organizations.

         18.     The best starting point to understand the structure of the Charitable Respondents is

  the Structure Chart attached hereto as Exhibit 3 [“Structure Chart”]. For ease of reference, the

  Structure Chart is reproduced as follows:




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         19.     Second, the Charitable Respondents provide the Court with a legal memorandum

  of Kenneth K. Bezozo, a partner with Haynes and Boone, LLP, determined by the Charitable

  Respondents to be a legal expert in the field of taxation and organizational structures. See Exhibit

  4 [Kenneth K. Bezozo Memorandum]. As the Bezozo Memorandum explains, the Structure Chart

  and the entity structure of which the Charitable Respondents are a part (along with the Supporting

  Organizations and the Foundations) is a structure including offshore entities that is a typical

  industry standard investment structure to facilitate tax-exempt ownership and charitable

  giving. Given that the structure employed is in fact, within the tax-exempt, charitable entity

  structures neither unusual nor exotic, the Charitable Respondents submit that contrary to the jargon

  appropriated by the Court from the Committee and the Debtor and its counsel, this structure is not

  at all “Byzantine.”




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  The Entities

           a) CLO HoldCo

           20.      As the Structure Chart reflects, CLO HoldCo is a company limited by shares

  incorporated in the Cayman Islands. See Exhibit 5 [Certificate of Incorporation - CLO HoldCo,

  Ltd.]. CLO HoldCo was incorporated in 2010. See Exhibit 6 [Memorandum of Association of

  CLO HoldCo, Ltd.]. CLO HoldCo is managed and controlled by directors who are appointed by

  resolution of shareholders of CLO HoldCo. See Memorandum of Association of CLO HoldCo,

  Ltd., p. 11-12 (“Directors”). The Directors are currently Mr. Patrick and Mr. Paul Murphy. See

  Exhibit 36 [CLO HoldCo - Register of Directors].

           21.      CLO HoldCo is owned by the holder of its sole share. The sole shareholder of CLO

  HoldCo was previously DAF Holdco who contributed the share on November 7, 2011 to DAF

  Fund. See Exhibit 7 [Ordinary Share Registry - CLO HoldCo]. Therefore, CLO HoldCo is wholly

  owned by DAF Fund.7

           b) DAF Fund

           22.      DAF Fund is a limited partnership organized under the laws of the Cayman Islands.

  See Exhibit 8 [Certificate of Registration of Exempted Limited Partnership - DAF Fund].

  Pursuant to the Amended and Restated Exempted Limited Partnership Agreement dated November

  7, 2011 (the “DAF Fund LP Agreement”), DAF Holdco is the limited partner of the DAF Fund

  and the Charitable DAF GP, LLC (“DAF GP”) is the general partner. See Exhibit 9 [DAF Fund




  7
           While not appearing on the Structure Chart, nor made subject of the Disclosures Order, there are subsidiaries
  of CLO HoldCo as well, and these are named, with corresponding ownership and director exhibits identified as
  follows: (i) Liberty CLO Holdco, Ltd. (see Exhibits 38 and 39 [Register of Directors and Share Register]); (ii) MGM
  Studios HoldCo, Ltd. (see Exhibits 40 and 41 [Register of Directors and Share Register]); (iii) HCT HoldCo 2, Ltd.
  (see Exhibits 42 and 43 [Register of Directors and Share Register]). Note, Dondero holds no directorship or
  ownership.


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  LP Agreement]. Pursuant to the terms of the DAF Fund LP Agreement, DAF Holdco contributed

  its equity interest in CLO HoldCo to DAF Fund pursuant to a Contribution and Transfer

  Agreement dated November 7, 2011. Ordinary Share Class Transfers - CLO HoldCo; DAF Fund

  LP Agreement, ¶3.1.

         23.     The express purpose of DAF Fund is and always was to invest and trade in

  securities of all type and other investment vehicles for the purpose of befitting, direct and

  indirectly, the indirect equity owners of DAF Holdco, which were required to be Section 501(c)(3)

  of the IRS Code entities or organizations or have sole beneficiaries which are entities or

  organizations exempt from taxation under Section 501(c)(3) of the IRS Code. See DAF Fund LP

  Agreement, ¶1.3.

         24.     Because DAF Fund is a limited partnership, the DAF GP has the exclusive and

  complete discretion in the management and control of the DAF Fund. DAF Fund LP Agreement,

  ¶1.6, Exhibit 10 [DAF Fund General Partner Register].

         c) DAF Holdco

         25.     DAF Holdco is a company limited by shares incorporated under the laws of the

  Cayman Islands. See Exhibit 11 [Amended and Restated Memorandum of Association of DAF

  Holdco]. DAF Holdco’s equity ownership consists of holders of Management and Participating

  Shares. Id. The Management Shares confer no right to participate in profits but rather to manage

  DAF Holdco, whereas Participating Shares confer the right to participate in profits or assets but

  not management rights. Id.

         26.     The Management Shares of DAF Holdco were allotted to Grant Scott (“Scott”) in

  2011 but as will be discussed herein, were transferred to Patrick in 2021. See Exhibit 12 [Register

  of Management Shares DAF Holdco]. The Directors are currently Mr. Patrick and Mr. Paul

  Murphy. See Exhibit 37 [DAF Holdco - Register of Directors]. The Participating Shares of DAF

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  Holdco are held by the “Supporting Organizations,” which are Highland Kanas City Foundation

  [32.78%], Highland Dallas Foundation [32.78%], Highland Santa Barbara Foundation [32.78%],

  and Highland Community Foundation of North Texas [1.63%].8 See Exhibit 13 [Register of

  Participating Shares DAF Holdco].

         27.     As set forth in the DAF Fund LP Agreement, DAF Fund’s investments are for the

  benefit of the equity owners of DAF Holdco which were required to be non-profit organizations.

  The Supporting Organizations are those non-profit organizations.

         d) DAF GP

          28.    DAF GP is a limited liability company organized under the laws of Delaware. See

  Exhibit 14 [Certificate of Formation of DAF GP]. Again, DAF GP is the general partner of DAF

  Fund who manages and controls DAF Fund. Prior to March 2021, 100% of the limited liability

  company interests in the DAF GP (the “DAF GP Membership Interests”) were held by Mr. Scott.

  Mr. Scott transferred all of the DAF GP Membership Interests to Mr. Patrick. Exhibit 15

  [Assignment and Assumption of Membership Interests Agreement Dated March 24, 2021].

          29.    As shown by the Exhibits hereto, Dondero holds no ownership, officer, or director

  status in any of: CLO HoldCo; DAF Fund; DAF HoldCo; or DAF GP.

         e) The Supporting Organizations

         30.     As mentioned, the Supporting Organizations are Highland Dallas Foundation,

  Highland Kansas City Foundation, Highland Santa Barbara Foundation, and Highland Community

  Foundation of North Texas. These Supporting Organizations were established by the Foundations.




  8
         The Court has not included Highland Community Foundation of North Texas in its Disclosures Order.


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                 Highland Dallas Foundation

        31.       Highland Dallas Foundation is a corporation incorporated in 2011 under the laws

  of Delaware. Exhibit 16 [HDF Certificate of Incorporation]. The Highland Dallas Foundation

  was and is organized and operated exclusively for charitable, educational and scientific purposes

  within the meaning of Section 501(c)(3) of the IRS Code. Exhibit 17 [IRS Determination - HDF].

        32.       The Highland Dallas Foundation supports and benefits the Dallas Foundation. See

  HDF Certificate of Incorporation, Exhibit 18 [Narrative Description of Activities]. The Dallas

  Foundation is a third-party and is the oldest community foundation in Texas.

        33.       As set forth in the attached letter from the President and Chief Executive Officer of

  the Dallas Foundation, the Dallas Foundation is a Texas nonprofit corporation, and is the successor

  in interest to Dallas Community Trust, a charitable trust which was formed in 1929. Exhibit 19

  [reserved for supplementation]. The Dallas Foundation has hundreds of donors with whom it

  works regularly to make charitable grants supporting numerous worthy causes and regularly

  utilizes donor-advised funds and supporting organizations to carry out its charitable mission. Id.

        34.       The Highland Dallas Foundation is a membership corporation, and its members

  have the ultimate authority to elect its Board of Directors. Id. Exhibit 20 [HDF Bylaws]. The

  Highland Dallas Foundation has two (2) classes of members, an “Institutional Member” (the TDF),

  and an “Individual Member” (Mr. Dondero). Id.

        35.       The Institutional Member has two (2) votes and the Individual Member has only

  one (1) vote on any matter submitted to the members. Id. Further, the Institutional Member elects

  two (2) of Highland Dallas Foundation’s three (3) directors, and the Individual Member elects one

  (1) director. Id. The Board of Directors of Highland Dallas Foundation consists of Mr. Dondero,

  Julie Diaz (Chief Philanthropic Partnerships Officer of TDF) and Matthew Randazzo (President



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  & Chief Executive Officer of Dallas Foundation). Mr. Dondero serves as President, Mr. Randazzo

  serves as Vice President and Ms. Diaz serves as Secretary and Treasurer.

        36.        So while Mr. Dondero is a member with some level of influence within the

  Highland Dallas Foundation, he has 1/3 of the voting power, where TDF employees have 2/3 of

  voting power.

        37.        The Highland Dallas Foundation is an independent supporting organization of the

  Dallas Foundation. While Mr. Dondero is on the Board of Directors and is President of the

  Highland Dallas Foundation, it cannot be said to be “under the control” (de facto or otherwise) of

  Mr. Dondero, because of the control of the Board of Directors held by the Dallas Foundation.

                  Highland Santa Barbara Foundation

         38.       The Highland Santa Barbara Foundation was formed in November 2011 as a

  Delaware nonprofit nonstock corporate to operate exclusively for the benefit of, to perform the

  functions of, or carry out the purposes of Santa Barbara Foundation. See Exhibit 21 [HSBF

  Certificate of Incorporation]; Exhibit 22 [IRS Determination - HSBF].

         39.       The Santa Barbara Foundation is a third-party community foundation incorporated

  in 1928 as a nonprofit corporation to enrich the lives of the people of Santa Barbara County through

  philanthropy. Exhibit 23 [SBF Letter Overview]. The Santa Barbara Foundation funds a wide

  range of initiatives, projects, and organizations and has supported nearly every Santa Barbara

  County nonprofit organization and essential community sproject during its 93-year history. Id.

         40.       Similarly to the Dallas Foundation, the Santa Barbara Foundation works with

  entities organized under Section 509(a)(3) of IRS Code as supporting organizations to Santa

  Barbara Foundation for the specific and primary purpose of benefiting, performing functions of,




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  and engaging in activities consistent with Santa Barbara Foundation’s charitable purposes. Id.

  Highland Santa Barbara Foundation is one such supporting organization. Id.

         41.       Again as is common amongst supporting organizations, Highland Santa Barbara

  Foundation has two classes of members, institutional and individual, and one member in each

  class. Id., see also Bylaws HSBF. Santa Barbara Foundation is the institutional member and Mr.

  Dondero is the individual member. Highland Santa Barbara Foundation has three directors, two

  elected by SBF and one elected by Mr. Dondero. The president, secretary, and any other officers

  of HSBF are elected by the three directors. Id. The directors are Mr. Dondero, Jacqueline M.

  Carrera (President & CEO of SBF), and Arnold Brier (Santa Barbara County community

  volunteer). Currently, Mr. Dondero serves as President, Jacqueline M. Carrera as Vice President,

  and the Secretary position is vacant pending board of directors election.

         42.       Again, while Mr. Dondero positions in the Highland Santa Barbara Foundation, it

  is certainly not under his “de facto” control, nor do the other directors and officers act under Mr.

  Dondero’s direction. The Highland Santa Barbara Foundation is an independent supporting

  organization of the Santa Barbara Foundation, and is controlled by the Santa Barbara Foundation.

  Imputing a lack of independence based on what is a typical structure for supporting organization

  management sets a unwarrantable precedent for charitable organizations.

                  Highland Kansas City Foundation

        43.        Highland Kansas City Foundation was and is organized and operated exclusively

  for charitable, educational and scientific purposes within the meaning of Section 501(c)(3) of the

  IRS Code, and to support and benefit the Greater Kansas City Community Foundation

  (“GKCCF”). See Exhibit 24 [GKCCF Certificate of Formation].




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        44.     The Greater Kansas City Community Foundation was created in 1978 and manages

  over $4 billion in assets, and again uses donor-advised funds and supporting organizations. See

  Exhibit 25 [GKCCF Letter]. As explained by the President & CEO of Greater Kansas City

  Community Foundation, Highland Kansas City Foundation is one of 18 supporting organizations

  that Greater Kansas City Community Foundation works with. Id.

        45.     Highland Kansas City Foundation has two classes of members, institutional and

  individual, and one member in each class. See Exhibit 26 [Bylaws HKCF]. Greater Kansas City

  Community Foundation is the institutional member and Mr. Dondero is the individual member.

        46.     The Directors of Highland Kansas City Foundation are: Brenda Chumley (Senior

  Vice President of Greater Kansas City Community Foundation), Mr. Dondero, and Deborah

  Wilkerson (the President & CEO of Greater Kansas City Community Foundation). The Highland

  Kansas City Foundation has not named officers. All three directors approve grants by unanimous

  consent.

         f) Mr. Patrick’s role

         47.    Prior to March 24, 2021, Mr. Scott was the holder of Management Shares in the

  DAF Holdco. On March 24, 2021, Mr. Scott executed the Share Transfer Form, in which he

  transferred the management shares in DAF Holdco to Mr. Patrick. Exhibit 27 [Share Transfer

  Form]. Further on March 24, 2021, Mr. Scott and Mr. Patrick entered into that certain Assignment

  and Assumption of Membership Interest whereby Mr. Scott assigned and Mr. Patrick assumed one

  hundred percent of the limited liability company interest in the DAF GP. See Assignment and

  Assumption Agreement.

         48.    As the holder of the management shares in DAF Holdco, Mr. Patrick executed a

  resolution removing Mr. Scott as Director and appointing Mr. Patrick as Director. Exhibit 28

  [March 25 Resolution - DAF Holdco].

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         49.     On April 2, 2021, Mr. Patrick, as holder of one hundred percent of the interest in

  DAF GP, executed the shareholder resolution removing Mr. Scott as Director of CLO HoldCo and

  appointing Mr. Patrick as director. Exhibit 29 [April 2 Resolution - CLO HoldCo].

         50.     While on paper the switch from Mr. Scott to Mr. Patrick was completed, it became

  obvious that this switch would be practically more complicated. Therefore, there was a transitional

  period wherein Mr. Scott had to continue to authorize certain actions with Mr. Patrick assisting

  him. As of the date of filing, Mr. Scott no longer has authority/ control over the Charitable

  Respondents.

         51.     After Mr. Patrick’s appointment, he determined that given the breadth of issues

  facing the Charitable Respondents, including but not limited to the Adversary Proceeding, it would

  be in the best interest of DAF Holdco, CLO HoldCo and others for another director to be appointed.

  As such, on April 22, 2021, Paul Murphy was appointed a director of DAF Holdco and CLO

  HoldCo. Exhibit 30 [Written Resolution - Murphy].

          II.    The Charitable Respondents have donated tens of millions of dollars to
                 charitable causes

         52.     The Court included the Charitable Respondents and Non-Party Targets as part of

  what it terms — borrowing from the Committee’s verbiage in the Adversary Proceeding — Mr.

  Dondero’s “byzantine” empire and made sua sponte assertions regarding their lack of

  independence and Mr. Dondero’s “de facto” control. Again, as will be set forth herein, these

  findings are procedurally improper and highly prejudicial to the Charitable Defendants. But most

  importantly, they are wrong.

         53.     The Charitable Respondents are part of a charitable structure that donates tens of

  millions of dollars to charitable causes focusing on education; support for military, veterans, and




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  first responders; health and medical research; economic and community development initiatives;

  and youth and family. See Exhibit 31 [Charitable Giving Overview, Grant Summary: 2012-2020].

         54.     Since 2012, the Supporting Organizations have committed over $42 million to

  nonprofit organizations, and have funded $32 million of the total commitments (with the remaining

  commitments being comprised of future scheduled installments). Id.

         55.     The Supporting Organizations’ charitable giving has made a tangible impact on

  some of the most vulnerable including grants to the Dallas Children’s Advocacy Center which

  serves over 8,000 abused children a year and The Family Place which serves more than 11,000

  victims of family violence. Id. The CEO of The Family Place has submitted a letter in support

  which is attached hereto as Exhibit 32 [The Family Place Letter]. The Family Place empowers

  victims of family violence by providing safe housing and counseling, and identifies its partnership

  with the Highland Dallas Foundation as “instrumental” in providing community exposure and

  awareness of domestic violence as well as providing essential services to family violence victims.

  Id. As stated by the CEO, The Family Violence Place would not be able to successfully serve its

  domestic violence clients without this support.

         56.     Cristo Rey Dallas also submitted a letter in support of the Highland Dallas

  Foundation which is submitted herewith as Exhibit 33 [Cristo Rey Letter]. Cristo Rey Dallas

  provides college preparatory high school curriculum accessible to those of limited financial

  resources. Highland Dallas Foundation provided impactful donations which allow Crito Rey

  Dallas to provide services to its 465 students, including funding work study programs and remote

  work places during COVID-19 pandemic. Id.

         57.     Dallas Children’s Advocacy Center submitted a letter in support of the Highland

  Dallas Foundation which is submitted herewith as Exhibit 34 [DCAC Letter]. Dallas Children’s



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  Advocacy Center’s mission is to improve the lives of abused children in Dallas County and to

  provide national leadership on child abuse issues. Id. Highland Dallas Foundation has robustly

  supported this mission since 2016, including providing funding that has been critical to the

  sustainability of its programs. Id.

          58.     The Supporting Organizations’ grants to the Center for BrainHealth helped provide

  and training other programming to members of the military, veterans, and local law enforcements

  to improve their congestive health. See Charitable Giving Overview.

          59.     The Friends of the Dallas Police grants show appreciation to men and women who

  risk their lives every day to make Dallas a safer city and the Supporting Organizations have funded

  awards programs and educational sponsorships for children of police officers. Id.

          60.     The Charitable Respondents invite the Court, and others who have characterized

  the Supporting Organizations as mere “puppets” of Mr. Dondero, to review the Charitable Giving

  Overview provided herewith as well as the letters in support from The Family Place, Cristo Rey

  Dallas, Dallas Children’s Advocacy Center, the Santa Barbara Foundation, and the Highland

  Kansas City Foundation. The Charitable Respondents have and will continue to make meaningful

  impacts on the communities they serve through the tens of millions of dollars of philanthropic

  giving they facilitate.

          III.    CLO HoldCo and DAF Fund may be creditors of the Debtor

          61.     In the Disclosures Order, the Court requires all entities to state whether the entity

  is a creditor of the Debtor and explain in reasonable detail the amount and substance of its claims.

  Disclosures Order, p. 13.

          62.     All claims bar dates have long since passed [see General Claims Bar Date Order

  [Dkt. No. 498].



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         63.        The Court states that CLO HoldCo filed two proofs of claim. Disclosures Order,

  p. 11. This is not correct. CLO HoldCo filed a proof of claim on April 8, 2020 [Proof of Claim

  No. 133] and on October 21, 2021, CLO HoldCo amended that same proof of claim [Proof of

  Claim No. 198] (the “Amended Proof of Claim”). In the Amended Proof of Claim, CLO HoldCo

  explained that as a result of certain proceedings that effectuated a termination of the Debtor’s

  participation interests in the funds referred to in the CLO HoldCo proof of claim, such termination

  served to cancel the CLO HoldCo interests, as well, as the CLO HoldCo interests were in effect

  derivative of the Debtor’s interests. Accordingly, the Amended Proof of Claim reflected that the

  CLO HoldCo claim was reduced to $0.00, and therefore resolved.

         64.        The Court stated in the Disclosures Order that it was unaware of whether DAF

  Holdco, DAF Fund, Highland Dallas Foundation, Highland Santa Barbara Foundation, or

  Highland Kansas City Foundation filed proofs of claims (notwithstanding this “uncertainty” the

  Court deemed it appropriate nevertheless to try to compel appearance). Disclosures Order, p. 11.

  A review of the Court’s Claims Register and that of the Debtor’s claims and noticing agent reflects

  that none of these entities filed proofs of claim against the Debtor.

         65.        Therefore, none of the Charitable Respondents are pre-petition creditors of the

  Debtor, as the claims bar date has long since passed and no claims were filed which have not been

  fully resolved.

         66.        It is unclear from the Disclosures Order whether the Court is referring to the term

  “creditor” as defined in section 101(10) of the Bankruptcy Code or using creditor as a lay term. If

  it is the former, the Charitable Respondents are not creditors of the Debtor. See 11 U.S.C. §

  101(10) (defining a “creditor” an entity that has a claim against the debtor that arose at the time of

  or before the order for relief concerning the debtor).



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         67.      As the Court is aware from the Show Cause Hearing, CLO HoldCo and DAF Fund

  filed the District Court Suit against the Debtor. The causes of action asserted by CLO HoldCo and

  DAF Fund arose after the order for relief. Exhibit 35 [Complaint]. The substance of these claims

  is set forth in the Complaint.

          IV.     The Disclosures Order is procedurally improper and the Court has no power
                  to institute sua sponte investigations into hypothetical standing.

         68.      The Charitable Defendants have fully complied with the Court’s Disclosures Order

  and provided the Court with complete information regarding: (a) who owns each entity, (b)

  whether Mr. Donerdo or his family trusts have direct or indirect ownership, (c) who the officers,

  directors, and managers are, and (d) whether the entity is a creditor of the Debtor. The Charitable

  Defendants have done so because they were expressly ordered by the Court do; however, the

  Disclosures Order is procedurally improper and highly prejudicial.

               a) The Court does not have the power to require non-parties to provide it with
                  disclosures.

         69.      The Charitable Defendants are those named entities who have made appearances

  before this Court. The Court does not have the power to order production or disclosures from non-

  parties including the Non-Party Targets.

         70.      In the Disclosures Order, the Court states that the order is issued “sua sponte

  pursuant to Section 105 of the Bankruptcy Code and the court’s inherent ability to efficiently

  monitor its docket and evaluate the standing of parties who ask for relief in the above-referenced

  case.” Disclosures Order, p. 1. But yet, the Disclosures Order goes on to target entities who have

  never asked for the relief in the Bankruptcy Case.

         71.      Of course, it is undisputed that the Court has the inherent power to manage its own

  docket “to ensure the orderly and expeditious disposition of cases.” Berry v. CIGNA/RSI-CIGNA,

  975 F.2d 1188, 1191 (5th Cir. 1992) (quoting Link v. Wabash R.R. Co., 370 U.S. 626, 630-31

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  (1962)). But this inherent authority is limited, as is the Court’s authority pursuant to section 105

  of the Bankruptcy Code. Matter of Ward, 978 F.3d 298, 303 (5th Cir. 2020) (noting that “the

  powers afforded to bankruptcy courts pursuant to § 105, however, are not unlimited”).

          72.     In Energy Gathering, the Fifth Circuit considered whether the district court could

  sua sponte order a party’s attorney, a non-party to the case, to produce documents. See Nat. Gas

  Pipeline Co. of Am. v. Energy Gathering, Inc., 2 F.3d 1397, 1412 (5th Cir. 1993). In that case, the

  district court found that the attorney had purposefully withheld documents from the court, and

  “ordered [him] to produce every document in his possession relating to [his client] or business he

  had done with [his client].” Id. at 1404. The district court did not explain the source of its perceived

  authority to do so. See id. at 1405.

          73.     On appeal by the attorney, the plaintiffs asserted that the district court had the

  inherent authority to order him to produce documents. Id. at 1406. The Fifth Circuit disagreed

  with the plaintiffs. See id. at 1408-09. Specifically addressing whether the district court had the

  inherent authority to issue its order, the Fifth Circuit acknowledged that the district court had

  certain limited power “to conduct discovery not recognized by rule or statute,” observing that

  federal courts “possess[ ] all of the common law equity tools of a Chancery Court (subject, of

  course, to congressional limitation) to process litigation to a just and equitable conclusion.” Id. at

  1409. The Fifth Circuit suggested that the district court had the inherent authority to order the

  attorney to produce documents—if at all—under its power to issue a “bill of discovery,” a common

  law “chancery tool” that the Supreme Court has described as “the forerunner of all modern

  discovery procedures.” Id. at 1409. But recognizing that bills of discovery “could not be used to

  obtain documents (or other discovery) from someone who was not a party,” the Fifth Circuit




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  therefore concluded that district courts do not have the inherent authority to order non-parties to

  produce discovery. Id.

         74.      Important here, the Fifth Circuit noted the impropriety of the sua sponte

  investigation by the district court. Id. at 1411 (noting “factors [that] contribute to the order’s

  unreasonableness” as being the sua sponte nature of the order and that the “court engaged in a

  fishing expedition”). Expressly relying upon the Energy Gathering opinion, the court in Thompson

  v. Gonzales determined that the court lacked inherent authority to order disclosures from non-

  parties. Thompson v. Gonzales, No. 1:15-CV-301-LJO-EPG, 2016 WL 5404436, at *8 (E.D. Cal.

  Sept. 27, 2016).

               b) The Court’s sua sponte investigation into hypothetical standing is improper.

         75.      As the Fifth Circuit noted in Energy Gatherings and this Court and others numerous

  have many times since, inherent authority “is not a broad reservoir of power, ready at an imperial

  hand, but a limited source; an implied power squeezed from the need to make the court function.”

  NASCO, Inc. v. Calcasieu Television & Radio, Inc., 894 F.2d 696, 702 (5th Cir.1990); In re

  Saldana, 531 B.R. 141, 166 (Bankr. N.D. Tex.), aff’d in part, remanded in part, 534 B.R. 678

  (N.D. Tex. 2015).

         76.       Here, the Court has launched a sua sponte investigation into parties under the stated

  purpose of evaluating their hypothetical standing.

         77.      The American adversarial system differs from its European (and other) inquisitorial

  counterparts in that its central features are “party presentation of evidence and arguments” for

  resolution before a “neutral and passive decision maker[].” Adam Milani & Michael Smith,

  Playing God: A Critical Look at Sua Sponte Decisions by Appellate Courts, 69 TENN. L. REV. 245,

  272 & n.143 (2002); see also United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579 (2020);

  Greenlaw v. United States, 554 U.S. 237, 243 (2008); Wood v. Milyard, 566 U.S. 463, 472 (2012).

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         78.     The judge “does not (as an inquisitor does) conduct the factual and legal

  investigation himself, but instead decides on the basis of facts and arguments pro and con adduced

  by the parties.”   Sanchez-Llamas v. Oregon, 548 U.S. 331, 356 (2006) (quotation omitted).

  Thus,“[i]t is normally incumbent on each party to prove its claims,” and a sua sponte investigation

  upsets the normal burden of persuasion between the parties.” Domitille Baizeau and Tessa Hayes,

  The Arbitral Tribunal’s Duty and Power to Address Corruption Sua Sponte, in Andrea Menaker

  (ed), International Arbitration and the Rule of Law: Contribution and Conformity, ICCA Congress

  Series, Volume 19, pp. 225 -265.

         79.     Thus, federal courts have been instructed to restrain from conducting such an

  inquest which is antithetical to the American adversarial system. Simon v. Taylor, 794 F. App’x

  703, 718 (10th Cir. 2019) (noting that scientific evidence involving environmental contamination

  from the district court’s own sua sponte investigation cannot be considered); Wood, 566 U.S. at

  472 (“federal court does not have carte blanche to depart from the principle of party presentation

  basic to our adversary system”); Castro v. United States, 540 U.S. 375, 381–383, 124 S.Ct. 786,

  157 L.Ed.2d 778 (2003).

         80.     The Court asserts that it launched its investigation because standing is an issue of

  subject matter jurisdiction and that it must gain “clarity” with regard to standing. Disclosures

  Order, p. 2. But what the Court proposes to do is render an impermissible advisory opinion on the

  hypothetical standing of the various entities, including some of have never filed a pleading in the

  Bankruptcy Case. How can this Court have blanket power to compel investigation of entities that

  have never made appearances before the Court, or that have only been made parties because they

  have been sued, on the purported ground it needs to investigate standing? As shown here, it cannot.




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          81.      A bankruptcy case itself is not a justiciable controversy; rather, it is the individual

  proceedings (contested matters or adversary proceedings) which create a justiciable case or

  controversy.9 Here, there is no proceeding, and instead, the Court expressly stated that it will

  determine standing sua sponte pursuant to section 105 of the Bankruptcy Code. While this general

  rule of justiciablity standing alone would prohibit such a determination, evaluating a party’s

  hypothetical standing absent a justiciable controversy is acutely problematic. See Uberoi v.

  Labarga, 769 F. App’x 692, 697 (11th Cir. 2019) (“The Court should not speculate concerning the

  existence of standing.”); Navtech US Surveyors USSA Inc. v. Boat/Us Inc., No.

  219CV184FTM99MRM, 2019 WL 3219667, at *2 (M.D. Fla. July 17, 2019) (noting that advisory

  opinions on standing are improper).

          82.       This is because “standing is not dispensed in gross,” rather, standing must be

  established for each claim a party seeks to press and for each form of relief that is sought. Brackeen

  v. Haaland, 994 F.3d 249, 291 (5th Cir. 2021) (quoting Town of Chester v. Laroe Estates, Inc., –

  –– U.S. ––––, 137 S. Ct. 1645, 1650, 198 L.Ed.2d 64 (2017) and Davis v. Fed. Election Comm’n,

  554 U.S. 724, 734, 128 S.Ct. 2759, 171 L.Ed.2d 737 (2008)).

          83.      This is rule is no less applicable in a bankruptcy case. The Bankruptcy Code does

  not define “party in interest,” offering instead a non-exclusive list of who “may raise and may

  appear and be heard on any issue” in cases under chapter 11. In re Friede Goldman Halter Inc.,




  9
           Ralph Brubaker, On the Nature of Federal Bankruptcy Jurisdiction: A General Statutory and Constitutional
  Theory, 41 WM. & MARY L. REV. 743, 832 (2000); Ralph Brubaker, Of State Sovereign Immunity and Prospective
  Remedies: The Bankruptcy Discharge As Statutory Ex Parte Young Relief, 76 AM. BANKR. L.J. 461, 563 (2002)
  (explaining that: “the appropriate constitutional explanation for the entirety of federal bankruptcy jurisdiction
  materializes only when one recognizes that the fundamental jurisdictional unit in bankruptcy is an individual
  bankruptcy ‘proceeding’ raising a justiciable controversy between adverse parties.”).


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  600 B.R. 526, 530–31 (Bankr. S.D. Miss. 2019). “The lack of definition was intentional.” In re

  Delta Underground Storage Co., Inc., 165 B.R. 596, 598 (Bankr. S.D. Miss. 1994).

         84.     Congress’ failure to define a party in interest specifically was discussed by both

  Senator DeConcini and Representative Edwards during the proceedings preceding the enactment

  of the Code. Senator DeConcini stated:

         Rules of bankruptcy procedure or court decisions will determine who is a party in
         interest for the particular purposes of the provision in question.’ 124 Cong.Rec.
         § 12407 (daily ed. Oct. 6, 1978).... Party in interest is an expandable concept
         depending on the particular factual context in which it is applied.

  Id. (citing In re North American Oil & Gas, Inc., 130 B.R. 473, 479 (Bankr.W.D.Tex.1990))

  (emphasis added). Congress has thus expressly directed that standing in a bankruptcy case must

  be determined in the particular proceeding before the bankruptcy court.

         85.     But here, there is no “particular purpose” or “particular factual context” in which

  this Court can properly evaluate party in interest standing. Instead, it appears that the Court

  proposes to render an advisory opinion on the named entities’ standing to file pleadings without

  any requisite justiciable controversy before it. But none of this makes sense, with respect to entities

  not before the Court or only before the Court in capacity as defendants. In fact the Disclosures

  Order appears to be more of an investigation to find evidence that the Court could point to as

  supporting its assertions about Dondero’s de facto control.

         86.     Additionally, the Court further states that beyond determining the hypothetical

  standing of such parties, it also must “ascertain whether their interests are sufficiently aligned such

  that the parties might be required to file joint pleadings hence forth, rather than each file pleadings

  that are similar in content.” Disclosures Order, p. 1. What the Court is describing are pre-filing

  injunctions, which “are an extreme remedy” that courts should not issue “with undue haste because

  such sanctions can tread on a litigant’s due process right of access to the courts.” Franklin v.


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  Laughlin, No. SA-10-CV-1027 XR, 2011 WL 598489, at *7 (W.D. Tex. Jan. 13, 2011), report

  and recommendation adopted, No. SA-10-CV-1027-XR, 2011 WL 672328 (W.D. Tex. Feb. 15,

  2011).

           87.      Specifically, the Fifth Circuit has explained that:

           “In determining whether it should impose a pre-filing injunction or should modify
           an existing injunction to deter vexatious filings, a court must weigh all the relevant
           circumstances. Four factors must be specifically considered: (1) the party’s history
           of litigation, in particular whether he has filed vexatious, harassing, or duplicative
           lawsuits; (2) whether the party had a good faith basis for pursuing the litigation, or
           simply intended to harass; (3) the extent of the burden on the courts and other
           parties resulting from the party’s filings; and (4) the adequacy of alternative
           sanctions.

  Baum v. Blue Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008).

           88.      What is more, this purported reason makes no sense, as multiple entities the Court

  seeks to compel have never made an appearance and the Court has no basis to even suspect that

  they might make an appearance. With respect to parties who have filed pleadings, for example the

  Charitable Defendants, the Court already knows that Highland Dallas Foundation and CLO

  HoldCo have filed joint pleadings within the Adversary Proceeding (a single motion to dismiss for

  failure to state claims and a single motion to withdraw reference). The Non-Party Targets are

  nowhere to be found within the Bankruptcy Case or any proceedings before the Court; yet the

  Court must conduct an investigation into these entities to see whether to compel the filing of joint

  pleadings? Cannot be.

                 c) The Disclosures Order is not just improper, it is prejudicial.

           89.      As this Court is aware, the Charitable Defendants are defendants in the Adversary

  Proceeding instituted by the Committee (DAF Fund and DAF Holdco are also defendants, though

  yet unserved—despite the Adversary Proceeding being pending for over 6 months). Central to the

  Committee’s claims against the Charitable Defendants are the conclusions posing as allegation(s)


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  that the Charitable Defendants are part of civil conspiracy to fraudulently transaction assets out of

  the estate orchestrated by Mr. Dondero whom the Committee characterized as: standing on top of

  byzantine empire, moving assets and funds from one entity to another to meet various needs. See

  Adversary Proceeding, Dkt. No. 6, ¶2. (Sounds familiar).

         90.     In the Disclosures Order, the Court, seemingly already deciding this highly disputed

  issue in the Adversary Proceeding (which is not even a dispute—CLO HoldCo and Highland

  Dallas Foundation have filed a (joint) motion to dismiss under Rule 7012 for failure to state a

  claim), as it borrows the Committee’s “byzantine” characterization and states that the targets of its

  Disclosures Order “appear to be under the de facto control of Mr. Dondero” and that the DAF

  Fund’s decisions are “presumably at Mr. Dondero’s direction.” (the word “byzantine” is a much

  overworked word within this Bankruptcy Case, and its proceedings, pleadings, and orders of this

  Court). Disclosures Order, pp. 5, 11. This constitutes direct, specific, and express pre-judgment

  by this Court, and, of course, has tainted the Adversary Proceeding.

         91.     First and foremost, as shown herein, these assertions/findings are wrong. The

  Charitable Respondents and Non-Party Targets comprise an independent charitable giving

  structure that has facilitated the donation of tens of millions of dollars to important philanthropic

  causes. They are not under the de facto control of Mr. Dondero nor does Mr. Dondero direct their

  decisions—though like any donor would expect, Mr. Dondero has some say in the causes which

  the Supporting Organizations donate to.

         92.     But the fact that the Court has made these assertions/findings sua sponte outside of

  the Adversary Proceeding (or any case or controversy), when it has no authority to adjudicate the

  Adversary Proceeding (that is the subject of a motion to withdraw reference), is highly prejudicial

  to the Charitable Defendants. This Court, in its assumed posture as investigative body as well as



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  prosecutor and decider, has given cover to the utterly conclusory assertions of the Committee, and

  has, practically, joined the Committee as a plaintiff.

         93.     At an absolute minimum, the Court should refrain from deciding or even

  commenting upon contested issues of law and fact sua sponte outside of the Adversary Proceeding,

  and should retract its supposed findings (issued under the transparently incorrect suggestion of its

  power to manage its own docket [by pre-screening parties for standing????? - again, the case law

  cited above shows this is not proper]). The Charitable Respondents urge the Court, particularly

  after reviewing the information and documents provided in this Response and Disclosures, to

  reconsider such findings, and respectfully request that this Court retract its Disclosure Order or at

  least the problematic content therein.

                                             CONCLUSION

         By this Response and the Disclosures, the Charitable Respondents have fully complied

  with this Court’s Disclosures Order, but have done so with the express reservations concerning the

  impropriety of the Disclosures Order and the non-appearance or submission by the Non-Party

  Targets. But most important to the Charitable Respondents is that the Court closely review this

  Response and Disclosures and reconsider its assumptions/assertions/findings/conclusion that the

  Charitable Respondents are under the de facto control of or act at the direction of Mr. Dondero.

  The Charitable Respondents are real, independent charitable giving vehicles that have affected,

  very positively, the lives of countless people through the tens of millions of dollars donated to

  important philanthropic causes.


                                 [signature block on following page]




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                                              Fort Worth, Texas 76102
                                              Telephone: (817) 332-2500


                                 CERTIFICATE OF SERVICE

         I, undersigned counsel, hereby certify that a true and correct copy of the above and
  foregoing document and all attachments thereto were sent via electronic mail via the Court’s ECF
  system to all parties authorized to receive electronic notice in this case on this July 9, 2021.

                                              /s/ Louis M. Phillips
                                              Louis M. Phillips



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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  In re:                       §                             Case No. 19-34054-sgj11
                               §
  HIGHLAND CAPITAL MANAGEMENT, §
  L.P.,                        §                             Chapter 11
                               §
        Debtor                 §                             Relates to Dkt. No. 2460

                                   Declaration of Mark Patrick

 I, Mark Patrick, hereby declare as follows:

           1.   My name is Mark Patrick, and I am over the age of 21. I have personal knowledge

 of the facts set forth herein, and make this declaration pursuant to 28 U.S.C. § 1746.

           2.   I am a Director of Charitable DAF Holdco, Ltd. and the managing member of the

 sole general partner of Charitable DAF Fund, L.P. (Charitable DAF Holdco, Ltd. and Charitable

 DAF Fund, L.P., and their direct and indirect subsidiaries will be referred to herein as the “DAF”).

 A more robust discussion of these entities and their interrelation is set forth in the Response and

 Disclosures (defined herein).

           3.   I appreciate the opportunity to describe the important charitable work the DAF is

 doing through its charitable beneficiaries.

           4.   Since its inception in 2012, the DAF has had a significant impact in the

 communities where the supporting organizations that are the DAF's beneficiaries deploy their

 capital. In fact, such supporting organizations have funded more than $32 million in charitable

 contributions to numerous non-profit organizations. The DAF’s charitable commitments are in

 excess of $42 million. The non-profit organizations that have received support from the DAF

 include The Family Place, which provides emergency shelter to those in need, and the Dallas

 Children’s Advocacy Center, which serves the needs of abused and neglected children. A more
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 detailed summary of the DAF’s charitable impact is an exhibit filed with the Response and

 Disclosures referenced herein.

        5.      I ultimately agreed to take on the roles I currently hold with the DAF because I

 believe in the causes the DAF is supporting. In college, I was a guardian ad litem for abused and

 neglected children. I have seen firsthand how the DAF is helping people every day who are

 struggling with abuse or difficult life situations. I have visited the Cristo Rey Dallas school

 campus, where low income and disadvantaged children are receiving a high-quality education that

 they otherwise would likely not receive.

        6.      The actions taken by me on behalf of the DAF in connection with the bankruptcy

 case of Highland Capital Management, L.P., and the lawsuit I authorized to be filed on behalf of

 CLO Holdco, Ltd. and DAF Fund against Highland Capital Management, L.P., were done so the

 DAF can continue to support these worthy causes. I am only trying to protect the DAF’s

 investments, which are the source of the millions in charitable contributions the DAF has made

 over the past decade.

        7.      My actions aren’t taken under the direction of James Dondero, or to somehow

 protect a direct or indirect economic benefit Mr. Dondero receives from the DAF. As the Response

 and Disclosures set forth in greater detail, Mr. Dondero has no direct or indirect economic

 ownership in the DAF.

        8.      My concern in vigorously pursuing claims for the DAF, or defending claims against

 the DAF, is to protect the DAF’s investments from being taken by creditors who have no credible

 basis to obtain such investments.

        9.      I have been provided with and reviewed this Court’s Order Requiring Disclosures

 (the “Disclosures Order”).

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                          IN THE UNITED STATES BANKRUPTCY COURT
     1                      FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
     2
                                             )    Case No. 19-34054-sgj-11
     3   In Re:                              )    Chapter 11
                                             )
     4   HIGHLAND CAPITAL                    )    Dallas, Texas
         MANAGEMENT, L.P.,                   )    Tuesday, June 8, 2021
     5                                       )    9:30 a.m. Docket
                     Debtor.                 )
     6                                       )    - SHOW CAUSE HEARING (2255)
                                             )    - MOTION TO MODIFY ORDER
     7                                       )      AUTHORIZING RETENTION OF
                                             )      JAMES SEERY (2248)
     8                                       )    - MOTION FOR ORDER FURTHER
                                             )      EXTENDING THE PERIOD WITHIN
     9                                       )      WHICH DEBTOR MAY REMOVE
                                             )      ACTIONS (2304)
   10                                        )
   11                           TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
   12                        UNITED STATES BANKRUPTCY JUDGE.

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                                             311 Paradise Cove
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     1   Q     Was there any effort whatsoever to hide the prior order of

     2   the Bankruptcy Court?

     3   A     No.

     4                 MR. ANDERSON:     Pass the witness.

     5                 THE COURT:    Okay.    Other examination?

     6                 MR. SBAITI:    Yes, Your Honor.        Just a couple of

     7   questions.

     8                                 CROSS-EXAMINATION

     9   BY MR. SBAITI:

   10    Q     Do you mind flipping to Exhibit 25, which I believe is the

   11    org chart, the one that you were looking at before?

   12    A     Okay.

   13    Q     It'll still be in --

   14    A     Okay.    Yeah.

   15    Q     -- the defense binder.         No reason to swap out right now.

   16    A     I've got the right binders.          Some of them are repeatable

   17    exhibits, so --

   18    Q     Yeah.

   19    A     -- I have to grab the right binder.             Yes.

   20    Q     As this org chart would sit today, is the only difference

   21    that Grant Scott's name would instead be Mark Patrick?

   22    A     Yes.

   23    Q     Was there ever a period of time where Jim Dondero's name

   24    would sit instead of Grant Scott's name prior?

   25    A     Yes, originally, when this -- yes.
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     1   Q     So did Mr. Dondero both have the control shares of the GP,

     2   LLC and DAF Holdco Limited?

     3   A     No, I believe not.        I believe he only held the Charitable

     4   DAF GP interest and that Mr. Scott at all times held the

     5   Charitable DAF Holdco, LTD interest, until he decided to

     6   transfer it to me.

     7   Q     Can you just tell us how Mr. Scott came to hold the

     8   control shares of the Charitable DAF Holdco, LTD?

     9   A     When he was the independent trustee of the Charitable

   10    Remainder Trust, he caused that -- the creation of that

   11    entity, and that's how he became in receipt of those

   12    management shares.

   13    Q     And does the Charitable DAF GP, LLC have any control over

   14    Charitable DAF Fund, LP's actions or activities?

   15    A     Yes, it does.

   16    Q     What kind of control is that?

   17    A     I would describe complete control.            It's the managing

   18    member of that entity and can -- and effectively owns, you

   19    know, the hundred percent interest in the respective

   20    subsidiaries, and so the control follows down.

   21    Q     And when did Mr. Scott replace Mr. Dondero as the GP --

   22    managing member of the GP?

   23    A     Well, I think as the -- and Mr. Morris had shown me with

   24    respect to that transfer occurring on March 2012.

   25    Q     So nine years ago?
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     1   A     Yes.

     2   Q     Does Mr. Dondero today exercise any control over the

     3   activities of the DAF Charitable -- the Charitable DAF, GP or

     4   the Charitable DAF Holdco, LTD?

     5   A     No.

     6   Q     Is he a board member of sorts for either of those

     7   entities?

     8   A     No.

     9   Q     Is he a board members of CLO Holdco?

   10    A     No.

   11    Q     Does he have any decision-making authority at CLO Holdco?

   12    A     None.

   13    Q     The decision to authorize the lawsuit and the decision to

   14    authorize the motion that you've been asked about, who made

   15    that authorization?

   16    A     I did.

   17    Q     Did you have to ask for anyone's permission?

   18    A     No.

   19                  MR. SBAITI:    No more questions, Your Honor.

   20                  THE COURT:    Okay.    Any -- I guess Mr. Taylor, no.

   21          All right.      Any redirect?

   22                                REDIRECT EXAMINATION

   23    BY MR. MORRIS:

   24    Q     Since becoming the authorized representative of the

   25    Plaintiffs, have you ever made a decision on behalf of those
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     1   entities that Mr. Dondero disagreed with?

     2   A     I have made decisions that were adverse to Mr. Dondero's

     3   financial -- financial decision.            I mean, financial interests.

     4   Whether he disagreed with them or not, I don't -- he has not

     5   communicated them to me.          But they have been adverse, at least

     6   two very strong instances.

     7   Q     Have you ever -- have you ever talked to him about making

     8   a decision that would be adverse to his interests?                 Did he

     9   tell -- did --

   10    A     I didn't -- I don't -- I did not discuss with him prior to

   11    making the decisions that I made that were adverse to his

   12    economic interests.

   13                 MR. MORRIS:     Okay.    No further questions, Your Honor.

   14                 THE COURT:     Any further examination?          Recross on that

   15    redirect?

   16                 MR. ANDERSON:      No further questions.

   17                 MR. SBAITI:     No further questions, Your Honor.

   18                 MR. ANDERSON:      Sorry.

   19                 THE COURT:     Nothing?

   20                 MR. ANDERSON:      I think we're good.

   21                 THE COURT:     Okay.    I have one question, Mr. Patrick.

   22    My brain sometimes goes in weird directions.

   23                             EXAMINATION BY THE COURT

   24                 THE COURT:     I'm just curious.        What are these Cayman

   25    Island entities, charitable organizations formed in the Cayman
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     1                THE COURT:     Uh-huh.

     2                THE WITNESS:      The offshore master fund structure

     3   typically will have two different types of -- they call it

     4   foreign feeder funds.         One foreign feeder fund is meant to

     5   accommodate foreign investors; the other foreign feeder fund

     6   is meant to accommodate U.S. tax-exempt investors.

     7         Why, why is it structured that way?             In order to avoid

     8   something called -- I was trying not to be wonkish -- UBTI.

     9   That's, let's see, Un -- Unrelated Trader Business Income.                    I

   10    probably have that slightly wrong.             But it's essentially,

   11    it's a means to avoid active business income, which includes

   12    debt finance income, which is what these CLOs tend to be, that

   13    would throw off income that would be taxable normally if the

   14    exempts did not go through this foreign blocker, and it

   15    converts that UBTI income -- it's called (inaudible) income --

   16    into passive income that flows -- that flows up to the

   17    charities.

   18          And so it's very typical that you'll have a U.S. tax-

   19    exempt investor, when they make an investment in a fund,

   20    prefer to go through an offshore feeder fund, which is

   21    actually Charitable DAF Holdco, LTD.             That's essentially what,

   22    from a tax perspective, represents as a UBTI blocker entity.

   23    And then you have the offshore investments being held offshore

   24    because there's a variety of safe harbors where the receipt of

   25    interest, the portfolio interest exception, is not taxable.
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    1    The creation of capital gains or losses under the -- they call

    2    it the trading, 864(b) trading safe harbor, is not taxable.

    3    So that's why you'll find these structures operating offshore

    4    to rely on those safe harbor provisions as well as -- as well

    5    as what I indicated with respect to the two type blocker

    6    entities.     It's very typical and industry practice to organize

    7    these way.     And so when this was set --

    8                THE COURT:      It's very typical in the charitable world

    9    to --

  10                 THE WITNESS:      In the investment management --

  11                 THE COURT:      -- form this way?

  12                 THE WITNESS:      In the investment management world,

  13     when you have charitable entities that are taking some

  14     exposure to assets that are levered, to set this structure up

  15     in this way.      It was modeled after -- they just call them

  16     offshore master fund structures.            They're known as Mickey

  17     Mouse structures, where you'll have U.S. investors --

  18                 THE COURT:      Yes.   I -- yes, I --

  19                 THE WITNESS:      -- enter through a U.S. partnership,

  20     and the foreign investors enter through a blocker.

  21                 THE COURT:      It was really just the charitable aspect

  22     of this that I was --

  23                 THE WITNESS:      Yeah.    Yeah.

  24                 THE COURT:      -- getting at.

  25                 THE WITNESS:      Yeah.    No, but I'm just trying to
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    1    emphasize if --

    2                THE COURT:      All right.     It's --

    3                THE WITNESS:      Yeah.

    4                THE COURT:      -- neither here nor there.          All right.

    5                MR. SBAITI:      Your Honor, may I ask a slightly

    6    clarifying leading question on that, because I think I

    7    understand what he was trying to say, just for the record?

    8                THE COURT:      Well, --

    9                MR. MORRIS:      I object.

  10                 THE COURT:      -- I tell you what.        Anyone who wants to

  11     ask one follow-up question on the judge's question can do so.

  12     Okay?    You can go first.

  13                 MR. SBAITI:      I'll approach, Your Honor.

  14                 THE COURT:      Okay.

  15                                 RECROSS-EXAMINATION

  16     BY MR. SBAITI:

  17     Q    Would it be a fair summary of what you were saying a

  18     minute ago that the reason the bottom end of that structure is

  19     offshore is so that it doesn't get taxed before the money

  20     reaches the charities on the U.S. side?

  21     A    Tax -- it converts the nature of the income that is being

  22     thrown off by the investments so that it becomes a tax

  23     friendly income to the tax-exempt entity.              Passive income.

  24     That's --

  25     Q    So, essentially, --
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    1                THE COURT:      Okay.    Okay.

    2                MR. SBAITI:      -- so it doesn't get taxed before it

    3    hits the --

    4                THE COURT:      I said one question.

    5                MR. SBAITI:      Sorry, Your Honor.

    6                THE COURT:      Okay.    He answered it.

    7                MR. PHILLIPS:      And I have one question, Your Honor

    8                THE COURT:      Okay.

    9                MR. PHILLIPS:      I don't know if I need to ask this

  10     question, but I'd rather not ask you if I need to ask it.

  11                 THE COURT:      Go ahead.

  12                 MR. PHILLIPS:      But if I do, you know, I could --

  13                 THE COURT:      Go ahead.

  14                 MR. PHILLIPS:      Well, okay.

  15                                 RECROSS-EXAMINATION

  16     BY MR. PHILLIPS:

  17     Q    We've talked about the offshore structure.                Are the

  18     foundations in the top two tiers of the organizational chart

  19     offshore entities?

  20     A    No.

  21     Q    They're --

  22     A    They're onshore entities.          They're tax-exempt entities.

  23     Q    Thank you.

  24     A    The investments are offshore.

  25     Q    Thank you.
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                                                             Charitable DAF/CLO HoldCo
                                                                   Structure Chart


                                                                               Greater Kansas City              Santa Barbara
                                             The Dallas Foundation                                                                       The Community Foundation
                                                                             Community Foundation                Foundation
                                                  (Community                                                                                 of North Texas (CFNT)
                                                                                  (Community                     (Community
                                                  Foundation)                                                                              (Community Foundation)
                                                                                  Foundation)                    Foundation)

                                                           100%                             100%                        100%                          100%

                                                  Highland Dallas             Highland Kansas City                                               HCMLP
                 Mark Patrick                                                                               Highland Santa Barbara
                                                  Foundation, Inc.                                                                              Charitable
                 (Managing                                                      Foundation, Inc.                Foundation, Inc.
                                                   (Sponsor and                                                                                   Fund
                  Member)                                                    (Sponsor and Supporting        (Sponsor and Supporting
                                                    Supporting                                                                                     (DAF
                                                                                  Organization)                  Organization)
                                                   Organization)                                                                                 Account)
                                100%                                                        32.78%                                                    1.639%
             100%                                            32.78%                                                      32.78%
                                Management                                                  Participation                                             Participation
                                                             Participation                                               Participation
                                Shares                                                      Shares                                                    Shares
                                                             Shares                                                      Shares

       Charitable DAF GP, LLC                                                               Charitable DAF HoldCo, Ltd.
                   (Delaware)                                                                (Cayman Islands) (Corporate Blocker)

                                    0% GP                                         100% LP



                                                       Charitable DAF Fund, L.P.
                                                           (Cayman Islands) (Hedge Fund)

                                                                                 100%


                                                              CLO HoldCo, Ltd.
                                                       (Cayman Islands) (Corporate Blocker)




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 MEMORANDUM                              EXHIBIT 4


                                                                              Date: July 9, 2021

 To: Mark Patrick

 Company: Charitable DAF Holdco, Ltd. and CLO Holdco, Ltd.

 From: Haynes and Boone, LLP, by Kenneth Bezozo

 Subject: Donor Advised Funds (“DAFs”), Sponsoring Organizations and
            Supporting Organizations -- The Reasons for Making Investments in
            Offshore Jurisdictions




     1. What are Donor Advised Funds, Sponsoring Organizations and Supporting
        Organizations?

 A donor advised fund, or DAF, is a separately managed charitable investment account
 established by a donor within a public charity (a section 501(c)(3) organization), which is
 generally referred to as a sponsor. Sponsors may include a community foundation, university,
 religious organization, or financial institution. The donor (or the donor's designee) typically
 maintains certain advisory privileges over the DAF funds or account – specifically with respect
 to charities that should receive donations, although the DAF account is fully and completely
 owned and controlled by the sponsor.

 In some cases, a sponsor can create as a subsidiary a “supporting organization” which also is a
 Section 501(c)(3) public charity. A supporting organization is a separate entity controlled by the
 sponsor through its ability to elect a majority of the supporting organization’s governing
 board. Because of this control, a supporting organization is treated financially as part of a
 consolidated unit with the sponsor.

 Here, for example, The Dallas Foundation formed, and owns and controls, a supporting
 organization named Highland Dallas Foundation, Inc. (“Highland Dallas Foundation”) to assist
 The Dallas Foundation in carrying out its charitable mission in helping support a wide variety of
 community affairs. Donations were made to the Highland Dallas Foundation as both the sponsor
 and the supporting organization. The Highland Dallas Foundation from time to time makes
 distributions of funds to The Dallas Foundation which in turn makes further distributions to local
 public charities. Exhibit 1 attached shows these above-described entities, as well as other
 entities referenced herein that are pertinent to this donor advised fund.

     2. How Does a Donor Establish a DAF Account?

 To establish a DAF fund or account, a donor must make an irrevocable contribution of assets,
 such as cash, stock or securities or other business or financial assets, to a sponsoring public
 charity. The donor’s contribution is recorded and recognized as a donation to the sponsoring



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 public charity of the DAF. A donor can make additional contributions to the sponsoring
 organization whenever they choose.

 Because a contribution to a sponsoring organization is, for tax purposes, the equivalent of a
 contribution to a public charity and because the donor gets an immediate tax benefit for the
 contribution, the contribution, when made, is permanent and irrevocable. This is true even
 though the donor contribution to the sponsoring organization is in an account that grows tax-free
 and the donor has advisory rights as to where to invest the assets and donations made from these
 assets.

 Here, the Highland Dallas Foundation is the sponsor of the DAF account which it fully owns and
 controls. Although the donor has advisory rights regarding investments and donations to charities
 (by way of a board seat he fills in the supporting organization), the Highland Dallas Foundation
 has full authority and control over all such decision-making.

     3. What Type of Investments Can be Made by a Sponsor/Supporting Organization?

 A sponsor and its supporting organization, such as The Dallas Foundation and Highland Dallas
 Foundation, are able to invest in a wide variety of assets including, but not limited to, marketable
 securities, financial assets, businesses, real estate, private equity and hedge funds. But because
 the sponsor and supporting organization are both public charities that are tax-exempt
 organizations, their investments must take into account all laws that could possibly effect their
 tax-exempt status.

               a. Can a Sponsor and its Supporting Organization Invest in a Hedge Fund, Private
               Equity Fund or Similar Investment Vehicle?

          The short answer is yes, but as stated above, a sponsor and its supporting organization,
          such as The Dallas Foundation and Highland Dallas Foundation, are both public charities
          that are tax-exempt organizations. As a strong general rule, a tax-exempt organization
          will avoid any investments that will subject it to federal or state taxes. A tax-exempt
          organization is generally exempt from all federal and state taxes except to the extent it
          receives income classified as unrelated business taxable income (UBTI), which would be
          taxed at a 21% rate. The term "unrelated business taxable income" generally means the
          income derived from an unrelated trade or business regularly conducted by the tax-
          exempt organization. UBTI also can arise from the receipt of income from debt-financed
          investments, which is why hedge and private equity funds generally utilize a special
          investment structure to ensure tax-exempt investors do not have UBTI.

          To prevent UBTI from flowing through to a tax-exempt organization, a corporation can
          be utilized to “block” this income at the corporate level, which is accomplished by having
          a corporation interposed between the tax-exempt organization and the hedge fund, such
          as The Charitable DAF Holdco, Ltd. (a corporate blocker) from the Charitable DAF
          Fund, L.P. Using a structure in this manner is often described as using a "blocker"
          because the UBTI is blocked out and does not flow through to the tax-exempt investor.
          Instead, the UBTI is included in the income of, and subject to tax in, the blocker
          corporation. The blocker corporation thereafter distributes the income to the tax-exempt


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          investor through the payment of dividends which are not UBTI and therefore not taxable
          to a tax-exempt organization.

          Although using a domestic corporate blocker can avoid the problem of having UBTI
          passed through to a tax-exempt sponsor or its supporting organization, a U.S.-based
          blocker corporation will be required to pay corporate and state-level income tax on the
          income they receive from an investment fund.

               b. Are There Particular Jurisdictions in Which Hedge and Private Equity Funds
               form Investment Partnerships and Blocker Corporations for their tax-exempt
               investors?

          It is common for hedge and private equity funds that have tax-exempt investors such as
          The Dallas Foundation and Highland Dallas Foundation to utilize an offshore structure to
          form its investment partnership. In addition, these funds may form offshore blocker
          corporations as well as for other reasons including the ability to make non-U.S.
          investments or U.S. investments that do not give rise to U.S. tax for foreign investors
          (i.e., U.S. investments that do not cause the investor to be “engaged in a U.S. trade or
          business.”) Jurisdictions such as Bermuda and the Cayman Islands are typically used
          because those countries do not have an income tax regime.

          By utilizing an offshore structure with corporate blockers, hedge and private equity funds
          can ensure their tax-exempt investors will not receive any UBTI from investments held
          by The Dallas Foundation or Highland Dallas Foundation. In addition, to the extent the
          sole source of UBTI is through debt financing (which is often the case in a hedge fund),
          then using an offshore corporate blocker can eliminate this type of UBTI (because the
          debt financing will not flow through the corporate blocker to taint the income received by
          the tax-exempt investor). This allows the sponsor (i.e., Highland Dallas Foundation), as
          well as any other charities that receive distributions from Highland Dallas Foundation or
          The Dallas Foundation, to receive the largest possible distributions.

          Utilizing an offshore structure for hedge and private equity funds in the manner described
          above for tax-exempt investors is a best practice used by many U.S. law firms
          representing U.S. hedge and private equity funds. In fact, if a U.S. law firm didn’t use
          offshore blockers in the manner described above, it could be considered a poor practice.

          In summary, using an offshore blocker corporation, such as Charitable DAF Holdco, Ltd.
          and CLO Holdco, Ltd., for many hedge funds minimizes taxes and increases the net after-
          tax cash flow to the tax-exempt investors because investments grow tax-free, giving a
          sponsor, such as Highland Dallas Foundation, the potential to create even more capital
          for philanthropic giving.

     4. Who Has Control and Authority over the Assets Held by the Sponsor?

 Because a DAF is an account within a sponsor organization, the sponsoring organization has full,
 complete and final control over the funds in the DAF, which is the case here with the sponsor,
 the Highland Dallas Foundation. Although the supporting organization permits the donor or the
 donor’s designee to recommend how funds should be invested and how funds should be

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 distributed to other public charities, Highland Dallas Foundation must approve any investments
 and all distributions to charities.

 In this case, the donor of the charitable DAF, or his designee, is able to appoint a representative
 to the board of the Highland Dallas Foundation, which allows the donor to recommend
 investments or distributions to charitable organizations, i.e., organizations that are tax-exempt
 under Internal Revenue Code section 501(c)(3) and classified as public charities under Internal
 Revenue Code section 509(a). But the donor (or the donor's designee) only has advisory
 privileges over making investments and the distribution of funds.

     5. What Are the Benefits to a Donor of a Contribution to a DAF account?

 A DAF account allows a donor who makes an irrevocable charitable contribution to the DAF
 account to receive an immediate tax deduction, and with the ability to recommend distributions
 be made by the sponsor to specific charities either presently or in the future. Also, if the donor
 contributes certain appreciated assets to the DAF account, such as stock or securities, the donor
 avoids the recognition of any gain in these appreciated assets. This is a significant additional
 benefit to donors made available in the Internal Revenue Code.

 The DAF assets that are not immediately distributed to charities are then invested and depending
 on the type of investments and the jurisdiction in what the investments are made, the assets may
 grow tax-free.




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                                                                   Exhibit 1

                                                 Charitable DAF/CLO Holdco
                                                       Structure Chart




                                    The Dallas                 Greater Kansas City              Santa Barbara            The Community Foundation
                                   Foundation                Community Foundation                Foundation                 of North Texas (CFNT)
                                   (Community                (Community Foundation)              (Community               (Community Foundation)
                                   Foundation)                                                   Foundation)


                                             100%                           100%                        100%                          100%


                                                               Highland Kansas City         Highland Santa Barbara               HCMLP
        Mark Patrick               Highland Dallas
                                                                 Foundation, Inc.               Foundation, Inc.                Charitable
        (Managing                  Foundation, Inc.
                                                             (Sponsor and Supporting        (Sponsor and Supporting               Fund
         Member)               (Sponsor and Supporting
                                                                  Organization)                  Organization)                     (DAF
                                    Organization)
                                                                                                                                 Account)
                  100%                       32.78%                         32.78%                       32.78%                       1.639%
       100%       Management                 Participation                  Participation                Participation                Participation
                  Shares                     Shares
                                                                            Shares                       Shares                       Shares



   Charitable DAF GP,                                                       Charitable DAF HoldCo, Ltd.
          LLC                                                               (Cayman Islands) (Corporate Blocker)


                       0% GP                                      100% LP




                                        Charitable DAF Fund, L.P.
                                           (Cayman Islands) (Hedge Fund)


                                                                 100%



                                                 CLO HoldCo, Ltd.
                                        (Cayman Islands) (Corporate Blocker)




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     WK-249232

                              Certificate Of Incorporation


         I, V. DAPHENE WHITELOCKE Assistant Registrar of Companies of the Cayman Islands
         DO HEREBY CERTIFY, pursuant to the Companies Law CAP. 22, that all requirements of the said
         Law in respect of registration were complied with by

                                            CLO HoldCo, Ltd.
         an Exempted Company incorporated in the Cayman Islands with Limited Liability with effect
         from the 13th day of December Two Thousand Ten

                                          Given under my hand and Seal at George Town in the
                                          Island of Grand Cayman this 13th day of December
                                          Two Thousand Ten
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                             THE COMPANIES LAW (AS AMENDED)

                                 COMPANY LIMITED BY SHARES

                         MEMORANDUM AND ARTICLES OF ASSOCIATION

                                                   OF

                                    CLO HOLDCO, LTD.




                                    li 1 WALKERS
                                   Walker House, 87 Mary Street, George Town
                                   Grand Cayman KY1-900I, Cayman Islands
                            T 345 949 0100 F 345 949 7886 www.walkersglobal.com
                                          REF: VC/CM/99957




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                                       COMPANY LIMITED BY SHARES

                                      MEMORANDUM OF ASSOCIATION
                                                                                          Asst. R I         ompanles
                                                                                                 ayman Islands
                                                       OF

                                          CLO HOLDCO, LTD.
      1.    The name of the company is CLO HoldCo, Ltd. (the "Company").

      2.    The registered office of the Company will be situated at the offices of Walkers Corporate
            Services Limited, Walker House, 87 Mary Street, George Town, Grand Cayman KY1-9005,
            Cayman Islands or at such other location as the Directors may from time to time determine.

      3.    The objects for which the Company is established are unrestricted and the Company shall have
            full power and authority to carry out any object not prohibited by any law as provided by Section
            7(4) of the Companies Law (as amended) of the Cayman Islands (the "Law").

      4.    The Company shall have and be capable of exercising all the functions of a natural person of full
            capacity irrespective of any question of corporate benefit as provided by Section 27(2) of the Law.

      5.    The Company will not trade in the Cayman Islands with any person, firm or corporation except in
            furtherance of the business of the Company carried on outside the Cayman Islands; provided that
            nothing in this section shall be construed as to prevent the Company effecting and concluding
            contracts in the Cayman Islands, and exercising in the Cayman Islands all of its powers
            necessary for the carrying on of its business outside the Cayman Islands.

      6.    The liability of the shareholders of the Company is limited to the amount, if any, unpaid on the
            shares respectively held by them.

       7.   The capital of the Company is US$50,000.00 divided into 50,000 shares of a nominal or par value
            of US$1.00 each provided always that subject to the Law and the Articles of Association the
            Company shall have power to redeem or purchase any of its shares and to sub-divide or
            consolidate the said shares or any of them and to issue all or any part of its capital whether
            original, redeemed, increased or reduced with or without any preference, priority, special privilege
            or other rights or subject to any postponement of rights. or to any conditions or restrictions
            whatsoever and so that unless the conditions of issue shall otherwise expressly provide every
            issue of shares whether stated to be ordinary, preference or otherwise shall be subject to the
            powers on the part of the Company hereinbefore provided.

       8.   The Company may exercise the power contained in Section 206 of the Law to deregister in the
            Cayman Islands and be registered by way of continuation in some other jurisdiction.




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      The undersigned, whose name, address and description are set out below, wishes the Company to be
      incorporated as a company in the Cayman Islands in accordance with this Memorandum of Association,
      and agrees to take the number of shares in the capital of the Company as set out opposite the
      undersigned's name.




      NAME, ADDRESS AND DESCRIPTION                       NUMBER OF SHARES TAKEN BY
      OF SUBSCRIBER                                       SUBSCRIBER




      Walkers Nominees Limited, 87 Mary                    ONE SHARE
      Street, George Town, Grand Cayman
      KY1-9001, Cayman Islands

                                                           (Sgd) Virginia Czarnocki

                                                           Virginia Czarnocki
                                                           as Authorised Signatory of Walkers Nominees Limited

                                                           Dated:    13 December 2010


      (Sgd) Carol MacDonald
      Signature of Witness

      Name:         Carol MacDonald

      Address:      87 Mary Street, George Town,
                    Grand Cayman KY1-9001,
                    Cayman Islands

      Occupation:   Secretary




                                      T   E AND CO       ECT

                    SIG.
                                V. Daphene    itelocke
                                        nt Registrar

                    Date. /S    tweentette•-;, ea.are,



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                                        ARTICLES OF ASSOCIATION                               yman Islands

                                                      OF

                                         CLO HOLDCO, LTD.

                                                   TABLE A

            The Regulations contained or incorporated in Table 'A' in the First Schedule of the Law shall not
            apply to CLO HoldCo, Ltd. (the "Company") and the following Articles shall comprise the Articles
            of Association of the Company.


                                              INTERPRETATION

       1.   In these Articles the following defined terms will have the meanings ascribed to them, if not
            inconsistent with the subject or context:

            "Articles" means these articles of association of the Company, as amended or substituted from
            time to time;

            "Class" or "Classes" means any class or classes of Shares as may from time to time be issued
            by the Company;

            "Directors" means the directors of the Company for the time being, or as the case may be, the
            directors assembled as a board or as a committee thereof;

            "Law" means the Companies Law (as amended) of the Cayman Islands;

            "Memorandum of Association" means the memorandum of association of the Company, as
            amended or substituted from time to time;

            "Office" means the registered office of the Company as required by the Law;

            "Ordinary Resolution" means a resolution:

            (a)     passed by a simple majority of such Shareholders as, being entitled to do so, vote in
                    person or, where proxies are allowed, by proxy at a general meeting of the Company and




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                    where a poll is taken regard shall be had in computing a majority to the number of votes
                    to which each Shareholder is entitled; or

            (b)     approved in writing by all of the Shareholders entitled to vote at a general meeting of the
                    Company in one or more instruments each signed by one or more of the Shareholders
                    and the effective date of the resolution so adopted shall be the date on which the
                    instrument, or the last of such instruments, if more than one, is executed;

            "paid up" means paid up as to the par value in respect of the issue of any Shares and includes
            credited as paid up;

            "Person" means any natural person, firm, company, joint venture, partnership, corporation,
            association or other entity (whether or not having a separate legal personality) or any of them as
            the context so requires;

            "Register" means the register of Members of the Company required to be kept pursuant to the
            Law;

            "Seal" means the common seal of the Company (if adopted) including any facsimile thereof;

            "Secretary" means any Person appointed by the Directors to perform any of the duties of the
            secretary of the Company;

            "Share" means a share in the capital of the Company. All references to "Shares" herein shall be
            deemed to be Shares of any or all Classes as the context may require. For the avoidance of
            doubt in these Articles the expression "Share" shall include a fraction of a Share;

            "Shareholder" or "Member" means a Person who is registered as the holder of Shares in the
            Register and includes each subscriber to the Memorandum of Association pending entry in the
            Register of such subscriber;

            "Share Premium Account" means the share premium account established in accordance with
            these Articles and the Law;

            "signed" means bearing a signature or representation of a signature affixed by mechanical
            means; and

            "Special Resolution" means a special resolution of the Company passed in accordance with the
            Law, being a resolution:

            (a)     passed by a majority of not less than two-thirds of such Shareholders as, being entitled to
                    do so, vote in person or, where proxies are allowed, by proxy at a general meeting of the
                    Company of which notice specifying the intention to propose the resolution as a special
                    resolution has been duly given and where a poll is taken regard shall be had in
                    computing a majority to the number of votes to which each Shareholder is entitled; or

            (b)     approved in writing by all of the Shareholders entitled to vote at a general meeting of the
                    Company in one or more instruments each signed by one or more of the Shareholders
                    and the effective date of the special resolution so adopted shall be the date on which the
                    instrument or the last of such instruments, if more than one, is executed.

       2.   In these Articles, save where the context requires otherwise:

            (a)     words importing the singular number shall include the plural number and vice versa;



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            (b)     words importing the masculine gender only shall include the feminine gender and any
                    Person as the context may require;

            (c)     the word "may" shall be construed as permissive and the word "shall" shall be construed
                    as imperative;

            (d)      reference to a dollar or dollars (or $) and to a cent or cents is reference to dollars and
                     cents of the United States of America;

            (e)      reference to a statutory enactment shall include reference to any amendment or re-
                     enactment thereof for the time being in force;

            (f)      reference to any determination by the Directors shall be construed as a determination by
                     the Directors in their sole and absolute discretion and shall be applicable either generally
                     or in any particular case; and

            (g)      reference to "in writing" shall be construed as written or represented by any means
                     reproducible in writing, including any form of print, lithograph, email, facsimile,
                     photograph or telex or represented by any other substitute or format for storage or
                     transmission for writing or partly one and partly another.

       3.   Subject to the last two preceding Articles, any words defined in the Law shall, if not inconsistent
            with the subject or context, bear the same meaning in these Articles.


                                                  PRELIMINARY

       4.   The business of the Company may be commenced at any time after incorporation.

       5.   The Office shall be at such address in the Cayman Islands as the Directors may from time to time
            determine. The Company may in addition establish and maintain such other offices and places of
            business and agencies in such places as the Directors may from time to time determine.

       6.   The expenses incurred in the formation of the Company and in connection with the offer for
            subscription and issue of Shares shall be paid by the Company. Such expenses may be
            amortised over such period as the Directors may determine and the amount so paid shall be
            charged against income and/or capital in the accounts of the Company as the Directors shall
            determine.

       7.    The Directors shall keep, or cause to be kept, the Register at such place as the Directors may
             from time to time determine and, in the absence of any such determination, the Register shall be
             kept at the Office.


                                                      SHARES

       8.    Subject to these Articles, all Shares for the time being unissued shall be under the control of the
             Directors who may:

            (a)      issue, allot and dispose of the same to such Persons, in such manner, on such terms and
                     having such rights and being subject to such restrictions as they may from time to time
                     determine; and

             (b)     grant options with respect to such Shares and issue warrants or similar instruments with
                     respect thereto;


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            and, for such purposes, the Directors may reserve an appropriate number of Shares for the time
            being unissued.

      9.    The Directors may authorise the division of Shares into any number of Classes and the different
            Classes shall be authorised, established and designated (or re-designated as the case may be)
            and the variations in the relative rights (including, without limitation, voting, dividend and
            redemption rights), restrictions, preferences, privileges and payment obligations as between the
            different Classes (if any) may be fixed and determined by the Directors.

      10.   The Company may insofar as may be permitted by law, pay a commission to any Person in
            consideration of his subscribing or agreeing to subscribe whether absolutely or conditionally for
            any Shares. Such commissions may be satisfied by the payment of cash or the lodgement of fully
            or partly paid-up Shares or partly in one way and partly in the other. The Company may also pay
            such brokerage as may be lawful on any issue of Shares.

      11.   The Directors may refuse to accept any application for Shares, and may accept any application in
            whole or in part, for any reason or for no reason.


                                          MODIFICATION OF RIGHTS

      12.   Whenever the capital of the Company is divided into different Classes the rights attached to any
            such Class may, subject to any rights or restrictions for the time being attached to any Class, only
            be materially adversely varied or abrogated with the consent in writing of the holders of not less
            than two-thirds of the issued Shares of the relevant Class, or with the sanction of a resolution
            passed at a separate meeting of the holders of the Shares of such Class by a majority of two-
            thirds of the votes cast at such a meeting. To every such separate meeting all the provisions of
            these Articles relating to general meetings of the Company or to the proceedings thereat shall,
            mutatis mutandis, apply, except that the necessary quorum shall be one or more Persons at least
            holding or representing by proxy one-third in nominal or par value amount of the issued Shares of
            the relevant Class (but so that if at any adjourned meeting of such holders a quorum as above
            defined is not present, those Shareholders who are present shall form a quorum) and that,
            subject to any rights or restrictions for the time being attached to the Shares of that Class, every
            Shareholder of the Class shall on a poll have one vote for each Share of the Class held by him.
            For the purposes of this Article the Directors may treat all the Classes or any two or more Classes
            as forming one Class if they consider that all such Classes would be affected in the same way by
            the proposals under consideration, but in any other case shall treat them as separate Classes.

      13.   The rights conferred upon the holders of the Shares of any Class issued with preferred or other
            rights shall not, subject to any rights or restrictions for the time being attached to the Shares of
            that Class, be deemed to be materially adversely varied or abrogated by, inter alia, the creation,
            allotment or issue of further Shares ranking pad passu with or subsequent to them or the
            redemption or purchase of any Shares of any Class by the Company.


                                                 CERTIFICATES

      14.   No Person shall be entitled to a certificate for any or all of his Shares, unless the Directors shall
            determine otherwise.


                                             FRACTIONAL SHARES

      15.   The Directors may issue fractions of a Share and, if so issued, a fraction of a Share shall be
            subject to and carry the corresponding fraction of liabilities (whether with respect to nominal or


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            par value, premium, contributions, calls or otherwise), limitations, preferences, privileges,
            qualifications, restrictions, rights (including, without prejudice to the generality of the foregoing,
            voting and participation rights) and other attributes of a whole Share. If more than one fraction of
            a Share of the same Class is issued to or acquired by the same Shareholder such fractions shall
            be accumulated.


                                                        LIEN

      16.   The Company has a first and paramount lien on every Share (whether or not fully paid) for all
            amounts (whether presently payable or not) payable at a fixed time or called in respect of that
            Share. The Company also has a first and paramount lien on every Share registered in the name
            of a Person indebted or under liability to the Company (whether he is the sole registered holder of
            a Share or one of two or more joint holders) for all amounts owing by him or his estate to the
            Company (whether or not presently payable). The Directors may at any time declare a Share to
            be wholly or in part exempt from the provisions of this Article. The Company's lien on a Share
            extends to any amount payable in respect of it.

      17.   The Company may sell, in such manner as the Directors in their absolute discretion think fit, any
            Share on which the Company has a lien, but no sale shall be made unless an amount in respect
            of which the lien exists is presently payable nor until the expiration of fourteen days after a notice
            in writing, demanding payment of such part of the amount in respect of which the lien exists as is
            presently payable, has been given to the registered holder for the time being of the Share, or the
            Persons entitled thereto by reason of his death or bankruptcy.

      18.   For giving effect to any such sale the Directors may authorise some Person to transfer the Shares
            sold to the purchaser thereof. The purchaser shall be registered as the holder of the Shares
            comprised in any such transfer and he shall not be bound to see to the application of the
            purchase money, nor shall his title to the Shares be affected by any irregularity or invalidity in the
            proceedings in reference to the sale.

      19.   The proceeds of the sale after deduction of expenses, fees and commission incurred by the
            Company shall be received by the Company and applied in payment of such part of the amount in
            respect of which the lien exists as is presently payable, and the residue shall (subject to a like lien
            for sums not presently payable as existed upon the Shares prior to the sale) be paid to the
            Person entitled to the Shares immediately prior to the sale.


                                               CALLS ON SHARES

      20.   The Directors may from time to time make calls upon the Shareholders in respect of any moneys
            unpaid on their Shares, and each Shareholder shall (subject to receiving at least fourteen days'
            notice specifying the time or times of payment) pay to the Company at the time or times so
            specified the amount called on such Shares.

      21.   The joint holders of a Share shall be jointly and severally liable to pay calls in respect thereof

      22.   If a sum called in respect of a Share is not paid before or on the day appointed for payment
            thereof, the Person from whom the sum is due shall pay interest upon the sum at the rate of eight
            percent per annum from the day appointed for the payment thereof to the time of the actual
            payment, but the Directors shall be at liberty to waive payment of that interest wholly or in part.

      23.   The provisions of these Articles as to the liability of joint holders and as to payment of interest
            shall apply in the case of non-payment of any sum which, by the terms of issue of a Share,



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            becomes payable at a fixed time, whether on account of the amount of the Share, or by way of
            premium, as if the same had become payable by virtue of a call duly made and notified.

     24.    The Directors may make arrangements on the issue of partly paid Shares for a difference
            between the Shareholders, or the particular Shares, in the amount of calls to be paid and in the
            times of payment.

     25.    The Directors may, if they think fit, receive from any Shareholder willing to advance the same all
            or any part of the moneys uncalled and unpaid upon any partly paid Shares held by him, and
            upon all or any of the moneys so advanced may (until the same would, but for such advance,
            become presently payable) pay interest at such rate (not exceeding without the sanction of an
            Ordinary Resolution, eight percent per annum) as may be agreed upon between the Shareholder
            paying the sum in advance and the Directors.


                                            FORFEITURE OF SHARES

     26.    If a Shareholder fails to pay any call or instalment of a call in respect of partly paid Shares on the
            day appointed for payment, the Directors may, at any time thereafter during such time as any part
            of such call or instalment remains unpaid, serve a notice on him requiring payment of so much of
            the call or instalment as is unpaid, together with any interest which may have accrued.

     27.    The notice shall name a further day (not earlier than the expiration of fourteen days from the date
            of the notice) on or before which the payment required by the notice is to be made, and shall
            state that in the event of non-payment at or before the time appointed the Shares in respect of
            which the call was made will be liable to be forfeited.

      28.   If the requirements of any such notice as aforesaid are not complied with, any Share in respect of
            which the notice has been given may at any time thereafter, before the payment required by
            notice has been made, be forfeited by a resolution of the Directors to that effect.

      29.   A forfeited Share may be sold or otherwise disposed of on such terms and in such manner as the
            Directors think fit, and at any time before a sale or disposition the forfeiture may be cancelled on
            such terms as the Directors think fit.

      30.   A Person whose Shares have been forfeited shall cease to be a Shareholder in respect of the
            forfeited Shares, but shall, notwithstanding, remain liable to pay to the Company all moneys
            which at the date of forfeiture were payable by him to the Company in respect of the Shares
            forfeited, but his liability shall cease if and when the Company receives payment in full of the
            amount unpaid on the Shares forfeited.

      31.   A statutory declaration in writing that the declarant is a Director, and that a Share has been duly
            forfeited on a date stated in the declaration, shall be conclusive evidence of the facts in the
            declaration as against all Persons claiming to be entitled to the Share.

      32.   The Company may receive the consideration, if any, given for a Share on any sale or disposition
            thereof pursuant to the provisions of these Articles as to forfeiture and may execute a transfer of
            the Share in favour of the Person to whom the Share is sold or disposed of and that Person shall
            be registered as the holder of the Share, and shall not be bound to see to the application of the
            purchase money, if any, nor shall his title to the Shares be affected by any irregularity or invalidity
            in the proceedings in reference to the disposition or sale.

      33.   The provisions of these Articles as to forfeiture shall apply in the case of non-payment of any sum
            which by the terms of issue of a Share becomes due and payable, whether on account of the



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            amount of the Share, or by way of premium, as if the same had been payable by virtue of a call
            duly made and notified.


                                             TRANSFER OF SHARES

     34.    The instrument of transfer of any Share shall be in any usual or common form or such other form
            as the Directors may, in their absolute discretion, approve and be executed by or on behalf of the
            transferor and if in respect of a nil or partly paid up Share, or if so required by the Directors, shall
            also be executed on behalf of the transferee and shall be accompanied by the certificate (if any)
            of the Shares to which it relates and such other evidence as the Directors may reasonably require
            to show the right of the transferor to make the transfer. The transferor shall be deemed to remain
            a Shareholder until the name of the transferee is entered in the Register in respect of the relevant
            Shares.

      35.   The Directors may in their absolute discretion decline to register any transfer of Shares without
            assigning any reason therefor.

      36.   The registration of transfers may be suspended at such times and for such periods as the
            Directors may from time to time determine.

      37.   All instruments of transfer that are registered shall be retained by the Company, but any
            instrument of transfer that the Directors decline to register shall (except in any case of fraud) be
            returned to the Person depositing the same.


                                           TRANSMISSION OF SHARES

      38.   The legal personal representative of a deceased sole holder of a Share shall be the only Person
            recognised by the Company as having any title to the Share. In the case of a Share registered in
            the name of two or more holders, the survivors or survivor, or the legal personal representatives
            of the deceased survivor, shall be the only Person recognised by the Company as having any title
            to the Share.

      39.   Any Person becoming entitled to a Share in consequence of the death or bankruptcy of a
            Shareholder shall upon such evidence being produced as may from time to time be required by
            the Directors, have the right either to be registered as a Shareholder in respect of the Share or,
            instead of being registered himself, to make such transfer of the Share as the deceased or
            bankrupt Person could have made; but the Directors shall, in either case, have the same right to
            decline or suspend registration as they would have had in the case of a transfer of the Share by
            the deceased or bankrupt Person before the death or bankruptcy.

      40.   A Person becoming entitled to a Share by reason of the death or bankruptcy of a Shareholder
            shall be entitled to the same dividends and other advantages to which he would be entitled if he
            were the registered Shareholder, except that he shall not, before being registered as a
            Shareholder in respect of the Share, be entitled in respect of it to exercise any right conferred by
            membership in relation to meetings of the Company.


                                        ALTERATION OF SHARE CAPITAL

      41.   The Company may from time to time by Ordinary Resolution increase the share capital by such
            sum, to be divided into Shares of such Classes and amount, as the resolution shall prescribe.

      42.   The Company may by Ordinary Resolution:


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            (a)    consolidate and divide all or any of its share capital into Shares of a larger amount than
                   its existing Shares;

            (b)     convert all or any of its paid up Shares into stock and reconvert that stock into paid up
                    Shares of any denomination;

            (c)     subdivide its existing Shares, or any of them into Shares of a smaller amount provided
                    that in the subdivision the proportion between the amount paid and the amount, if any,
                    unpaid on each reduced Share shall be the same as it was in case of the Share from
                    which the reduced Share is derived; and

            (d)     cancel any Shares that, at the date of the passing of the resolution, have not been taken
                    or agreed to be taken by any Person and diminish the amount of its share capital by the
                    amount of the Shares so cancelled.

      43.   The Company may by Special Resolution reduce its share capital and any capital redemption
            reserve in any manner authorised by law.


                                 REDEMPTION AND PURCHASE OF SHARES

      44.   Subject to the Law, the Company may:

            (a)     issue Shares on terms that they are to be redeemed or are liable to be redeemed at the
                    option of the Company or the Shareholder on such terms and in such manner as the
                    Directors may, before the issue of such Shares, determine;

            (b)     purchase its own Shares (including any redeemable Shares) on such terms and in such
                    manner as the Directors may determine and agree with the Shareholder; and

            (c)     make a payment in respect of the redemption or purchase of its own Shares in any
                    manner authorised by the Law, including out of its capital, profits or the proceeds of a
                    fresh issue of Shares.

      45.   Any Share in respect of which notice of redemption has been given shall not be entitled to
            participate in the profits of the Company in respect of the period after the date specified as the
            date of redemption in the notice of redemption.

      46.   The redemption or purchase of any Share shall not be deemed to give rise to the redemption or
            purchase of any other Share.

      47.   The Directors may when making payments in respect of redemption or purchase of Shares, if
            authorised by the terms of issue of the Shares being redeemed or purchased or with the
            agreement of the holder of such Shares, make such payment either in cash or in specie.


                                             GENERAL MEETINGS

      48.   The Directors may, whenever they think fit, convene a general meeting of the Company.

      49.   General meetings shall also be convened on the requisition in writing of any Shareholder or
            Shareholders entitled to attend and vote at general meetings of the Company holding at least ten
            percent of the paid up voting share capital of the Company deposited at the Office specifying the
            objects of the meeting for a date no later than 21 days from the date of deposit of the requisition
            signed by the requisitionists, and if the Directors do not convene such meeting for a date not later


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            than 45 days after the date of such deposit, the requisitionists themselves may convene the
            general meeting in the same manner, as nearly as possible, as that in which general meetings
            may be convened by the Directors, and all reasonable expenses incurred by the requisitionists as
            a result of the failure of the Directors to convene the general meeting shall be reimbursed to them
            by the Company.

      50.   If at any time there are no Directors, any two Shareholders (or if there is only one Shareholder
            then that Shareholder) entitled to vote at general meetings of the Company may convene a
            general meeting in the same manner as nearly as possible as that in which general meetings may
            be convened by the Directors.


                                       NOTICE OF GENERAL MEETINGS

      51.   At least seven days' notice in writing counting from the date service is deemed to take place as
            provided in these Articles specifying the place, the day and the hour of the meeting and, in case
            of special business, the general nature of that business, shall be given in the manner hereinafter
            provided or in such other manner (if any) as may be prescribed by the Company by Ordinary
            Resolution to such Persons as are, under these Articles, entitled to receive such notices from the
            Company, but with the consent of all the Shareholders entitled to receive notice of some
            particular meeting and attend and vote thereat, that meeting may be convened by such shorter
            notice or without notice and in such manner as those Shareholders may think fit.

      52.   The accidental omission to give notice of a meeting to or the non-receipt of a notice of a meeting
            by any Shareholder shall not invalidate the proceedings at any meeting.


                                   PROCEEDINGS AT GENERAL MEETINGS

      53.   All business carried out at a general meeting shall be deemed special with the exception of
            sanctioning a dividend, the consideration of the accounts, balance sheets, any report of the
            Directors or of the Company's auditors, the appointment and removal of Directors and the fixing
            of the remuneration of the Company's auditors. No special business shall be transacted at any
            general meeting without the consent of all Shareholders entitled to receive notice of that meeting
            unless notice of such special business has been given in the notice convening that meeting.

      54.   No business shall be transacted at any general meeting unless a quorum of Shareholders is
            present at the time when the meeting proceeds to business. Save as otherwise provided by
            these Articles, one or more Shareholders holding at least a majority of the paid up voting share
            capital of the Company present in person or by proxy and entitled to vote at that meeting shall
            form a quorum.

      55.   If within half an hour from the time appointed for the meeting a quorum is not present, the
            meeting, if convened upon the requisition of Shareholders, shall be dissolved. In any other case
            it shall stand adjourned to the same day in the next week, at the same time and place, and if at
            the adjourned meeting a quorum is not present within half an hour from the time appointed for the
            meeting the Shareholder or Shareholders present and entitled to vote shall form a quorum.

      56.   If the Directors wish to make this facility available for a specific general meeting or all general
            meetings of the Company, participation in any general meeting of the Company may be by
            means of a telephone or similar communication equipment by way of which all Persons
            participating in such meeting can communicate with each other and such participation shall be
            deemed to constitute presence in person at the meeting.




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     57.    The chairman, if any, of the Directors shall preside as chairman at every general meeting of the
            Company.

     58.    If there is no such chairman, or if at any general meeting he is not present within fifteen minutes
            after the time appointed for holding the meeting or is unwilling to act as chairman, any Director or
            Person nominated by the Directors shall preside as chairman, failing which the Shareholders
            present in person or by proxy shall choose any Person present to be chairman of that meeting.

     59.    The chairman may with the consent of any general meeting at which a quorum is present (and
            shall if so directed by the meeting) adjourn a meeting from time to time and from place to place,
            but no business shall be transacted at any adjourned meeting other than the business left
            unfinished at the meeting from which the adjournment took place. When a meeting, or adjourned
            meeting, is adjourned for fourteen days or more, notice of the adjourned meeting shall be given
            as in the case of an original meeting. Save as aforesaid it shall not be necessary to give any
            notice of an adjournment or of the business to be transacted at an adjourned meeting.

     60.    The Directors may cancel or postpone any duly convened general meeting at any time prior to
            such meeting, except for general meetings requisitioned by the Shareholders in accordance with
            these Articles, for any reason or for no reason, upon notice in writing to Shareholders. A
            postponement may be for a stated period of any length or indefinitely as the Directors may
            determine.

     61.    At any general meeting a resolution put to the vote of the meeting shall be decided on a show of
            hands, unless a poll is (before or on the declaration of the result of the show of hands) demanded
            by the chairman or one or more Shareholders present in person or by proxy entitled to vote, and
            unless a poll is so demanded, a declaration by the chairman that a resolution has, on a show of
            hands, been carried, or carried unanimously, or by a particular majority, or lost, and an entry to
            that effect in the book of the proceedings of the Company, shall be conclusive evidence of the
            fact, without proof of the number or proportion of the votes recorded in favour of, or against, that
            resolution.

     62.    If a poll is duly demanded it shall be taken in such manner as the chairman directs, and the result
            of the poll shall be deemed to be the resolution of the meeting at which the poll was demanded.

     63.    In the case of an equality of votes, whether on a show of hands or on a poll, the chairman of the
            meeting at which the show of hands takes place or at which the poll is demanded, shall be
            entitled to a second or casting vote.

     64.    A poll demanded on the election of a chairman of the meeting or on a question of adjournment
            shall be taken forthwith. A poll demanded on any other question shall be taken at such time as
            the chairman of the meeting directs.


                                          VOTES OF SHAREHOLDERS

      65.   Subject to any rights and restrictions for the time being attached to any Share, on a show of
            hands every Shareholder present in person and every Person representing a Shareholder by
            proxy shall, at a general meeting of the Company, each have one vote and on a poll every
            Shareholder and every Person representing a Shareholder by proxy shall have one vote for each
            Share of which he or the Person represented by proxy is the holder.

      66.   In the case of joint holders the vote of the senior who tenders a vote whether in person or by
            proxy shall be accepted to the exclusion of the votes of the other joint holders and for this
            purpose seniority shall be determined by the order in which the names stand in the Register.



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     67.    A Shareholder of unsound mind, or in respect of whom an order has been made by any court
            having jurisdiction in lunacy, may vote in respect of Shares carrying the right to vote held by him,
            whether on a show of hands or on a poll, by his committee, or other Person in the nature of a
            committee appointed by that court, and any such committee or other Person, may vote in respect
            of such Shares by proxy.

     68.    No Shareholder shall be entitled to vote at any general meeting of the Company unless all calls, if
            any, or other sums presently payable by him in respect of Shares carrying the right to vote held
            by him have been paid.

     69.    On a poll votes may be given either personally or by proxy.

     70.    The instrument appointing a proxy shall be in writing under the hand of the appointor or of his
            attorney duly authorised in writing or, if the appointor is a corporation, either under Seal or under
            the hand of an officer or attorney duly authorised. A proxy need not be a Shareholder.

     71.    An instrument appointing a proxy may be in any usual or common form or such other form as the
            Directors may approve.

     72.    The instrument appointing a proxy shall be deposited at the Office or at such other place as is
            specified for that purpose in the notice convening the meeting no later than the time for holding
            the meeting or, if the meeting is adjourned, the time for holding such adjourned meeting.

     73.    The instrument appointing a proxy shall be deemed to confer authority to demand or join in
            demanding a poll.

     74.    A resolution in writing signed by all the Shareholders for the time being entitled to receive notice
            of and to attend and vote at general meetings of the Company (or being corporations by their duly
            authorised representatives) shall be as valid and effective as if the same had been passed at a
            general meeting of the Company duly convened and held.


                      CORPORATIONS ACTING BY REPRESENTATIVES AT MEETINGS

      75.   Any corporation which is a Shareholder or a Director may by resolution of its directors or other
            governing body authorise such Person as it thinks fit to act as its representative at any meeting of
            the Company or of any meeting of holders of a Class or of the Directors or of a committee of
            Directors, and the Person so authorised shall be entitled to.exercise the same powers on behalf
            of the corporation which he represents as that corporation could exercise if it were an individual
            Shareholder or Director.


                                                   DIRECTORS

      76.   The name(s) of the first Director(s) shall either be determined in writing by a majority (or in the
            case of a sole subscriber that subscriber) of, or elected at a meeting of, the subscribers of the
            Memorandum of Association.

      77.   The Company may by Ordinary Resolution appoint any natural person or corporation to be a
            Director.

      78.   Subject to these Articles, a Director shall hold office until such time as he is removed from office
            by Ordinary Resolution.




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     79.    The Company may by Ordinary Resolution from time to time fix the maximum and minimum
            number of Directors to be appointed but unless such numbers are fixed as aforesaid the minimum
            number of Directors shall be one and the maximum number of Directors shall be unlimited.

     80.    The remuneration of the Directors may be determined by the Directors or by Ordinary Resolution.

     81,    There shall be no shareholding qualification for Directors unless determined otherwise by
            Ordinary Resolution.

     82.    The Directors shall have power at any time and from time to time to appoint a natural person or
            corporation as a Director, either as a result of a casual vacancy or as an additional Director,
            subject to the maximum number (if any) imposed by Ordinary Resolution.


                                     ALTERNATE DIRECTOR OR PROXY

     83.    Any Director may in writing appoint another Person to be his alternate and, save to the extent
            provided otherwise in the form of appointment, such alternate shall have authority to sign written
            resolutions on behalf of the appointing Director, but shall not be required to sign such written
            resolutions where they have been signed by the appointing Director, and to act in such Director's
            place at any meeting of the Directors at which he is unable to be present. Every such alternate
            shall be entitled to attend and vote at meetings of the Directors as a Director when the Director
            appointing him is not personally present and where he is a Director to have a separate vote on
            behalf of the Director he is representing in addition to his own vote. A Director may at any time in
            writing revoke the appointment of an alternate appointed by him. Such alternate shall not be an
            officer of the Company. The remuneration of such alternate shall be payable out of the
            remuneration of the Director appointing him and the proportion thereof shall be agreed between
            them.

      84.   Any Director may appoint any Person , whether or not a Director, to be the proxy of that Director
            to attend and vote on his behalf, in accordance with instructions given by that Director, or in the
            absence of such instructions at the discretion of the proxy, at a meeting or meetings of the
            Directors which that Director is unable to attend personally. The instrument appointing the proxy
            shall be in writing under the hand of the appointing Director and shall be in any usual or common
            form or such other form as the Directors may approve, and must be lodged with the chairman of
            the meeting of the Directors at which such proxy is to be used, or first used, prior to the
            commencement of the meeting.


                                    POWERS AND DUTIES OF DIRECTORS

      85.   Subject to the Law, these Articles and to any resolutions passed in a general meeting, the
            business of the Company shall be managed by the Directors, who may pay all expenses incurred
            in setting up and registering the Company and may exercise all powers of the Company. No
            resolution passed by the Company in general meeting shall invalidate any prior act of the
            Directors that would have been valid if that resolution had not been passed.

      86.   The Directors may from time to time appoint any natural person or corporation , whether or not a
            Director to hold such office in the Company as the Directors may think necessary for the
            administration of the Company, including but not limited to, the office of president, one or more
            vice-presidents, treasurer, assistant treasurer, manager or controller, and for such term and at
            such remuneration (whether by way of salary or commission or participation in profits or partly in
            one way and partly in another), and with such powers and duties as the Directors may think fit.
            Any natural person or corporation so appointed by the Directors may be removed by the Directors
            or by the Company by Ordinary Resolution. The Directors may also appoint one or more of their


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            number to the office of managing director upon like terms, but any such appointment shall ipso
            facto determine if any managing director ceases from any cause to be a Director, or if the
            Company by Ordinary Resolution resolves that his tenure of office be terminated.

     87.    The Directors may appoint any natural person or corporation to be a Secretary (and if need be an
            assistant Secretary or assistant Secretaries) who shall hold office for such term, at such
            remuneration and upon such conditions and with such powers as they think fit. Any Secretary or
            assistant Secretary so appointed by the Directors may be removed by the Directors or by the
            Company by Ordinary Resolution.

      88.   The Directors may delegate any of their powers to committees consisting of such member or
            members of their body as they think fit; any committee so formed shall in the exercise of the
            powers so delegated conform to any regulations that may be imposed on it by the Directors.

      89.   The Directors may from time to time and at any time by power of attorney (whether under Seal or
            under hand) or otherwise appoint any company, firm or Person or body of Persons, whether
            nominated directly or indirectly by the Directors, to be the attorney or attorneys or authorised
            signatory (any such person being an "Attorney" or "Authorised Signatory", respectively) of the
            Company for such purposes and with such powers, authorities and discretion (not exceeding
            those vested in or exercisable by the Directors under these Articles) and for such period and
            subject to such conditions as they may think fit, and any such power of attorney or other
            appointment may contain such provisions for the protection and convenience of Persons dealing
            with any such Attorney or Authorised Signatory as the Directors may think fit, and may also
            authorise any such Attorney or Authorised Signatory to delegate all or any of the powers,
            authorities and discretion vested in him.

      90.   The Directors may from time to time provide for the management of the affairs of the Company in
            such manner as they shall think fit and the provisions contained in the three next following
            Articles shall not limit the general powers conferred by this Article .

      91.   The Directors from time to time and at any time may establish any committees, local boards or
            agencies for managing any of the affairs of the Company and may appoint any natural person or
            corporation to be a member of such committees or local boards and may appoint any managers
            or agents of the Company and may fix the remuneration of any such natural person or
            corporation.

      92.   The Directors from time to time and at any time may delegate to any such committee, local board,
            manager or agent any of the powers, authorities and discretions for the time being vested in the
            Directors and may authorise the members for the time being of any such local board, or any of
            them to fill any vacancies therein and to act notwithstanding vacancies and any such appointment
            or delegation may be made on such terms and subject to such conditions as the Directors may
            think fit and the Directors may at any time remove any natural person or corporation so appointed
            and may annul or vary any such delegation, but no Person dealing in good faith and without
            notice of any such annulment or variation shall be affected thereby.

      93.   Any such delegates as aforesaid may be authorised by the Directors to sub-delegate all or any of
            the powers, authorities, and discretion for the time being vested in them.


                                   BORROWING POWERS OF DIRECTORS

      94.   The Directors may exercise all the powers of the Company to borrow money and to mortgage or
            charge its undertaking, property and uncalled capital or any part thereof, to issue debentures,
            debenture stock and other securities whenever money is borrowed or as security for any debt,
            liability or obligation of the Company or of any third party.


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                                                      THE SEAL

      95.    The Seal shall not be affixed to any instrument except by the authority of a resolution of the
             Directors provided always that such authority may be given prior to or after the affixing of the Seal
             and if given after may be in general form confirming a number of affixings of the Seal. The Seal
             shall be affixed in the presence of a Director or a Secretary (or an assistant Secretary) or in the
             presence of any one or more Persons as the Directors may appoint for the purpose and every
             Person as aforesaid shall sign every instrument to which the Seal is so affixed in their presence.

      96.    The Company may maintain a facsimile of the Seal in such countries or places as the Directors
             may appoint and such facsimile Seal shall not be affixed to any instrument except by the authority
             of a resolution of the Directors provided always that such authority may be given prior to or after
             the affixing of such facsimile Seal and if given after may be in general form confirming a number
             of affixings of such facsimile Seal. The facsimile Seal shall be affixed in the presence of such
             Person or Persons as the Directors shall for this purpose appoint and such Person or Persons as
             aforesaid shall sign every instrument to which the facsimile Seal is so affixed in their presence
             and such affixing of the facsimile Seal and signing as aforesaid shall have the same meaning and
             effect as if the Seal had been affixed in the presence of and the instrument signed by a Director
             or a Secretary (or an assistant Secretary) or in the presence of any one or more Persons as the
             Directors may appoint for the purpose.

      97.    Notwithstanding the foregoing, a Secretary or any assistant Secretary shall have the authority to
             affix the Seal, or the facsimile Seal, to any instrument for the purposes of attesting authenticity of
             the matter contained therein but which does not create any obligation binding on the Company.


                                        DISQUALIFICATION OF DIRECTORS

      98.    The office of Director shall be vacated, if the Director:

             (a)     becomes bankrupt or makes any arrangement or composition with his creditors;

             (b)     dies or is found to be or becomes of unsound mind;

             (c)     resigns his office by notice in writing to the Company;

             (d)     is removed from office by Ordinary Resolution;

             (e)     is removed from office by notice addressed to him at his last known address and signed
                     by all of his co-Directors (not being less than two in number); or

                     is removed from office pursuant to any other provision of these Articles.


                                          PROCEEDINGS OF DIRECTORS

      99.    The Directors may meet together (either within or without the Cayman Islands) for the despatch of
             business, adjourn, and otherwise regulate their meetings and proceedings as they think fit .
             Questions arising at any meeting shall be decided by a majority of votes. In case of an equality of
             votes the chairman shall have a second or casting vote. A Director may, and a Secretary or
             assistant Secretary on the requisition of a Director shall, at any time summon a meeting of the
             Directors.

      100.   A Director may participate in any meeting of the Directors, or of any committee appointed by the
             Directors of which such Director is a member, by means of telephone or similar communication


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             equipment by way of which all Persons participating in such meeting can communicate with each
             other and such participation shall be deemed to constitute presence in person at the meeting.

      101.   The quorum necessary for the transaction of the business of the Directors may be fixed by the
             Directors, and unless so fixed, if there be two or more Directors the quorum shall be two, and if
             there be one Director the quorum shall be one. A Director represented by proxy or by an
             alternate Director at any meeting shall be deemed to be present for the purposes of determining
             whether or not a quorum is present.

      102.   A Director who is in any way, whether directly or indirectly, interested in a contract or proposed
             contract with the Company shall declare the nature of his interest at a meeting of the Directors. A
             general notice given to the Directors by any Director to the effect that he is a member of any
             specified company or firm and is to be regarded as interested in any contract which may
             thereafter be made with that company or firm shall be deemed a sufficient declaration of interest
             in regard to any contract so made. A Director may vote in respect of any contract or proposed
             contract or arrangement notwithstanding that he may be interested therein and if he does so his
             vote shall be counted and he may be counted in the quorum at any meeting of the Directors at
             which any such contract or proposed contract or arrangement shall come before the meeting for
             consideration.

      103.   A Director may hold any other office or place of profit under the Company (other than the office of
             auditor) in conjunction with his office of Director for such period and on such terms (as to
             remuneration and otherwise) as the Directors may determine and no Director or intending
             Director shall be disqualified by his office from contracting with the Company either with regard to
             his tenure of any such other office or place of profit or as vendor, purchaser or otherwise, nor
             shall any such contract or arrangement entered into by or on behalf of the Company in which any
             Director is in any way interested, be liable to be avoided, nor shall any Director so contracting or
             being so interested be liable to account to the Company for any profit realised by any such
             contract or arrangement by reason of such Director holding that office or of the fiduciary relation
             thereby established. A Director, notwithstanding his interest, may be counted in the quorum
             present at any meeting of the Directors whereat he or any other Director is appointed to hold any
             such office or place of profit under the Company or whereat the terms of any such appointment
             are arranged and he may vote on any such appointment or arrangement.

      104.   Any Director may act by himself or his firm in a professional capacity for the Company, and he or
             his firm shall be entitled to remuneration for professional services as if he were not a Director;
             provided that nothing herein contained shall authorise a Director or his firm to act as auditor to the
             Company.

      105.   The Directors shall cause minutes to be made in books or loose-leaf folders provided for the
             purpose of recording:

             (a)     all appointments of officers made by the Directors;

             (b)     the names of the Directors present at each meeting of the Directors and of any
                     committee of the Directors; and

             (c)     all resolutions and proceedings at all meetings of the Company, and of the Directors and
                     of committees of Directors.

      106.   When the chairman of a meeting of the Directors signs the minutes of such meeting the same
             shall be deemed to have been duly held notwithstanding that all the Directors have not actually
             come together or that there may have been a technical defect in the proceedings.




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     107.    A resolution in writing signed by all the Directors or all the members of a committee of Directors
             entitled to receive notice of a meeting of Directors or committee of Directors, as the case may be
             (an alternate Director, subject as provided otherwise in the terms of appointment of the alternate
             Director, being entitled to sign such a resolution on behalf of his appointer), shall be as valid and
             effectual as if it had been passed at a duly called and constituted meeting of Directors or
             committee of Directors, as the case may be. When signed a resolution may consist of several
             documents each signed by one or more of the Directors or his duly appointed alternate.

     108.    The continuing Directors may act notwithstanding any vacancy in their body but if and for so long
             as their number is reduced below the number fixed by or pursuant to these Articles as the
             necessary quorum of Directors, the continuing Directors may act for the purpose of increasing the
             number, or of summoning a general meeting of the Company, but for no other purpose.

     109.    The Directors may elect a chairman of their meetings and determine the period for which he is to
             hold office but if no such chairman is elected, or if at any meeting the chairman is not present
             within fifteen minutes after the time appointed for holding the meeting, the Directors present may
             choose one of their number to be chairman of the meeting.

     110.    Subject to any regulations imposed on it by the Directors, a committee appointed by the Directors
             may elect a chairman of its meetings. If no such chairman is elected, or if at any meeting the
             chairman is not present within fifteen minutes after the time appointed for holding the meeting, the
             committee members present may choose one of their number to be chairman of the meeting.

     111.    A committee appointed by the Directors may meet and adjourn as it thinks proper. Subject to any
             regulations imposed on it by the Directors, questions arising at any meeting shall be determined
             by a majority of votes of the committee members present and in case of an equality of votes the
             chairman shall have a second or casting vote.

     112.    All acts done by any meeting of the Directors or of a committee of Directors, or by any Person
             acting as a Director, shall notwithstanding that it be afterwards discovered that there was some
             defect in the appointment of any such Director or Person acting as aforesaid, or that they or any
             of them were disqualified, be as valid as if every such Person had been duly appointed and was
             qualified to be a Director.


                                                     DIVIDENDS

      113.   Subject to any rights and restrictions for the time being attached to any Shares, the Directors may
             from time to time declare dividends (including interim dividends) and other distributions on Shares
             in issue and authorise payment of the same out of the funds of the Company lawfully available
             therefor.

      114.   Subject to any rights and restrictions for the time being attached to any Shares, the Company by
             Ordinary Resolution may declare dividends, but no dividend shall exceed the amount
             recommended by the Directors.

      115.   The Directors may, before recommending or declaring any dividend, set aside out of the funds
             legally available for distribution such sums as they think proper as a reserve or reserves which
             shall, in the absolute discretion of the Directors be applicable for meeting contingencies, or for
             equalising dividends or for any other purpose to which those funds may be properly applied and
             pending such application may in the absolute discretion of the Directors, either be employed in
             the business of the Company or be invested in such investments as the Directors may from time
             to time think fit.




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     116.    Any dividend may be paid in any manner as the Directors may determine. If paid by cheque it will
             be sent through the post to the registered address of the Shareholder or Person entitled thereto,
             or in the case of joint holders, to any one of such joint holders at his registered address or to such
             Person and such address as the Shareholder or Person entitled, or such joint holders as the case
             may be, may direct. Every such cheque shall be made payable to the order of the Person to
             whom it is sent or to the order of such other Person as the Shareholder or Person entitled, or
             such joint holders as the case may be, may direct.

      117.   The Directors when paying dividends to the Shareholders in accordance with the foregoing
             provisions of these Articles may make such payment either in cash or in specie.

      118.   Subject to any rights and restrictions for the time being attached to any Shares, all dividends shall
             be declared and paid according to the amounts paid up on the Shares, but if and for so long as
             nothing is paid up on any of the Shares dividends may be declared and paid according to the par
             value of the Shares.

      119.   If several Persons are registered as joint holders of any Share, any of them may give effectual
             receipts for any dividend or other moneys payable on or in respect of the Share.

      120.   No dividend shall bear interest against the Company.


                       ACCOUNTS, AUDIT AND ANNUAL RETURN AND DECLARATION

      121.   The books of account relating to the Company's affairs shall be kept in such manner as may be
             determined from time to time by the Directors.

      122.   The books of account shall be kept at the Office, or at such other place or places as the Directors
             think fit, and shall always be open to the inspection of the Directors.

      123.   The Directors may from time to time determine whether and to what extent and at what times and
             places and under what conditions or regulations the accounts and books of the Company or any
             of them shall be open to the inspection of Shareholders not being Directors, and no Shareholder
             (not being a Director) shall have any right of inspecting any account or book or document of the
             Company except as conferred by law or authorised by the Directors or by Ordinary Resolution.

      124.   The accounts relating to the Company's affairs shall only be audited if the Directors so determine,
             in which case the financial year end and the accounting principles will be determined by the
             Directors.

      125.   The Directors in each year shall prepare, or cause to be prepared, an annual return and
             declaration setting forth the particulars required by the Law and deliver a copy thereof to the
             Registrar of Companies in the Cayman Islands.


                                         CAPITALISATION OF RESERVES

      126.   Subject to the Law, the Directors may, with the authority of an Ordinary Resolution:

             (a)     resolve to capitalise an amount standing to the credit of reserves (including a Share
                     Premium Account, capital redemption reserve and profit and loss account), whether or
                     not available for distribution;




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             (b)    appropriate the sum resolved to be capitalised to the Shareholders in proportion to the
                    nominal amount of Shares (whether or not fully paid) held by them respectively and apply
                    that sum on their behalf in or towards:

                    (i)      paying up the amounts (if any) for the time being unpaid on Shares held by them
                             respectively, or

                    (ii)     paying up in full unissued Shares or debentures of a nominal amount equal to
                             that sum,

                    and allot the Shares or debentures, credited as fully paid, to the Shareholders (or as they
                    may direct) in those proportions, or partly in one way and partly in the other, but the
                    Share Premium Account, the capital redemption reserve and profits which are not
                    available for distribution may, for the purposes of this Article, only be applied in paying up
                    unissued Shares to be allotted to Shareholders credited as fully paid;

             (c)     make any arrangements they think fit to resolve a difficulty arising in the distribution of a
                     capitalised reserve and in particular, without limitation, where Shares or debentures
                     become distributable in fractions the Directors may deal with the fractions as they think
                     fit;

             (d)     authorise a Person to enter (on behalf of all the Shareholders concerned) into an
                     agreement with the Company providing for either:

                             the allotment to the Shareholders respectively, credited as fully paid, of Shares or
                             debentures to which they may be entitled on the capitalisation, or

                     (ii)    the payment by the Company on behalf of the Shareholders (by the application of
                             their respective proportions of the reserves resolved to be capitalised) of the
                             amounts or part of the amounts remaining unpaid on their existing Shares,

                     and any such agreement made under this authority being effective and binding on all
                     those Shareholders; and

             (e)     generally do all acts and things required to give effect to the resolution.


                                           SHARE PREMIUM ACCOUNT

      127.   The Directors shall in accordance with the Law establish a Share Premium Account and shall
             carry to the credit of such account from time to time a sum equal to the amount or value of the
             premium paid on the issue of any Share .

      128.   There shall be debited to any Share Premium Account on the redemption or purchase of a Share
             the difference between the nominal value of such Share and the redemption or purchase price
             provided always that at the discretion of the Directors such sum may be paid out of the profits of
             the Company or, if permitted by the Law, out of capital.


                                                      NOTICES

      129.   Any notice or document may be served by the Company or by the Person entitled to give notice
             to any Shareholder either personally, or by posting it airmail or air courier service in a prepaid
             letter addressed to such Shareholder at his address as appearing in the Register, or by electronic
             mail to any electronic mail address such Shareholder may have specified in writing for the


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             purpose of such service of notices, or by facsimile should the Directors deem it appropriate. In the
             case of joint holders of a Share, all notices shall be given to that one of the joint holders whose
             name stands first in the Register in respect of the joint holding, and notice so given shall be
             sufficient notice to all the joint holders.

     130.    Any Shareholder present, either personally or by proxy, at any meeting of the Company shall for
             all purposes be deemed to have received due notice of such meeting and, where requisite, of the
             purposes for which such meeting was convened.

      131.   Any notice or other document, if served by:

             (a)     post, shall be deemed to have been served five days after the time when the letter
                     containing the same is posted;

             (b)     facsimile, shall be deemed to have been served upon production by the transmitting
                     facsimile machine of a report confirming transmission of the facsimile in full to the
                     facsimile number of the recipient;

             (c)     recognised courier service, shall be deemed to have been served 48 hours after the time
                     when the letter containing the same is delivered to the courier service; or

             (d)     electronic mail, shall be deemed to have been served immediately upon the time of the
                     transmission by electronic mail.

             In proving service by post or courier service it shall be sufficient to prove that the letter containing
             the notice or documents was properly addressed and duly posted or delivered to the courier
             service.

      132.   Any notice or document delivered or sent by post to or left at the registered address of any
             Shareholder in accordance with the terms of these Articles shall notwithstanding that such
             Shareholder be then dead or bankrupt, and whether or not the Company has notice of his death
             or bankruptcy, be deemed to have been duly served in respect of any Share registered in the
             name of such Shareholder as sole or joint holder, unless his name shall at the time of the service
             of the notice or document, have been removed from the Register as the holder of the Share, and
             such service shall for all purposes be deemed a sufficient service of such notice or document on
             all Persons interested (whether jointly with or as claiming through or under him) in the Share.

      133.   Notice of every general meeting of the Company shall be given to:

             (a)     all Shareholders holding Shares with the right to receive notice and who have supplied to
                     the Company an address for the giving of notices to them; and

             (b)     every Person entitled to a Share in consequence of the death or bankruptcy of a
                     Shareholder, who but for his death or bankruptcy would be entitled to receive notice of
                     the meeting.

             No other Person shall be entitled to receive notices of general meetings.


                                                      INDEMNITY

      134.   Every Director (including for the purposes of this Article any alternate Director appointed pursuant
             to the provisions of these Articles), Secretary, assistant Secretary, or other officer for the time
             being and from time to time of the Company (but not including the Company's auditors) and the
             personal representatives of the same (each an "Indemnified Person") shall be indemnified and


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             secured harmless against all actions, proceedings, costs, charges, expenses, losses, damages or
             liabilities incurred or sustained by such Indemnified Person, other than by reason of such
             Indemnified Person's own dishonesty, wilful default or fraud, in or about the conduct of the
             Company's business or affairs (including as a result of any mistake of judgment) or in the
             execution or discharge of his duties, powers, authorities or discretions, including without prejudice
             to the generality of the foregoing, any costs, expenses, losses or liabilities incurred by such
             Indemnified Person in defending (whether successfully or otherwise) any civil proceedings
             concerning the Company or its affairs in any court whether in the Cayman Islands or elsewhere.

      135.   No Indemnified Person shall be liable:

             (a)     for the acts, receipts, neglects, defaults or omissions of any other Director or officer or
                     agent of the Company; or

             (b)     for any loss on account of defect of title to any property of the Company; or

             (c)     on account of the insufficiency of any security in or upon which any money of the
                     Company shall be invested; or

             (d)     for any loss incurred through any bank, broker or other similar Person; or

             (e)     for any loss occasioned by any negligence, default, breach of duty, breach of trust, error
                     of judgement or oversight on such Indemnified Person's part; or

             (f)     for any loss, damage or misfortune whatsoever which may happen in or arise from the
                     execution or discharge of the duties, powers, authorities, or discretions of such
                     Indemnified Person's office or in relation thereto;

             unless the same shall happen through such Indemnified Person's own dishonesty, wilful default
             or fraud.


                                         NON-RECOGNITION OF TRUSTS

      136.   Subject to the proviso hereto, no Person shall be recognised by the Company as holding any
             Share upon any trust and the Company shall not, unless required by law, be bound by or be
             compelled in any way to recognise (even when having notice thereof) any equitable, contingent,
             future or partial interest in any Share or (except only as otherwise provided by these Articles or as
             the Law requires) any other right in respect of any Share except an absolute right to the entirety
             thereof in each Shareholder registered in the Register, provided that, notwithstanding the
             foregoing, the Company shall be entitled to recognise any such interests as shall be determined
             by the Directors.


                                                      WINDING UP

      137.   If the Company shall be wound up the liquidator shall apply the assets of the Company in such
             manner and order as he thinks fit in satisfaction of creditors' claims.

      138.   If the Company shall be wound up, the liquidator may, with the sanction of an Ordinary Resolution
             divide amongst the Shareholders in specie or kind the whole or any part of the assets of the
             Company (whether they shall consist of property of the same kind or not) and may, for such
             purpose set such value as he deems fair upon any property to be divided as aforesaid and may
             determine how such division shall be carried out as between the Shareholders or different
             Classes. The liquidator may, with the like sanction, vest the whole or any part of such assets in


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             trustees upon such trusts for the benefit of the Shareholders as the liquidator, with the like
             sanction shall think fit, but so that no Shareholder shall be compelled to accept any assets
             whereon there is any liability.


                                 AMENDMENT OF ARTICLES OF ASSOCIATION

     139.    Subject to the Law and the rights attaching to the various Classes, the Company may at any time
             and from time to time by Special Resolution alter or amend these Articles in whole or in part.


                              CLOSING OF REGISTER OR FIXING RECORD DATE

     140.    For the purpose of determining those Shareholders that are entitled to receive notice of, attend or
             vote at any meeting of Shareholders or any adjournment thereof, or those Shareholders that are
             entitled to receive payment of any dividend, or in order to make a determination as to who is a
             Shareholder for any other purpose, the Directors may provide that the Register shall be closed for
             transfers for a stated period which shall not exceed in any case 40 days. If the Register shall be
             so closed for the purpose of determining those Shareholders that are entitled to receive notice of,
             attend or vote at a meeting of Shareholders the Register shall be so closed for at least ten days
             immediately preceding such meeting and the record date for such determination shall be the date
             of the closure of the Register.

      141.   In lieu of or apart from closing the Register, the Directors may fix in advance a date as the record
             date for any such determination of those Shareholders that are entitled to receive notice of,
             attend or vote at a meeting of the Shareholders and for the purpose of determining those
             Shareholders that are entitled to receive payment of any dividend the Directors may, at or within
             90 days prior to the date of declaration of such dividend, fix a subsequent date as the record date
             for such determination.

      142.   If the Register is not so closed and no record date is fixed for the determination of those
             Shareholders entitled to receive notice of, attend or vote at a meeting of Shareholders or those
             Shareholders that are entitled to receive payment of a dividend, the date on which notice of the
             meeting is posted or the date on which the resolution of the Directors declaring such dividend is
             adopted, as the case may be, shall be the record date for such determination of Shareholders.
             When a determination of those Shareholders that are entitled to receive notice of, attend or vote
             at a meeting of Shareholders has been made as provided in this Article, such determination shall
             apply to any adjournment thereof.


                                  REGISTRATION BY WAY OF CONTINUATION

      143.   The Company may by Special Resolution resolve to be registered by way of continuation in a
             jurisdiction outside the Cayman Islands or such other jurisdiction in which it is for the time being
             incorporated, registered or existing. In furtherance of a resolution adopted pursuant to this Article,
             the Directors may cause an application to be made to the Registrar of Companies to deregister
             the Company in the Cayman Islands or such other jurisdiction in which it is for the time being
             incorporated, registered or existing and may cause all such further steps as they consider
             appropriate to be taken to effect the transfer by way of continuation of the Company.


                                                    DISCLOSURE

      144.   The Directors, or any authorised service providers (including the officers, the Secretary and the
             registered office agent of the Company), shall be entitled to disclose to any regulatory or judicial


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           authority, or to any stock exchange on which the Shares may from time to time be listed, any
           information regarding the affairs of the Company including, without limitation, information
           contained in the Register and books of the Company.




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     NAME, ADDRESS AND DESCRIPTION
     OF SUBSCRIBER




     Walkers Nominees Limited, 87 Mary
     Street, George Town, Grand Cayman
     KY1-9001, Cayman Islands                                   (Sgd) Virginia Czarnocki
                                                                Virginia Czarnocki
                                                                as Authorised Signatory for and on behalf of Walkers
                                                                Nominees Limited

                                                                Dated:    13 December 2010



      (Sgd) Carol MacDonald
      Signature of Witness


      Name:          Carol MacDonald

     Address         87 Mary Street, George
                     Town, Grand Cayman KY1-
                     9001, Cayman Islands

      Occupation:    Secretary




               CE    IFYED                E ND CORREC

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                                                                    EXHIBIT 4                                     Registration No.: 249232
                                                                                                                        Date of Incorporation: 13 December 2010
                                                                                                                                                 Client No.: KY057017
                                                                  REGISTER OF MEMBERS
                                                                          FOR:
                                                                   CLO HOLDCO, LTD.


 Share Class:                    Ordinary
 Nominal Value:                  USD 1.00
 Voting Rights:                  Yes

 Conditional :                   No


                                                                                                                                                                 Date Ceased
  Member                       Date Entered   Transaction    Number of                                                          %            Total Share
                                                                                  Notes                                Cert #                                    to be a
  Name & Address               as a Member    Type           Shares                                                             Paid         Holding
                                                                                                                                                                 Member


  WNL Limited                  13 Dec 2010       Allotment                1.00    13 Dec 2010 : Subscriber's share       No
  Walkers Corporate Services                                                      issued by operation of law on         Cert
  Limited                                                                         registration
  Walker House
  87 Mary Street                                 Transfer                (1.00)   17 Dec 2010 : Transfer of 1.0
  George Town                                                                     Ordinary share(s) from WNL
  Grand Cayman KY1-9005                                                           Limited to Highland Capital
  Cayman Islands                                                                  Management Partners, Charitable
                                                                                  Trust #2 pursuant to resolutions
                                                                                  dated 17 Dec 2010


                                                                                                                                       Nil                 Nil   17 Dec 2010

  Highland Capital             17 Dec 2010       Transfer                 1.00    17 Dec 2010 : Transfer of 1.0          No
  Management Partners,                                                            Ordinary share(s) from WNL            Cert
  Charitable Trust #2                                                             Limited to Highland Capital
  13455 Noel Road                                                                 Management Partners, Charitable
  Suite 800                                                                       Trust #2 pursuant to resolutions
  Dallas TX 75240                                                                 dated 17 Dec 2010
  USA
                                                 Transfer                (1.00)   7 Nov 2011 : Transfer of 1.0
                                                                                  Ordinary share(s) from Highland
                                                                                  Capital Management Partners,
                                                                                  Charitable Trust #2 to
                                                                                  CHARITABLE DAF HOLDCO, LTD




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                                                                 REGISTER OF MEMBERS
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  Member                       Date Entered   Transaction   Number of                                                         %            Total Share
                                                                                 Notes                               Cert #                                    to be a
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                                                                                                                                                               Member


                                                                                 pursuant to Contribution and
                                                                                 Tranfser Agreement dated 7 Nov
                                                                                 2011

                                                                                                                                     Nil                 Nil   7 Nov 2011

  CHARITABLE DAF FUND,         7 Nov 2011        Transfer                1.00    7 Nov 2011 : Transfer of 1.0          No
  LP                                                                             Ordinary share(s) from               Cert
  Intertrust Corporate                                                           CHARITABLE DAF HOLDCO, LTD
  Services (Cayman) Limited                                                      to CHARITABLE DAF FUND, LP
  One Nexus Way                                                                  pursuant to Contribution and
  Camana Bay                                                                     Transfer Agreement dated 7 Nov
  Grand Cayman KY1-9005                                                          2011
  Cayman Islands
                                                                                                                                 100                 1.00

  CHARITABLE DAF               7 Nov 2011        Transfer                1.00    7 Nov 2011 : Transfer of 1.0          No
  HOLDCO, LTD                                                                    Ordinary share(s) from Highland      Cert
  Walkers Corporate Services                                                     Capital Management Partners,
  Limited                                                                        Charitable Trust #2 to
  Walker House                                                                   CHARITABLE DAF HOLDCO, LTD
  87 Mary Street                                                                 pursuant to Contribution and
  George Town                                                                    Tranfser Agreement dated 7 Nov
  Grand Cayman KY1-9005                                                          2011
  Cayman Islands
                                                 Transfer               (1.00)   7 Nov 2011 : Transfer of 1.0
                                                                                 Ordinary share(s) from
                                                                                 CHARITABLE DAF HOLDCO, LTD
                                                                                 to CHARITABLE DAF FUND, LP
                                                                                 pursuant to Contribution and
                                                                                 Transfer Agreement dated 7 Nov
                                                                                 2011

                                                                                                                                     Nil                 Nil   7 Nov 2011




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          WK-53083

                  er licate of,Registration of Exempted__ Limite
                                  Partnership

          --I JOY A. RANKINE Assistant Registrar of Exempted Limited Partnership in the
             Cayman Islands DO HEREBY CERTIFY, pursuant to the Exempted Limited Partnership Law, 1991,
          ===fcell the te4igisitions of the said Law in respect of registration were complied With-by

                                          Charitable DAF Fund, LP
           an Exempted Limited Partnership registered in the Cayman Islands on the 28th day of
           October Two Thousand Eleven

                                            Given under mylhand'and Seal at George Town in the
                                            Island of Grand Cayman this 28th day of October
                                            Two Thousand Eleven
        wITED

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                                            Assi an     ist a of xempted Limited Partnership
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                                  DATED NOVEMBER 7, 2011



                                  AMENDED AND RESTATED

                    EXEMPTED LIMITED PARTNERSHIP AGREEMENT OF


                                  CHARITABLE DAF FUND, LP




                                         WARNING

 THE TAKING OR SENDING BY ANY PERSON OF AN ORIGINAL OF THIS
 DOCUMENT INTO THE CAYMAN ISLANDS MAY GIVE RISE TO THE
 IMPOSITION OF CAYMAN ISLANDS STAMP DUTY




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                          AMENDED AND RESTATED
                EXEMPTED LIMITED PARTNERSHIP AGREEMENT OF
                         CHARITABLE DAF FUND, LP


 THIS AMENDED AND RESTATED EXEMPTED LIMITED                                     PARTNERSHIP
 AGREEMENT (the “Agreement”) is made on November 7, 2011

 BETWEEN

 (1)    Charitable DAF GP, LLC, a Delaware limited liability company registered as a foreign
        company in the Cayman Islands and having its registered office at Walkers Corporate
        Services Limited, Walker House, 87 Mary Street, George Town, Grand Cayman KY1-
        9005, Cayman Islands as general partner (the “General Partner”); and

 (2)    Charitable DAF HoldCo, Ltd, a Cayman Islands exempted Company having its registered
        office at Walkers Corporate Services Limited, Walker House, 87 Mary Street, George
        Town, Grand Cayman KY1-9005, Cayman Islands as limited partner (the “Limited
        Partner”); and

 (3)    Each individual, partnership, corporation, limited liability company, trust or other entity
        (each, a “Person”) admitted as a limited partner or general partner (collectively, the
        “Partners”) of the Partnership (as defined below) in accordance with this Agreement,
        including any Persons hereafter admitted as Partners in accordance with this Agreement
        and excluding any Persons who cease to be Partners in accordance with this Agreement;
        and

 (4)    Walkers Nominees Limited having its registered office at Walkers Corporate Services
        Limited, Walker House, 87 Mary Street, George Town, Grand Cayman, KY1-9005,
        Cayman Islands as the initial limited partner (the “Initial Limited Partner”) solely for
        the purposes of withdrawing as such.

 WHEREAS, Charitable DAF Fund, LP (the “Partnership”) was formed and registered as an
 exempted limited partnership pursuant to and in accordance with the Exempted Limited
 Partnership Law (as amended) of the Cayman Islands (the “Law”), and since its formation has
 been governed by the Initial Limited Partnership Agreement of the Partnership, dated
 October 25, 2011 (the “Initial Agreement”); and

 WHEREAS, the Partnership was formed in order to own, operate and make certain investments
 directly or indirectly on behalf of certain entities exempt from taxation under Section 501(c)(3)
 of the U.S. Internal Revenue Code of 1986, as amended (the “Code”) and the parties hereto
 desire for the Partnership to be for the economic benefit of the Limited Partner and its Indirect
 Charitable Owners (as defined below) as set forth herein; and

 WHEREAS, the parties hereto wish to amend and restate the Initial Agreement in its entirety
 and enter into this Agreement.




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 NOW THEREFORE, in consideration of the premises and other good and valuable
 consideration, the receipt of which is hereby acknowledged, the parties hereto hereby adopt this
 Agreement to be their Limited Partnership Agreement, as follows:

 IT IS AGREED:

                                ARTICLE I
              GENERAL PROVISIONS; COMPENSATION AND EXPENSES

 1.1    Continuation. The parties hereto continue the Partnership as an exempted limited
        partnership formed on October 25, 2011 pursuant to the Law.

 1.2    Name. The business of the Partnership shall be carried on under the name of Charitable
        DAF Fund, LP.

 1.3    Purpose and Powers. The purpose of the Partnership shall be to invest and trade, directly
        or indirectly, in securities of all types and other investment vehicles and instruments. At
        least initially, a majority of the Partnership’s assets shall be invested in shares of CLO
        HoldCo, Ltd., a Cayman Islands exempted company (“CLO HoldCo”), but the
        Partnership may make investments in other types of securities, investment vehicles and
        instruments in the sole discretion of the General Partner for the purpose of benefitting,
        directly or indirectly, the Indirect Charitable Owners.

 1.4    Registered Office. The registered office of the Partnership is c/o Walkers Corporate
        Services Limited, Walker House, 87 Mary Street, George Town, Grand Cayman KY1-
        9005, Cayman Islands.

 1.5    Partners. The name and addresses of the Partners are as follows:

               Name                               Address
               Charitable DAF GP, LLC             c/o Walkers Corporate Services Limited
                                                  Walker House
                                                  87 Mary Street
                                                  George Town
                                                  Grand Cayman KY1-9005, Cayman Islands

               Charitable DAF HoldCo Ltd          c/o Walkers Corporate Services Limited
               (Limited Partner)                  Walker House
                                                  87 Mary Street
                                                  George Town
                                                  Grand Cayman KY1-9005, Cayman Islands

 1.6    Powers.

        (a)    Subject to the terms and conditions of this Agreement, the General Partner shall
               have full, exclusive and complete discretion in the management and control of the
               business and affairs of the Partnership, shall make all decisions regarding the
               business of the Partnership, and shall have all of the rights, powers and

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               obligations of a general partner of a limited partnership under the laws of the
               Cayman Islands. Except as otherwise expressly provided in this Agreement, the
               General Partner is hereby granted the right, power and authority to do on behalf of
               the Partnership all things which, in the General Partner’s sole discretion, are
               necessary or appropriate to manage the Partnership’s affairs and fulfill the
               purposes of the Partnership; provided, however that the Partnership’s assets and
               investments shall be for the benefit of the Limited Partners and not for the
               economic benefit of the General Partner.

        (b)    Except as otherwise provided herein, the Limited Partners, in their capacity as
               Limited Partners, shall not participate in the management of or have any control
               over the Partnership’s business nor shall the Limited Partners have the power to
               represent, act for, sign for or bind the General Partner or the Partnership. The
               Limited Partners hereby consent to the exercise by the General Partner of the
               Powers conferred on it by this Agreement.

 1.7    Term. The Partnership was established on October 25, 2011 and shall continue until
        terminated in accordance with this Agreement or any amendment or modification thereof.

 1.8    Admission of New Partners. The General Partner may at any time admit one or more
        new Partners on such terms as it may determine in its sole discretion; provided that any
        such new Limited Partner shall have as its equity owners solely Indirect Charitable
        Owners.

 1.9    Taxable Year. The Taxable Year of the Partnership shall be a calendar fiscal year, or
        such other fiscal year as the General Partner shall determine in their sole discretion from
        time to time.

 1.10   Liability of Partners.

        (a)    The General Partner shall be liable for all of the debts, liabilities and obligations
               of the Partnership.

        (b)    Except to the extent otherwise required by law or this Agreement, a Limited
               Partner shall not be personally liable for any obligations of the Partnership to third
               parties nor for the return of any distributions from the Partnership to the Limited
               Partner. A Limited Partner may be liable for the tax audit and related expenses
               referred to in Section 6.1.

 1.11   Limitation on Assignability of Partners’ Interests.

        (a)    A Limited Partner may not assign his interest in whole or in part to any person,
               without the prior written consent of the General Partner, except by operation of
               law, nor shall he be entitled to substitute for himself as a Limited Partner any
               other person, without the prior written consent of the General Partner, which in
               either case may be given or withheld in the sole discretion of the General Partner.
               Any attempted assignment or substitution not made in accordance with this
               section shall be void ab initio.

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        (b)    The General Partner may not assign their interests in the Partnership to any entity
               that is not under common control with the General Partner without the consent of
               a majority-in-interest of the Limited Partners. Notwithstanding the foregoing, the
               General Partner may freely assign their economic interest in the Partnership in
               whole or in part.

 1.12   Definitions. For the purpose of this Agreement, unless the context otherwise requires:

        (a)    General Partner. The term “General Partner” shall refer to Charitable DAF GP,
               LLC, and each other person subsequently admitted as a general partner pursuant
               to the terms of this Agreement. The General Partner shall give each Limited
               Partner notice of any change in control of the General Partner. The General
               Partner shall give each Limited Partner notice of the admission of any additional
               general partner to the Partnership.

        (b)    Indirect Charitable Owners. The term “Indirect Charitable Owner” shall refer
               to the indirect equity owners of the Limited Partners, which shall at all times be
               entities or organizations exempt from taxation under Section 501(c)(3) of the
               Code or entities or organizations whose sole beneficiaries are entities or
               organizations exempt from taxation under Section 501(c)(3) of the Code.

        (c)    Limited Partner. The term “Limited Partner” shall refer to Charitable DAF
               HoldCo Ltd (and each person subsequently admitted as a limited partner by the
               General Partner pursuant to the terms of this Agreement).

        (d)    Partner. The term “Partner” shall refer to the General Partner or the Limited
               Partner.

 1.13   Service Providers. The General Partner may engage one or more Persons to act, or
        remove any one or more Persons from so acting, as service providers to the Company
        (including, without limitation, as manager, administrator, custodian, registrar and transfer
        agent, investment manager, investment adviser, sponsor and/or prime broker, auditors
        and legal counsel to the Partnership) in its sole discretion; provided, that any
        compensation paid to any such service provider that is affiliated with the General Partner
        shall be in an amount customary for services of a similar nature.

 1.14   Partnership Expenses. The Partnership will bear its own operating, administrative,
        trading and other expenses, including interest expense, brokerage commissions,
        management fees (if any), taxes, research costs, legal and accounting expenses and other
        operating expenses. In addition, the Partnership will bear its pro rata share of CLO
        HoldCo’s operating, administrative, trading and other expenses, including interest
        expense, brokerage commissions, management fees, taxes, research costs, legal and
        accounting expenses and other operating expenses. The Partnership will also bear (or
        reimburse the General Partner for) its organizational fees and expenses. To the extent the
        Partnership shares trading expenses with other accounts that may be managed by the
        General Partner or any affiliates, it will bear a proportionate share of the associated costs.
        In no event shall the General Partner receive any compensation from the Partnership.

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 1.15   Withdrawal of Initial Limited Partner. The Initial Limited Partner hereby withdraws as a
        limited partner immediately following the admission of the Limited Partners and
        thereafter shall have no further rights, liabilities or obligations under or in respect of this
        Agreement in its capacity as Initial Limited Partner.

                                            ARTICLE II
                                             POWERS

 2.1    Partnership Powers. The Partnership shall have the following powers:

        (a)    To purchase, sell, invest and trade, directly or indirectly, on margin or otherwise,
               in all types of securities and other financial instruments of United States and non-
               U.S. entities, including, without limitation, capital stock; all manner of equity
               securities (whether registered or unregistered, traded or privately offered,
               American Depository Receipts, common or preferred); physical commodities;
               shares of beneficial interest; partnership interests, limited liability company
               interests and similar financial instruments; secured and unsecured debt (both
               corporate and sovereign, bank debt, syndicated debt, vendor claims and/or other
               contractual claims); bonds, notes and debentures (whether subordinated,
               convertible or otherwise); currencies; interest rate, currency, equity and other
               derivative products, including, without limitation, (i) future contracts (and options
               thereon) relating to stock indices, currencies, United States Government
               securities, securities of non-U.S. governments, other financial instruments and all
               other commodities, (ii) swaps and contracts for difference, options, swaptions,
               rights, warrants, when-issued securities, caps, collars, floors, forward rate
               agreements, and repurchase and reverse repurchase agreements and other cash
               equivalents, (iii) spot and forward currency transactions and (iv) agreements
               relating to or securing such transactions; leases, including, without limitation,
               equipment lease certificates; equipment trust certificates; mortgage-backed
               securities and other similar instruments (including, without limitation, fixed-rate,
               pass-throughs, adjustable rate mortgages, collateralized mortgage obligations,
               stripped mortgage-backed securities and REMICs); loans; credit paper; accounts
               and notes receivable and payable held by trade or other creditors; trade
               acceptances and claims; contract and other claims; statutory claims; royalty
               claims; executory contracts; participations; mutual funds, exchange traded funds
               and similar financial instruments; money market funds and instruments;
               obligations of the United States, any state thereof, non-U.S. governments and
               instrumentalities of any of them; commercial paper; certificates of deposit;
               bankers’ acceptances; trust receipts; letters of credit; choses in action; puts; calls;
               other obligations and instruments or evidences of indebtedness of whatever kind
               or nature; and real estate and any kind of interests in real estate; in each case, of
               any person, corporation, government or other entity whatsoever, whether or not
               publicly traded or readily marketable (all such items being called herein a
               “Financial Instruments”), and to sell Financial Instruments short and cover such
               sales;



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       (b)    To possess, transfer, mortgage, pledge or otherwise deal in, and to exercise all
              rights, powers, privileges and other incidents of ownership or possession with
              respect to, Financial Interests held or owned by the Partnership with the ultimate
              objective of the preservation, protection, improvement and enhancement in value
              thereof and to hold such Financial Interests in the name of the Partnership, in the
              name of any securities broker or firm, in the name of any nominee of such firm, or
              in the name of any other nominee or any other street name, or any combination
              thereof;

       (c)    To lend, either with or without security, any Financial Instruments, funds or other
              properties of the Partnership, including by entering into reverse repurchase
              agreements, and, from time to time, undertake leverage on behalf of the
              Partnership;

       (d)    To borrow or raise moneys and, from time to time, without limit as to amount, to
              issue, accept, endorse and execute promissory notes, drafts, bills of exchange,
              warrants, bonds, debentures and other negotiable or non-negotiable instruments
              and evidences of indebtedness, and to secure the payment of any of the foregoing
              instruments and of the interest thereon by mortgage upon or pledge, conveyance
              or assignment in trust of the whole or any part of the property of the Partnership,
              whether at the time owned or thereafter acquired, and to sell, pledge or otherwise
              dispose of such bonds or other obligations of the Partnership for its purposes;

       (e)    To have and maintain one or more offices within or without the Cayman Islands
              and in connection therewith to rent or acquire office space, engage personnel and
              do such other acts and things as may be necessary or advisable in connection with
              the maintenance of such office or offices;

       (f)    To open, maintain and close bank accounts and brokerage accounts, including the
              power to draw checks or other orders for the payment of monies; and

       (g)    To enter into, make and perform all contracts, agreements and other undertakings
              as may be necessary or advisable or incidental to the carrying out of the foregoing
              objects and purposes.

2.2    Rights, Powers, Limitations on Liability and Indemnification of General Partner.

       (a)    Whether or not herein expressly so provided, every provision of this Agreement
              relating to the conduct or affecting the liability of or affording protection to the
              General Partner, its members or any of their respective affiliates and their
              respective partners, members, officers, directors, employees, shareholders and
              agents (including members of any committee and parties acting as agents for the
              execution of transactions) (each, a “Covered Person” and collectively, “Covered
              Persons”) shall be subject to the provisions of this Section.

       (b)    To the fullest extent permitted by law, no Covered Person shall be liable to the
              Partnership or anyone for any reason whatsoever (including but not limited to (i)
              any act or omission by any Covered Person in connection with the conduct of the
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             business of the Partnership, that is determined by such Covered Person in good
             faith to be in or not opposed to the best interests of the Partnership, (ii) any act or
             omission by any Covered Person based on the suggestions of any professional
             advisor of the Partnership whom such Covered Person believes is authorized to
             make such suggestions on behalf of the Partnership, (iii) any act or omission by
             the Partnership, or (iv) any mistake, negligence, misconduct or bad faith of any
             broker or other agent of the Partnership selected by Covered Person with
             reasonable care), unless any act or omission by such Covered Person constitutes
             willful misconduct or gross negligence by such Covered Person (as determined by
             a non-appealable judgment of a court of competent jurisdiction).

      (c)    Covered Person may consult with legal counsel or accountants selected by such
             Covered Person and any act or omission by such Covered Person on behalf of the
             Partnership or in furtherance of the business of the Partnership in good faith in
             reliance on and in accordance with the advice of such counsel or accountants shall
             be full justification for the act or omission, and such Covered Person shall be fully
             protected in so acting or omitting to act if the counsel or accountants were
             selected with reasonable care.

      (d)    To the fullest extent permitted by law, the Partnership shall indemnify and save
             harmless Covered Persons (the “Indemnitees”), from and against any and all
             claims, liabilities, damages, losses, costs and expenses, including amounts paid in
             satisfaction of judgments, in compromises and settlements, as fines and penalties
             and legal or other costs and expenses of investigating or defending against any
             claim or alleged claim, of any nature whatsoever, known or unknown, liquidated
             or unliquidated, that are incurred by any Indemnitee and arise out of or in
             connection with the business of the Partnership, any investment made under or in
             connection with this Agreement, or the performance by the Indemnitee of
             Covered Person’s responsibilities hereunder and against all taxes, charges, duties
             or levies incurred by such Covered Person or any Indemnitee in connection with
             the Partnership, provided that an Indemnitee shall not be entitled to
             indemnification hereunder to the extent the Indemnitee’s conduct constitutes
             willful misconduct or gross negligence (as determined by a non-appealable
             judgment of a court of competent jurisdiction). The termination of any
             proceeding by settlement, judgment, order or upon a plea of nolo contendere or its
             equivalent shall not, of itself, create a presumption that the Indemnitee’s conduct
             constituted willful misconduct or gross negligence.

      (e)    Expenses incurred by an Indemnitee in defense or settlement of any claim that
             shall be subject to a right of indemnification hereunder, shall be advanced by the
             Partnership prior to the final disposition thereof upon receipt of an undertaking by
             or on behalf of the Indemnitee to repay the amount advanced to the extent that it
             shall be determined ultimately that the Indemnitee is not entitled to be
             indemnified hereunder.

      (f)    The right of any Indemnitee to the indemnification provided herein shall be
             cumulative of, and in addition to, any and all rights to which the Indemnitee may

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             otherwise be entitled by contract or as a matter of law or equity and shall be
             extended to the Indemnitee’s successors, assigns and legal representatives.

       (g)   The provisions of this Section are expressly intended to confer benefits upon
             Covered Persons and such provisions shall remain operative and in full force and
             effect regardless of the expiration or any termination of this Agreement.

       (h)   Notwithstanding anything in this Agreement to the contrary, the aggregate
             maximum amount that a Covered Person may be liable to the Partnership
             and/or any of the Partners pursuant to this Agreement shall, to the extent not
             prohibited by law, never exceed the amount of management and incentive
             fees received by such Covered Person from the Partnership under this
             Agreement prior to the date that the acts or omissions giving rise to a claim
             for indemnification or liability shall have occurred. In no event shall any
             Covered Person be liable for special, exemplary, punitive, indirect, or
             consequential loss, or damage of any kind whatsoever, including without
             limitation lost profits. No Covered Person shall incur any liability for
             interest on any monies at any time received by such Covered Person or any
             investment loss or other charge resulting therefrom with respect to amounts
             invested hereunder.

       (i)   WAIVER OF CONSUMER RIGHTS: The Partnership and each of the
             Limited Partners waive all of their respective rights, if any, under the
             Deceptive Trade Practices-Consumer Protection Act, Section 17.41 et seq.,
             Texas Business & Commerce Code (“DTPA”), a law that gives consumers
             special rights and protections. After consultation with an attorney of
             Partnership’s own selection, Partnership voluntarily consents to this waiver.
             This waiver includes any right to recover attorneys’ fees under the DTPA.
             Further, Partnership waives all of its rights to any and all protections
             afforded by any other state or federal Consumer Protection Acts, including
             the recovery of attorneys’ fees.

       (j)   No Covered Person shall be liable hereunder for any settlement of any action or
             claim effected without its written consent thereto.

             Pursuant to the foregoing indemnification and exculpation provisions applicable
             to each Covered Person, the Partnership (and not the applicable Covered Person)
             shall be responsible for any losses resulting from trading errors and similar human
             errors, absent gross negligence or reckless or intentional misconduct of any
             Covered Person. Given the volume of transactions executed on behalf of the
             Partnership, Limited Partners acknowledge that trading errors (and similar errors)
             will occur and that the Partnership shall be responsible for any resulting losses,
             even if such losses result from the negligence (but not gross negligence) of any
             Covered Person.

       (k)   This Section 2.2 shall survive a Limited Partner’s withdrawal as a limited partner
             of the Partnership and any termination of this Agreement.

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                                ARTICLE III
             CAPITAL ACCOUNTS AND DIVISION OF PROFITS AND LOSSES

3.1    Capital Contributions.

       (a)     Each Partner has made the capital contributions to the Partnership in the amount
               set forth in the records of the Partnership. The Limited Partner has contributed to
               the Partnership all of the outstanding equity interests of CLO HoldCo.

3.2    Capital Account; Allocation of Profits and Losses.

       (a)     There shall be established for each Partner on the books of the Partnership as of
               the first day of the fiscal period during which such Partner was admitted to the
               Partnership a capital account for such Partner in an amount equal to his capital
               contribution to the Partnership.

       (b)     Since the General Partner’s capital account and contributions shall be the
               minimum required by Law, all income, deductions, gains, losses and credits of the
               Partnership shall be allocated shall be for the benefit of the Limited Partner,
               except as may otherwise be required by law. In the event any valuation of assets
               is necessary or appropriate, the General Partner shall determine such value in any
               reasonable manner determined by the General Partner in its sole discretion
               consistent with relevant accounting principles and applicable law.

       (c)     For purposes of determining the share of any items allocated to any period during
               the relevant Taxable Year of the Partnership, such shares shall be determined by
               the General Partner using any method permitted by the Code and the regulations
               thereunder. All allocations to be made by the General Partner may be overridden
               if necessary to comply with the Code, the regulations thereunder or other
               applicable law.

       (d)     To the extent that the Partnership pays withholding taxes as to a Partner, such
               amounts shall be charged to the applicable Partner’s capital account; provided,
               however, that any such amounts may be treated as an advance to the Partner with
               interest to be charged to that Partner’s capital account at a rate determined by the
               General Partner.

       (e)     Each Partner agrees not to treat, on any tax return or in any claim for a refund,
               any item of income, gain, loss, deduction or credit in a manner inconsistent with
               treatment of such item by the Partnership.

                                 ARTICLE IV
                 LEGAL INTERESTS, DISTRIBUTIONS AND PARTIAL
                    WITHDRAWALS FROM CAPITAL ACCOUNT

4.1    Legal Interest. Each Partner shall have and own during any Taxable Year an undivided
       interest in the Partnership equal to his opening capital account for such period.


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4.2    Distributions.

       (a)    Distributions shall be made to the Limited Partner at the times, in a manner
              (including in kind) and in the aggregate amounts determined by the General
              Partner, after taking into consideration available cash and the needs of the Indirect
              Charitable Owners of the Limited Partner for funds to cover their administrative
              and operating expenses. In determining the amount of cash or securities available
              for distribution, the General Partner may retain reasonable reserves in such
              amounts as it determines may be necessary to cover expenses, contingencies and
              losses. Notwithstanding the foregoing, distributions made in connection with a
              sale of all or substantially all of the Partnership’s assets or a liquidation of the
              Partnership shall be made in accordance with the capital account balances of the
              Partners within the time period set forth in Treasury Regulations Section 1.704-
              1(b)(2)(ii)(b)(3).

       (b)    The General Partner may withhold and pay over to the U.S. Internal Revenue
              Service (or any other relevant taxing authority) such amounts as the Partnership is
              required to withhold or pay over, pursuant to the Code or any other applicable
              law, on account of a Partner’s distributive share of the Partnership’s items of
              gross income, income or gain.

              For purposes of this Agreement, any taxes so withheld or paid over by the
              Partnership with respect to a Partner’s distributive share of the Partnership’s gross
              income, income or gain shall be deemed to be a distribution or payment to such
              Partner, reducing the amount otherwise distributable to such Partner pursuant to
              this Agreement and reducing the capital account of such Partner. If the amount of
              such taxes is greater than any such distributable amounts, then such Partner and
              any successor to such Partner’s interest shall pay the amount of such excess to the
              Partnership, as a contribution to the capital of the Partnership.

4.3    Withdrawal. Without the consent of the General Partner, no Partner may withdraw as a
       Partner or make withdrawals from such Partner’s capital account. In the event the
       General Partner permits any such withdrawal, the withdrawal shall be on such terms and
       conditions as the General Partner shall determine in its sole discretion. The General
       Partner may terminate all or any part of the interest of any Limited Partner at any time for
       any reason or no reason by written notice; provided that any new or additional Limited
       Partner shall be directly or indirectly an entity or organization exempt from taxation
       under Section 501(c)(3) of the Code.

                                     ARTICLE V
                              DURATION OF PARTNERSHIP

5.1    Termination. The Partnership shall be required to be wound up and dissolved upon:

       (a)    the service of a notice by the General Partner on the other Partners requiring that
              the Partnership be wound up and dissolved; or



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       (b)    the withdrawal by or resignation of the General Partner as general partner of the
              Partnership; or

       (c)    the withdrawal of all Limited Partners.

       Upon the occurrence of any such event, the Partnership’s affairs shall be wound up by the
       General Partner or such other Person as the General Partner shall appoint.

5.2    Winding Up. Upon the Partnership being required to be wound up and dissolved, the
       General Partner shall proceed with the liquidation and distribution of the assets of the
       Partnership, and upon completion of the winding up of the Partnership, shall have the
       authority to and shall execute and file a dissolution notice and such other documents
       required to effect the dissolution and termination of the Partnership in accordance with
       the Law. Before the distribution of all the assets of the Partnership, the business of the
       Partnership and the affairs of the Partners, as such, shall continue to be governed by this
       Agreement. The winding up of the Partnership and payment of creditors shall be effected
       in accordance with the Law.

                                       ARTICLE VI
                                     MISCELLANEOUS

6.1    Tax Matters Partner. The General Partner shall at all times constitute, and have full
       powers and responsibilities, as the Tax Matters Partner of the Partnership. In the event
       the Partnership shall be the subject of an income tax audit by any Federal, state or local
       authority, to the extent the Partnership is treated as an entity for purposes of such audit,
       including administrative settlement and judicial review, the Tax Matters Partner shall be
       authorized to act for, and his decision shall be final and binding upon, the Partnership and
       each Partner thereof, and the Tax Matters Partner shall be indemnified and held harmless
       by the Partnership and each Partner for any action so taken by him in good faith. All
       expenses incurred in connection with any such audit, investigation, settlement or review
       shall be borne by the Partnership to the extent of available Partnership funds, and any
       excess shall be paid by the Partners individually in proportion to their percentage
       interests in the Partnership.

6.2    Right to Hire.

       (a)    Nothing herein shall preclude the General Partner from engaging on behalf of the
              Partnership the services of any person or firm, whether or not affiliated with the
              General Partner, including the General Partner, to render for compensation such
              services to the Partnership as may be necessary to implement the business
              purposes of the Partnership.

       (b)    Each of the Partners consents that the General Partner, the Investment Manager or
              any Limited Partner or any affiliate (as defined in the Securities Act of 1933, as
              amended, and the regulations thereunder) of any of them, including without
              limitation the investment manager of the CLO HoldCo, may engage in or possess
              an interest in directly or indirectly, any other present or future business venture of
              any nature or description for his own account, independently or with others,
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             including but not limited to, any aspect of the securities business or any other
             business engaged in by the Partnership, and may become the general partner in
             other partnerships; and neither the Partnership nor any Partner shall have any
             rights in or to such independent venture or the income or profits derived
             therefrom.

      (c)    The General Partner, the Investment Manager and any affiliate or employee of
             such General Partner or Investment Manager, may hereafter render investment
             advisory services to other investors with respect to, and/or may own, purchase or
             sell, securities or other interests in property the same as or similar to those which
             the General Partner may purchase, hold or sell on behalf of the Partnership.

6.3   Applicable Law, etc. This Limited Partnership Agreement: (i) shall be binding on the
      executors, administrators, estates, heirs and legal successors of the Partners; (ii) shall be
      governed by, and construed in accordance with, the laws of the Cayman Islands; and
      (iii) may be executed in more than one counterpart with the same effect as if the parties
      executing the several counterparts had all executed one counterpart as of the day and year
      first above written; provided, however, that in the aggregate, they shall have been signed
      by all of the Partners. All pronouns and any variations thereof shall be deemed to refer to
      the masculine, feminine or neuter, singular or plural as the identity of the person may
      require. The term “gross negligence” and its cognates shall be interpreted in accordance
      with the laws of the State of Delaware.

6.4   Power of Attorney. Each of the undersigned does hereby constitute and appoint the
      General Partner, with full power of substitution, his true and lawful representative and
      attorney in-fact, in his name, place and stead to make, execute, sign and file this
      Agreement and any amendment to this Agreement authorized by the terms of this
      Agreement, and all such other instruments, documents and certificates (and any
      amendments thereto) which may from time to time be required by the laws of the
      Cayman Islands, the United States of America, or any state in which the Partnership shall
      determine to do business, or any political subdivision or agency thereof, to effectuate,
      implement and continue the valid and subsisting existence of the Partnership and to take
      any further action that the General Partner considers advisable in its sole discretion in
      connection with the exercise of its authority pursuant to this Agreement. This power of
      attorney is intended to secure an interest in property and, in addition, the obligations of
      each relevant Limited Partner under this Agreement and shall be irrevocable.

6.5   Tax Elections Under the Internal Revenue Code. The General Partner shall have the
      authority to make all tax elections and determinations on behalf of the Partnership under
      the Internal Revenue Code, the regulations promulgated thereunder or other applicable
      law to effect any elections, determinations or capital allocations.

6.6   Amendments to Partnership Agreement. The terms and provisions of this Agreement
      may be modified or amended at any time and from time to time with the consent of the
      General Partner together with the consent of a majority in interest of the Limited
      Partners, insofar as is consistent with the laws governing this Agreement.
      Notwithstanding the foregoing, the General Partner shall have the right to effect

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       amendments to this Agreement without the consent of any Limited Partner, including
       without limitation, to reflect: a change in the location of the Partnership’s principal place
       of business; a change in the registered office or registered agent; a change in the name of
       the Partnership; admission of Partners in accordance with this Agreement; a change that
       is necessary to qualify the Partnership as a limited partnership under the laws of any state
       or that is necessary or advisable in the opinion of the Tax Matters Partner to ensure that
       the Partnership will not be treated as an association taxable as a corporation for Federal
       income tax purposes; a change of the provisions relating to the management fee or other
       compensation to the Investment Manager or the General Partner so that such provisions
       conform to any applicable requirements of the U.S. Securities and Exchange Commission
       and other regulatory authorities; a change (i) that is necessary or desirable to satisfy any
       requirements, conditions or guidelines contained in any opinion, directive, order, ruling
       or regulation of any Federal or state agency or contained in any Federal or state statute,
       compliance with any of which the General Partner deems to be in the best interests of the
       Partnership and the Limited Partners, (ii) that is required or contemplated by this
       Agreement, or (iii) that is necessary or desirable to implement new regulations published
       by the Internal Revenue Service with respect to partnership allocations of income, gain,
       loss, deduction and credit; a change to cure any ambiguity, to correct or supplement any
       provision herein which may be inconsistent with any other provision herein, or to make
       any other provision with respect to the matters or questions arising under this Agreement
       which will not be inconsistent with the provisions hereof; or a change that does not
       adversely affect the Limited Partners in any material respect; provided, that in no event
       shall the General Partner effect any amendment to this Agreement that has the effect of
       giving the General Partner any economic benefits in the assets of the Partnership;
       provided further, that the General Partner shall give notice to the Limited Partners of any
       such amendment.

6.7    Investment Representation. Each Partner hereby acknowledges and represents that it
       acquired its interest in the Partnership for investment purposes only and not with a view
       to its resale or distribution.

6.8    Notices. All notices, requests or approvals that any party hereto is required or desires to
       give to any Partner or to the Partnership shall be in writing signed by or on behalf of the
       party giving the same and delivered personally or sent overnight express mail by a
       reputable private carrier or by prepaid registered or certified mail, return receipt
       requested, addressed (i) to the Limited Partner at the addresses set forth beneath his
       signature to this Agreement; (ii) to the Partnership at the principal place of business of
       the Partnership with a copy of each such notice sent simultaneously to the General
       Partner and the Investment Manager at Nextbank Tower, 13455 Noel Road, 8th Floor,
       Dallas, Texas 75240; or (iii) to the respective party at such other address or addresses as
       the party may specify from time to time in a writing given to the Partnership in the
       manner provided in this Section 6.8 of ARTICLE VI. Notice shall be deemed to have
       been duly given and received (i) on the date of delivery, if personally delivered, (ii) on
       the next business day subsequent to sending by overnight express mail as aforesaid, or
       (iii) on the third day subsequent to mailing if mailed as aforesaid; provided that any
       withdrawal notices shall not be deemed to have been given until actually received by the
       Partnership.

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6.9    General Partner Determinations. Any determinations or calculations made by the
       General Partner shall, if made in good faith and in the absence of manifest error, be
       binding upon the Partnership and its Limited Partners.

6.10   Dispute Resolution. The following procedures shall be used to resolve any controversy
       or claim (“Dispute”) arising out of, relating to or in connection with the Agreement or
       otherwise involving the Partnership, its Partners and/or any Covered Person. If any of
       these provisions are determined to be invalid or unenforceable, the remaining provisions
       shall remain in effect and binding on the parties to the fullest extent permitted by law.

       (a)    Mediation.

              (1)    Any Dispute shall be submitted to mediation by written notice to the other
                     party or parties. In the mediation process, the parties will try to resolve
                     their differences voluntarily with the aid of an impartial mediator, who
                     will attempt to facilitate negotiations. The mediator will be selected by
                     agreement of the parties. If the parties cannot agree on a mediator, a
                     mediator shall be designated by JAMS/Endispute at the request of a party
                     using, if necessary, strike and rank procedures then in effect.

              (2)    The mediation will be conducted as specified by the mediator and agreed
                     upon by the parties. The parties agree to discuss their differences in good
                     faith and to attempt, with the assistance of the mediator, to reach an
                     amicable resolution of the dispute.

              (3)    The mediation will be treated as a settlement discussion and therefore will
                     be confidential. The mediator may not testify for either party in any later
                     proceeding relating to the dispute. No recording or transcript shall be
                     made of the mediation proceedings.

              (4)    Each party will bear its own costs in the mediation. The fees and expenses
                     of the mediator will be shared equally by the parties.

       (b)    Arbitration. If a Dispute has not been resolved within 90 days after the written
              notice beginning the mediation process (or a longer period, if the parties agree to
              extend the mediation), the mediation shall terminate and the dispute will be
              settled by arbitration. A party who files a suit in court regarding a Dispute rather
              than in arbitration waives its claim and must pay all attorney’s fees and costs
              incurred by the other party in seeking to have such suit dismissed. Under no
              circumstances will a party maintain its right to pursue his/her/its Dispute if that
              party initiates a judicial suit instead of complying with the mediation and
              arbitration provisions herein. The arbitration will be conducted through
              JAMS/Endispute in accordance with the procedures in this document and the
              commercial dispute arbitration rules then in effect (“Arbitration Rules”). In the
              event of a conflict, the provisions of this document will control.

              (1)    The arbitration will be conducted before a panel of three arbitrators,
                     regardless of the size of the dispute, to be selected as provided in the
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                    Arbitration Rules. Any issue concerning the extent to which any dispute
                    is subject to arbitration, or concerning the applicability, interpretation, or
                    enforceability of these procedures, including any contention that all or part
                    of these procedures are invalid or unenforceable, shall be governed by the
                    Federal Arbitration Act (“FAA”), and resolved by the arbitrators,
                    provided, however, that the Partnership or such applicable affiliate thereof
                    may pursue a temporary restraining order and/or preliminary injunctive
                    relief in connection with confidentiality covenants or agreements binding
                    on any party, with related expedited discovery for the parties, in a court of
                    law, and, thereafter, require arbitration of all issues of final relief. Under
                    no circumstances will a state arbitration act preclude application of the
                    FAA, including any choice of law provisions in this agreement, or any
                    other agreement. No potential arbitrator may serve on the panel unless he
                    or she has agreed in writing to abide and be bound by these procedures.

             (2)    The arbitrators may not award non-monetary or equitable relief of any
                    sort. They shall have no power to award punitive damages or any other
                    damages not measured by the prevailing party’s actual damages, and the
                    parties expressly waive their right to obtain such damages in arbitration or
                    any in other forum. In no event, even if any other portion of these
                    provisions is held to be invalid or unenforceable, shall the arbitrators have
                    power to make an award or impose a remedy that could not be made or
                    imposed by a court deciding the matter in the same jurisdiction. The
                    arbitrator(s) shall be required to state in a written opinion all facts and
                    conclusions of law relied upon to support any decision rendered. Any
                    dispute over whether the arbitrator(s) has failed to comply with the
                    foregoing will be resolved by summary judgment in a court of law.

             (3)    The party initiating arbitration shall pay all arbitration costs and
                    arbitrator's fees, subject to a final arbitration award on who should bear
                    costs and fees. All proceedings shall be conducted in Dallas, Texas, or
                    another mutually agreeable site. Each party shall bear its own attorneys
                    fees, costs and expenses, including any costs of experts, witnesses and/or
                    travel, subject to a final arbitration award on who should bear costs and
                    fees. The duty to arbitrate described above shall survive the termination
                    of this Agreement. This provision is intended to supersede any rights
                    under Texas Civil Practices and Remedies Code § 38.001(8), which rights
                    the parties expressly waive.

             (4)    No discovery will be allowed in connection with the arbitration unless the
                    arbitration panel, upon a showing of substantial need, expressly authorizes
                    it. In any event, there shall be no more than (i) two party depositions of
                    six hours each. Each deposition is to be taken pursuant to the Texas Rules
                    of Civil Procedure; (ii) one non-party deposition of six hours; (iii) twenty-
                    five interrogatories; (iv) twenty-five requests for admission; (v) ten
                    requests for production. In response, the producing party shall not be
                    obligated to produce in excess of 5,000 total pages of documents. The

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                      total pages of documents shall include electronic documents; (vi) one
                      request for disclosure pursuant to the Texas Rules of Civil Procedure.
                      Any discovery not specifically provided for in this paragraph, whether to
                      parties or non-parties, shall not be permitted.

              (5)     All aspects of the arbitration shall be treated as confidential, including its
                      institution and/or settlement. Neither the parties nor the arbitrators may
                      disclose the existence, content or results of the arbitration, except as
                      necessary to comply with legal or regulatory requirements. Before
                      making any such disclosure, a party shall give written notice to all other
                      parties and shall afford such parties a reasonable opportunity to protect
                      their interests. In the event a party who recovered monies by settlement,
                      award by the arbitration panel, or otherwise in connection with the Dispute
                      violates this confidentiality term, he, she, or it shall refund all such sums
                      recovered. The parties expressly intend to waive the right to retain any
                      monies received through settlement, award by the arbitration panel, or
                      otherwise in connection with the Dispute in the event that that party
                      violates the aforementioned confidentiality term.

              (6)     The result of the arbitration will be binding on the parties, and judgment
                      on the arbitrators’ award may be entered in any court having jurisdiction.

6.11   Successors and Assigns. Subject to the limitations set forth in Section 1.11, this
       Agreement shall inure to the benefit of and be binding upon the parties and to their
       respective heirs, executors, administrators, successors and permitted assigns. For the
       avoidance of doubt, any Limited Partner who becomes a former Limited Partner shall
       remain bound to all terms and conditions of this Agreement.

6.12   Severability. Every provision of this Agreement is intended to be severable. If any term
       or provision hereof is illegal or invalid for any reason whatsoever, such term or provision
       will be enforced to the maximum extent permitted by law and, in any event, such
       illegality or invalidity shall not affect the validity of the remainder of the Agreement.

6.13   No Third Party Rights. Except for rights expressly granted hereunder to the Covered
       Persons, this Agreement is intended solely for the benefit of the parties hereto and is not
       intended to confer any benefits upon, or create any rights in favor of, any Person other
       than the parties hereto.

6.14   No Right to Partition. Each of the Partners, on behalf of themselves and their
       shareholders, partners, principals, members, successors and assigns, if any and as
       permitted hereunder, hereby specifically renounce, waive and forfeit all rights, whether
       arising under contract or statute or by operation of law, except as otherwise expressly
       provided in this Agreement, to seek, bring or maintain any action in any court of law or
       equity for partition of the Partnership or any asset of the Partnership, or any interest
       which is considered to be Partnership property, regardless of the manner in which title to
       such property may be held.


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                        SIGNATURE PAGE FOR AMENDED AND RESTATED
                       EXEMPTED LIMITED PARTNERSHIP AGREEMENT OF
                                CHARITABLE DAF FUND, LP

       IN WITNESS WHEREOF, the undersigned have executed this Amended and Restated
       Exempted Limited Partnership Agreement as a Deed effective as amongst the parties as of the
       day and year first above written.

       GENERAL PARTNER:

       CHARITABLE DAF


       By:
             James D. Dondero
             Managing Member



       Witnessed By:

       LIMITED PARTNER:

       CHARITABLE DAF HOLDCO, LTD:


       By:
             Name: Grant Scott
             Title: Director


       Witnessed By:

       INITIAL LIMITED PARTNER:

       WALKERS NOMINEES LIMITED:


       By:
             Name:
             Title:


       Witnessed by:




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                       SIGNATURE PAGE FOR AMENDED AND RESTATED
                      EXEMPTED LIMITED PARTNERSHIP AGREEMENT OF
                               CHARITABLE DAF FUND, LP

    IN WITNESS WHEREOF, the undersigned have executed this Amended and Restated
    Exempted Limited Partnership Agreement as a Deed effective as amongst the parties as of the
    day and year first above written.

    GENERAL PARTNER:

    CHARITABLE DAF GP, LLC


    By:
          James D. Dondero
          Managing Member


    Witnessed By:

    LIMITED PARTNER:

    CHARITABLE DA                OLDCO, LTD:


    By:
          Na        rant Scott
          Tit      Director


    Witnessed By: ( 14 .-Keet
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    INITIAL LIMITED PARTNER:

    WALKERS NOMINEES LIMITED:


    By:               —
          Name:     got)        / ...."4-st_
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          Title:


   Witnessed by:        Owe& a           CS    ay




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                                                                 EXHIBIT 4                                    Registration No.: 53083
                                                                                                                        Date of Incorporation: 28 October 2011
                                                                                                                                               Client No.: KY059900
                                                                    REGISTER OF MEMBERS
                                                                            FOR:
                                                                  CHARITABLE DAF FUND, LP


 Share Class:                  General Partner
 Nominal Value:                USD 0.00
 Voting Rights:                Yes

 Conditional :                 NO


                                                                                                                                                            Date Ceased
  Member                     Date Entered   Transaction        Number of                                                      %            Total Share
                                                                                  Notes                              Cert #                                 to be a
  Name & Address             as a Member    Type               Shares                                                         Paid         Holding
                                                                                                                                                            Member




  CHARITABLE DAF GP, LLC     25 Oct 2011         New Partner               1.00   25 Oct 2011 : Initial Exempted       No
  The Corporation Trust                                                           Limited Partnership Agreement       Cert
  Company                                                                         dated 25 Oct 2011
  Corporation Trust Center
  1209 Orange St                                                                                                                     Nil             1.00
  New Castle
  19801 Wilmington
  DE
  USA



 Notes:




Date printed: 19 May, 2021                                                                                         INTERTRUST CORPORATE SERVICES (CAYMAN) LIMITED

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                                      THE COMPANIES LAW (AS AMENDED)

                                           COMPANY LIMITED BY SHARES

                                             AMENDED AND RESTATED

                               MEMORANDUM AND ARTICLES OF ASSOCIATION

                                                            OF

                                  CHARITABLE DAF HOLDCO, LTD
                       (ADOPTED BY SPECIAL RESOLUTION DATED 19 JANUARY 2015)




                                            III WALKERS
                                               190 Elgin Avenue, George Town
                                            Grand Cayman 10'1-9001. Cayman Islands
                                 T +1 345 949 0100 f +1 345 949 7886 www.walkersglobal.com


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                                      THE COMPANIES LAW (AS AMENDED)

                                          COMPANY LIMITED BY SHARES

                                             AMENDED AND RESTATED

                                          MEMORANDUM OF ASSOCIATION

                                                          OF

                                  CHARITABLE DAF HOLDCO, LTD
                       (ADOPTED BY SPECIAL RESOLUTION DATED 19 JANUARY 2015)

      1.      The name of the company is Charitable DAF HoldCo, Ltd (the "Company").

      2.      The registered office of the Company will be situated at the offices of Intertrust Corporate Services
              (Cayman) Limited, 190 Elgin Avenue, George Town, Grand Cayman KY1-9005, Cayman Islands or
              at such other location as the Directors may from time to time determine.

      3.      The objects for which the Company is established are unrestricted and the Company shall have full
              power and authority to carry out any object not prohibited by any law as provided by Section 7(4) of
              the Companies Law (as amended) of the Cayman Islands (the "Law")

      4.      The Company shall have and be capable of exercising all the functions of a natural person of full
              capacity irrespective of any question of corporate benefit as provided by Section 27(2) of the Law.

      5.      The Company will not trade in the Cayman Islands with any person, firm or corporation except in
              furtherance of the business of the Company carried on outside the Cayman Islands. provided that
              nothing in this section shall be construed as to prevent the Company effecting and concluding
              contracts in the Cayman Islands, and exercising in the Cayman Islands all of its powers necessary
              for the carrying on of its business outside the Cayman Islands.

      6.      The liability of the shareholders of the Company is limited to the amount, if any, unpaid on the
              shares respectively held by them.

      7.      The capital of the Company is US$50,000.00 divided into 4,999,900 Participating Shares of a
              nominal or par value of US$0.01 each 100 Management Shares of a nominal or par value of
              US$0.01 each provided always that subject to the Law and the Articles of Association the Company
              shall have power to redeem or purchase any of its shares and to sub-divide or consolidate the said
              shares or any of them and to issue all or any part of its capital whether original, redeemed,
              increased or reduced with or without any preference, priority, special privilege or other rights or
              subject to any postponement of rights or to any conditions or restrictions whatsoever and so that
              unless the conditions of issue shall otherwise expressly provide every issue of shares whether
              stated to be ordinary, preference or otherwise shall be subject to the powers on the part of the
              Company hereinbefore provided.

      8.     The Company may exercise the power contained in Section 206 of the Law to deregister in the
             Cayman Islands and be registered by way of continuation in some other jurisdiction.




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                                      THE COMPANIES LAW (AS AMENDED)

                                           COMPANY LIMITED BY SHARES

                                            AMENDED AND RESTATED

                                            ARTICLES OF ASSOCIATION

                                                         OF

                                 CHARITABLE DAF HOLDCO, LTD
                       (ADOPTED BY SPECIAL RESOLUTION DATED 19 JANUARY 2015)

                                                     TABLE A

              The Regulations contained or incorporated in Table 'A' in the First Schedule of the Law shall not
              apply to Charitable OAF HoldCo, Ltd (the "Company") and the following Articles shall comprise the
              Articles of Association of the Company.

                                                INTERPRETATION

       1.     In these Articles the following defined terms will have the meanings ascribed to them, if not
              inconsistent with the subject or context:

              "Articles" means these articles of association of the Company, as amended or substituted from
              time to time.

              "Branch Register" means any branch Register of such category or categories of Members as the
              Company may from time to time determine.

              "Class" or "Classes" means any class or classes of Shares as may from time to time be issued by
              the Company.

              "Directors" means the directors of the Company for the time being, or as the case may be, the
              directors assembled as a board or as a committee thereof.

              "Gross Negligence" has the meaning ascribed under the laws of the State of Delaware in the
              United States.

              "Law" means the Companies Law (as amended) of the Cayman Islands.

              "Management Share" means a voting non-participating share in the capital of the Company of
              $0.01 nominal or par value, that shall be non-redeemable at the option of the holder but
              redeemable by the Company in accordance with these Articles, and issued subject to and in
              accordance with the provisions of the Law and these Articles and having the rights and being
              subject to the restrictions as provided for under these Articles with respect to such Shares.

              "Memorandum of Association" means the memorandum of association of the Company, as
              amended or substituted from time to time.




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              "Office" means the registered office of the Company as required by the Law.

              "Ordinary Resolution" means a resolution:

              (a)     passed by a simple majority of such Shareholders as, being entitled to do so, vote in
                      person or, where proxies are allowed, by proxy at a general meeting of the Company and
                      where a poll is taken regard shall be had in computing a majority to the number of votes to
                      which each Shareholder is entitled, or

              (b)     approved in writing by all of the Shareholders entitled to vote at a general meeting of the
                      Company in one or more instruments each signed by one or more of the Shareholders and
                      the effective date of the resolution so adopted shall be the date on which the instrument, or
                      the last of such instruments, if more than one, is executed.

              "paid up" means paid up as to the par value in respect of the issue of any Shares and includes
              credited as paid up.

              "Participating Share" means a non--voting, participating, non-redeemable share in the capital of
              the Company of $0.01 nominal or par value issued subject to and in accordance with the provisions
              of the Law and these Articles, and having the rights and being subject to the restrictions as provided
              for under these Articles with respect to such Share. All references to "Participating Shares" herein
              shall be deemed to be Participating Shares of any or all Classes or Series as the context may
              require. For the avoidance of doubt, in these Articles the expression "Participating Share" shall
              include a fraction of a Participating Share.

              "Person" means any natural person, firm, company, joint venture, partnership, corporation,
              association or other entity (whether or not having a separate legal personality) or any of them as the
              context so requires.

              "Principal Register", where the Company has established one or more Branch Registers pursuant
              to the Law and these Articles, means the Register maintained by the Company pursuant to the Law
              and these Articles that is not designated by the Directors as a Branch Register.

              "Register" means the register of Members of the Company required to be kept pursuant to the Law
              and includes any Branch Register(s) established by the Company in accordance with the Law.

              "Restricted Person" means any Person holding Participating Shares:

              (a)     in breach of the law or requirements of any country or governmental authority;

              (b)     that is not an entity or organisation exempt from taxation under Section 501(c)(3) of the US
                      Internal Revenue Code of 1986, as amended (the "Code") or an entity or organisation all of
                      whose beneficiaries are exempt under Section 501(c)(3) of the Code; or

              (C)     in circumstances (whether directly or indirectly affecting such Person and whether taken
                      alone or in conjunction with any other Person, connected or not, or any other
                      circumstances) which, in the opinion of the Directors, might result in the Company incurring
                      any liability to taxation or suffering any other pecuniary, legal, regulatory or administrative
                      disadvantage which the Company might not otherwise have incurred or suffered.

              "Seal" means the common seal of the Company (if adopted) including any facsimile thereof.



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              "Secretary" means any Person appointed by the Directors to perform any of the duties of the
              secretary of the Company.

              "Share" means a Management Share or Participating Share or both as the context so requires.

              "Shareholder or "Member" means a Person who is registered as the holder of Shares in the
              Register and includes each subscriber to the Memorandum of Association pending entry in the
              Register of such subscriber

              "Share Premium Account" means the share premium account established in accordance with
              these Articles and the Law.

              "signed" means bearing a signature or representation of a signature affixed by mechanical means.

              "Special Resolution" means a special resolution of the Company passed in accordance with the
              Law, being a resolution:

              (a)     passed by a majority of not less than two-thirds of such Shareholders as, being entitled to
                      do so, vote in person or, where proxies are allowed, by proxy at a general meeting of the
                      Company of which notice specifying the intention to propose the resolution as a special
                      resolution has been duly given and where a poll is taken regard shall be had in computing
                      a majority to the number of votes to which each Shareholder is entitled; or

              (b)     approved in writing by all of the Shareholders entitled to vote at a general meeting of the
                      Company in one or more instruments each signed by one or more of the Shareholders and
                      the effective date of the special resolution so adopted shall be the date on which the
                      instrument or the last of such instruments, if more than one, is executed.

              "Treasury Shares" means Shares that were previously issued but were purchased, redeemed,
              surrendered or otherwise acquired by the Company and not cancelled.

              "United States" means the United States of America (including the District of Columbia), its states,
              territories and possessions.

              In these Articles, save where the context requires otherwise:

              (a)     words importing the singular number shall include the plural number and vice versa;

              (b)     words importing the masculine gender only shall include the feminine gender and any
                      Person as the context may require;

              (c)     the word "may" shall be construed as permissive and the word "shall" shall be construed as
                      imperative;

              (d)     reference to a dollar or dollars or USD (or $) and to a cent or cents is reference to dollars
                      and cents of the United States of America;

              (e)     reference to a statutory enactment shall include reference to any amendment or
                      re-enactment thereof for the time being in force;




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             (f)     reference to any determination by the Directors shall be construed as a determination by
                     the Directors in their sole and absolute discretion and shall be applicable either generally or
                     in any particular case; and

             (g)     reference to "in writing" shall he construed as written or represented by any means
                     reproducible in writing, including any form of print, lithograph, email, facsimile, photograph
                     or telex or represented by any other substitute or format for storage or transmission for
                     writing or partly one and partly another.

      2.     Subject to the preceding Articles, any words defined in the Law shall, if not inconsistent with the
             subject or context, bear the same meaning in these Articles.

                                                   PRELIMINARY

      3.     The business of the Company may be commenced at any time after incorporation.

             The Office shall be at such address in the Cayman Islands as the Directors may from time to time
             determine The Company may in addition establish and maintain such other offices and places of
             business and agencies in such places as the Directors may from time to time determine.

      5.     The expenses incurred in the formation of the Company and in connection with the offer for
             subscription and issue of Participating Shares shall he paid by the Company. Such expenses may
             be amortised over such period as the Directors may determine and the amount so paid shall be
             charged against income and/or capital in the accounts of the Company as the Directors shall
             determine.

      6.     The Directors shall keep, or cause to be kept, the Register at such place or (subject to compliance
             with the Law and these Articles) places as the Directors may from time to time determine. In the
             absence of any such determination, the Register shall be kept at the Office. The Directors may
             keep, or cause to be kept, one or more Branch Registers as well as the Principal Register in
             accordance with the Law, provided always that a duplicate of such Branch Register(s) shall be
             maintained with the Principal Register in accordance with the Law.

                                                      SHARES

      7.     Subject to these Articles, all Shares for the time being unissued shall be under the control of the
             Directors who may:

             (a)     issue, allot arid dispose of the same to such Persons. in such manner, on such terms and
                     having such rights and being subject to such restrictions as they may from time to time
                     determine; and

             (b)     grant options with respect to such Shares and issue warrants or similar instruments with
                     respect thereto;

             and, for such purposes, the Directors may reserve an appropriate number of Shares for the time
             being unissued.

      8.     The Directors, or the Shareholders by Ordinary Resolution, may authorise the division of
             Participating Shares into any number of Classes and the different Classes shall be authorised,
             established and designated (or re-designated as the case may be) and the variations in the relative
             rights (including, without limitation, voting, dividend and redemption rights), restrictions,

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               preferences, privileges and payment obligations as between the different Classes (if any) may be
               fixed and determined by the Directors or the Shareholders by Ordinary Resolution.

       9.      The Company may insofar as may be permitted by law, pay a commission to any Person in
               consideration of his subscribing or agreeing to subscribe whether absolutely or conditionally for any
               Shares. Such commissions may be satisfied by the payment of cash or the lodgement of fully or
               partly paid-up Shares or partly in one way and partly in the other. The Company may also pay
               such brokerage as may be lawful on any issue of Shares.

       10.    The Directors may refuse to accept any application for Shares, and may accept any application in
              whole or in part, for any reason or for no reason.

                                               MANAGEMENT SHARES

       11.    The Management Shares shall be issued at par value and shall carry the right to receive notice of
              and to attend, to speak at and to vote at any general meeting of the Company. In the event of a
              winding up or dissolution of the Company, whether voluntary or involuntary or for the purposes of a
              reorganisation or otherwise or upon any distribution of capital, the entitlement of the holders of
              Management Shares shall be determined in accordance with these Articles. Management Shares
              confer no other right to participate in the profits or assets of the Company.

       12.    Any Management Shares held by Grant Scott will be automatically redeemed by the Company
              upon his death or upon the Company receiving written notice from two board certified physicians
              confirming that he is of unsound mind or otherwise incapacitated ("Automatic Redemption")

       13.    If at the time of an Automatic Redemption, Grant Scott is the sole Director of the Company, such
              office will be automatically vacated by Grant Scott.

       14.    Upon an Automatic Redemption, the Company shall issue 100 Management Shares to a successor
              management shareholder ("Successor Management Shareholder") designated by James
              Dondero ("Designator"), or, if he is unable or declines to act. by an individual or individuals
              designated by James Dondero ("Successor Designator"), in either case within 15 days of the
              Automatic Redemption. If the Designator is:

              (a)     deceased and has not named a Successor Designator, or if each named Successor
                      Designator is unable or declines to act, the designation of the Successor Management
                      Shareholder shall be made in accordance with the provisions of the Designator's will, or if
                      his will contains no such provisions, by the qualified personal representative of his estate
                      (the "Designator's Personal Representative"): or

              (b)     otherwise incapacitated and has not previously designated a Successor Designator, or if
                      each named Successor Designator is unable or declines to act, the designation of the
                      Successor Management Shareholder shall be made by the Designator's attorney-in-fact
                      appointed for such purpose, under a valid, effective power of attorney instrument (the
                      "Designator's Attorney").

       15.    Any designation of a Successor Management Shareholder must be notified to the Company in
              writing and signed by either the Designator, the Successor Designator, the Designator's Personal
              Representative, or the Designator's Attorney, as appropriate, and accompanied by a consent to
              become a Shareholder signed by the Successor Management Shareholder ("Issue Notice"). The
              issue of the 100 Management Shares to the Successor Management Shareholder shall take effect
              upon receipt by the Company of the Issue Notice and the Register will be updated accordingly.

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        16.    The Designator may name a Successor Designator (including an individual, or a series of
               individuals) at any time pursuant to a written notice delivered to the Company during his lifetime or
               by a provision in his will. Each Successor Designator upon succeeding and replacing the
               Designator or a prior Successor Designator, may in the same manner as set out above, designate
               an individual, or a series of individuals, to succeed him as Successor Designator. In the event of a
               conflict between such instruments, the one bearing the latest date shall control. A Successor
               Designator will assume such office upon consenting to so act.

        17.    The Successor Management Shareholder may not be a "disqualified person" (as that term is
               defined in Section 4946 of the United States Internal Revenue Code of 1986, as amended), other
               than a foundation manager, with respect to Highland Dallas Foundation, Inc., Highland Santa
               Barbara Foundation, Inc., or Highland Kansas City Foundation, Inc.

       18.     In connection with the appointment of the Successor Management Shareholder, the Company and
               its registered office service provider will be entitled to rely on the advice of counsel confirming that
               the designation of the Successor Management Shareholder has been made in accordance with the
               procedures set out in these Articles.

                                                PARTICIPATING SHARES

       19.     Participating Shares shall confer upon a Shareholder no right to receive notice of, to attend, to
               speak at nor to vote at general meetings of the Company but shall confer upon the Shareholders
               rights in a winding-up or repayment of capital and the right to participate in the profits or assets of
               the Company in accordance with these Articles.

                                               MODIFICATION OF RIGHTS

       20.     Whenever the capital of the Company is divided into different Classes the rights attached to any
               such Class may, subject to any rights or restrictions for the time being attached to any Class, only
               be materially adversely varied or abrogated with the consent in writing of the holders of not less
               than two-thirds of the issued Participating Shares of the relevant Class or with the sanction of a
               resolution passed at a separate meeting of the holders of the Participating Shares of such Class by
               a majority of two-thirds of the votes cast at such a meeting. To every such separate meeting all the
               provisions of these Articles relating to general meetings of the Company or to the proceedings
               thereat shall, mutatis mutandis, apply, except that the necessary quorum shall be one or more
               Persons at least holding or representing by proxy one-third in nominal or par value amount of the
               issued Participating Shares of the relevant Class (but so that if at any adjourned meeting of such
               holders a quorum as above defined is not present, those Shareholders who are present shall form
               a quorum) and that, subject to any rights or restrictions for the time being attached to the
               Participating Shares of that Class, every Shareholder of the Class shall on a poll have one vote for
               each Share of the Class held by him. For the purposes of this Article the Directors may treat all the
               Classes or any two or more Classes as forming one Class if they consider that the variation or
               abrogation of the rights attached to such Classes proposed for consideration is the same variation
               or abrogation for all such relevant Classes, but in any other case shall treat them as separate
               Classes.

       21.     The rights conferred upon the holders of the Participating Shares of any Class issued with preferred
               or other rights shall not, subject to any rights or restrictions for the time being attached to the
               Participating Shares of that Class, be deemed to be materially adversely varied or abrogated by,
               inter elle, the creation, allotment or issue of further Participating Shares ranking pari passu with or
               subsequent to them or the redemption or purchase of any Participating Shares of any Class by the
               Company.

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                                                     CERTIFICATES

       22.     No Person shall be entitled to a certificate for any or all of his Shares, unless the Directors shall
               determine otherwise.

                                                 FRACTIONAL SHARES

       23.     fhe Directors may issue fractions of a Share and, if so issued, a fraction of a Share shall be subject
              to and carry the corresponding fraction of liabilities (whether with respect to nominal or par value,
              premium, contributions, calls or otherwise), limitations, preferences, privileges, qualifications,
              restrictions, rights (including, without prejudice to the generality of the foregoing, voting and
              participation rights) and other attributes of a whole Share, If more than one fraction of a Share of the
              same Class is issued to or acquired by the same Shareholder such fractions shall be accumulated.

                                                TRANSFER OF SHARES

       24.    The instrument of transfer of any Share shall be in any usual or common form or such other form as
              the Directors may, in their absolute discretion, approve and be executed by or on behalf of the
              transferor and if in respect of a nil or partly paid up Share, or if so required by the Directors, shall
              also be executed on behalf of the transferee and shall be accompanied by the certificate (if any) of
              the Shares to which it relates and such other evidence as the Directors may reasonably require to
              show the right of the transferor to make the transfer. The transferor shall be deemed to remain a
              Shareholder until the name of the transferee is entered in the Register in respect of the relevant
              Shares.

       25.    The Directors may in their absolute discretion decline to register any transfer of Shares without
              assigning any reason therefor including any purported transfer that does not comply with applicable
              securities or tax laws.

       26     The registration of transfers may be suspended at such times and for such periods as the Directors
              may from time to time determine.

      27.     All instruments of transfer that are registered shall be retained by the Company, but any instrument
              of transfer that the Directors decline to register shall (except in any case of fraud) be returned to the
              Person depositing the same.

      28.     If it comes to the notice of the Directors that any Shares are held by a Restricted Person the
              Directors may by notice in writing require the transfer of such Shares in exercise of their powers
              under these Articles.

                                             TRANSMISSION OF SHARES

      29.     The legal personal representative of a deceased sole holder of a Share shall be the only Person
              recognised by the Company as having any title to the Share. In the case of a Share registered in
              the name of two or more holders, the survivors or survivor, or the legal personal representatives of
              the deceased holder of the Share, shall be the only Person recognised by the Company as having
              any title to the Share.

      30.     Any Person becoming entitled to a Share in consequence of the death or bankruptcy of a
              Shareholder shall upon such evidence being produced as may from time to time be required by the
              Directors, have the right either to be registered as a Shareholder in respect of the Share or, instead
              of being registered himself, to make such transfer of the Share as the deceased or bankrupt Person

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               could have made; but the Directors shall, in either case, have the same right to decline or suspend
               registration as they would have had in the case of a transfer of the Share by the deceased or
               bankrupt Person before the death or bankruptcy.

        31.    A Person becoming entitled to a Share by reason of the death or bankruptcy of a Shareholder shall
               be entitled to the same dividends and other advantages to which he would be entitled if he were the
               registered Shareholder, except that he shall not, before being registered as a Shareholder in
               respect of the Share, be entitled in respect of it to exercise any right conferred by membership in
               relation to meetings of the Company.

                                           ALTERATION OF SHARE CAPITAL

        32.    The Company may from time to time by Ordinary Resolution increase the share capital by such
               sum, to be divided into Shares of such Classes and amount, as the resolution shall prescribe.

       33.     The Company may by Ordinary Resolution:

              (a)     consolidate and divide all or any of its share capital into Shares of a larger amount than its
                      existing Shares;

              (b)     convert all or any of its paid up Shares into stock and reconvert that stock into paid up
                      Shares of any denomination;

              (c)     subdivide its existing Shares, or any of them into Shares of a smaller amount provided that
                      in the subdivision the proportion between the amount paid and the amount, if any, unpaid
                      on each reduced Share shall be the same as it was in case of the Share from which the
                      reduced Share is derived; and

              (d)     cancel any Shares that, at the date of the passing of the resolution, have not been taken or
                      agreed to be taken by any Person and diminish the amount of its share capital by the
                      amount of the Shares so cancelled.

       34     The Company may by Special Resolution reduce its share capital and any capital redemption
              reserve in any manner authonsed by law.

                           REDEMPTION, PURCHASE AND SURRENDER OF SHARES

       35.    Subject to the Law, the Company may:

              (a)     issue Shares on terms that they are to be redeemed or are liable to be redeemed at the
                      option of the Company or the Shareholder on such terms and in such manner as the
                      Directors may determine;

              (b)     purchase its own Shares (including any redeemable Shares) on such terms and in such
                      manner as the Directors may determine and agree with the Shareholder;

              (c)     make a payment in respect of the redemption or purchase of its own Shares in any manner
                      authorised by the Law, and

              (d)     accept the surrender for no consideration of any paid up Share (including any redeemable
                      Share) on such terms and in such manner as the Directors may determine.


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       36.    Any Share in respect of which notice of redemption has been given shall not be entitled to
              participate in the profits of the Company in respect of the period after the date specified as the date
              of redemption in the notice of redemption.

       37.    The redemption, purchase or surrender of any Share shall not be deemed to give rise to the
              redemption, purchase or surrender of any other Share.

       38.    The Directors may when making payments in respect of redemption or purchase of Shares, if
              authorised by the terms of issue of the Shares being redeemed or purchased or with the agreement
              of the holder of such Shares, make such payment either in cash or in specie.

                                                 TREASURY SHARES

       39     Shares that the Company purchases, redeems or acquires (by way of surrender or otherwise) may,
              at the option of the Company, be cancelled immediately or held as Treasury Shares in accordance
              with the Law. In the event that the Directors do not specify that the relevant Shares are to be held as
              Treasury Shares, such Shares shall be cancelled.

       40.    No dividend may be declared or paid, and no other distribution (whether in cash or otherwise) of the
              Company's assets (including any distribution of assets to members on a winding up) may be
              declared or paid in respect of a Treasury Share.

       41.    The Company shall be entered in the Register as the holder of the Treasury Shares provided that:

              (a)     the Company shall not be treated as a member for any purpose and shall riot exercise any
                      right in respect of the Treasury Shares, and any purported exercise of such a right shall be
                      void;

              (b)     a Treasury Share shall not be voted, directly or indirectly, at any meeting of the Company
                      and shall not be counted in determining the total number of issued shares at any given
                      time, whether for the purposes of these Articles or the Law, save that an allotment of
                      Shares as fully paid bonus shares in respect of a Treasury Share is permitted and Shares
                      allotted as fully paid bonus shares in respect of a treasury share shall be treated as
                      Treasury Shares.

       42.    Treasury Shares may be disposed of by the Company on such terms and conditions as determined
              by the Directors.

                                                GENERAL MEETINGS

       43     The Directors may, whenever they think fit. convene a general meeting of the Company.

       44     The Directors may cancel or postpone any duly convened general meeting at any time prior to such
              meeting, except for general meetings requisitioned by the Shareholders in accordance with these
              Articles, for any reason or for no reason at any time prior to the time for holding such meeting or, if
              the meeting is adjourned, the time for holding such adjourned meeting. The Directors shall give
              Shareholders notice in writing of any postponement, which postponement may be for a stated
              period of any length or indefinitely as the Directors may determine.

       45.    General meetings shall also be convened on the requisition in writing of any Shareholder or
              Shareholders entitled to attend and vote at general meetings of the Company holding at least ten
              percent of the paid up voting share capital of the Company deposited at the Office specifying the

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              objects of the meeting for a date no later than 21 days from the date of deposit of the requisition
              signed by the requisitionists, and if the Directors do not convene such meeting for a date not later
              than 45 days after the date of such deposit, the requisitionists themselves may convene the general
              meeting in the same manner, as nearly as possible, as that in which general meetings may be
              convened by the Directors, and all reasonable expenses incurred by the requisitionists as a result
              of the failure of the Directors to convene the general meeting shall be reimbursed to them by the
              Company.

       46.    It at any time there are no Directors, any two Shareholders (or if there is only one Shareholder then
              that Shareholder) entitled to vote at general meetings of the Company may convene a general
              meeting in the same manner as nearly as possible as that in which general meetings may be
              convened by the Directors.

                                            NOTICE OF GENERAL MEETINGS

       47.    At least seven dear days' notice in writing counting from the date service is deemed to take place
              as provided in these Articles specifying the place, the day and the hour of the meeting and, in case
              of special business, the general nature of that business, shall be given in the manner hereinafter
              provided or in such other manner (if any) as may be prescribed by the Company by Ordinary
              Resolution to such Persons as are, under these Articles, entitled to receive such notices from the
              Company. but with the consent of all the Shareholders entitled to receive notice of some particular
              meeting and attend and vote thereat, that meeting may be convened by such shorter notice or
              without notice and in such manner as those Shareholders may think fit.

       48.    The accidental omission to give notice of a meeting to or the non-receipt of a notice of a meeting by
              any Shareholder shall not invalidate the proceedings at any meeting.

                                     PROCEEDINGS AT GENERAL MEETINGS

       49.    All business carried out at a general meeting shall be deemed special with the exception of
              sanctioning a dividend, the consideration of the accounts, balance sheets, any report of the
              Directors or of the Company's auditors, and the fixing of the remuneration of the Company's
              auditors. No special business shall be transacted at any general meeting without the consent of all
              Shareholders entitled to receive notice of that meeting unless notice of such special business has
              been given in the notice convening that meeting.

       50.    No business shall be transacted at any general meeting unless a quorum of Shareholders is
              present at the time when the meeting proceeds to business. Save as otherwise provided by these
              Articles, one or more Shareholders holding at least a majority of the paid up voting share capital of
              the Company present in person or by proxy and entitled to vote at that meeting shall form a quorum.

       51.    If within half an hour from the time appointed for the meeting a quorum is not present, the meeting,
              if convened upon the requisition of Shareholders, shall be dissolved. In any other case it shall
              stand adjourned to the same day in the next week, at the same time and place, and if at the
              adjourned meeting a quorum is not present within half an hour from the time appointed for the
              meeting the Shareholder or Shareholders present and entitled to vote shall form a quorum.

       52     If the Directors wish to make this facility available for a specific general meeting or all general
              meetings of the Company, participation in any general meeting of the Company may be by means
              of a telephone or similar communication equipment by way of which all Persons participating in
              such meeting can communicate with each other and such participation shall be deemed to
              constitute presence in person at the meeting

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       53.     The chairman, if any, of the Directors shall preside as chairman at every general meeting of the
               Company.

       54.     If there is no such chairman, or if at any general meeting he is not present within fifteen minutes
               after the time appointed for holding the meeting or is unwilling to act as chairman, any Director or
               Person nominated by the Directors shall preside as chairman, failing which the Shareholders
               present in person or by proxy shall choose any Person present to be chairman of that meeting.

       55.     The chairman may adjourn a meeting from time to time and from place to place either:

              (a)      with the consent of any general meeting at which a quorum is present (and shall if so
                       directed by the meeting); or

              (b)      without the consent of such meeting if. in his sole opinion, he considers it necessary to do
                       so to:

                       (i)     secure the orderly conduct or proceedings of the meeting; or

                       (ii)    give all persons present in person or by proxy and having the right to speak and / or
                               vote at such meeting, the ability to do so,

              but no business shall be transacted at any adjourned meeting other than the business left
              unfinished at the meeting from which the adjournment took place. When a meeting, or adjourned
              meeting, is adjourned for fourteen days or more, notice of the adjourned meeting shall be given in
              the manner provided for the original meeting. Save as aforesaid, it shall not be necessary to give
              any notice of an adjournment or of the business to be transacted at an adjourned meeting.

       56     At any general meeting a resolution put to the vote of the meeting shall be decided on a show of
              hands, unless a poll is (before or on the declaration of the result of the show of hands) demanded
              by the chairman or one or more Shareholders present in person or by proxy entitled to vote, and
              unless a poll is so demanded, a declaration by the chairman that a resolution has, on a show of
              hands, been carried, or carried unanimously, or by a particular majority, or lost, and an entry to that
              effect in the book of the proceedings of the Company, shall be conclusive evidence of the fact,
              without proof of the number or proportion of the votes recorded in favour of, or against, that
              resolution.

       57.    If a poll is duly demanded it shall he taken in such manner as the chairman directs, and the result of
              the poll shall be deemed to be the resolution of the meeting at which the poll was demanded.

       58     In the case of an equality of voles, whether on a show of hands or on a poll, the chairman of the
              meeting at which the show of hands takes place or at which the poll is demanded, shall be entitled
              to a second or casting vote

      59.     A poll demanded on the election of a chairman of the meeting or on a question of adjournment shall
              be taken forthwith. A poll demanded on any other question shall be taken at such time as the
              chairman of the meeting directs.

                                            VOTES OF SHAREHOLDERS

      60.     On a show of hands every holder of Management Shares present in person and every Person
              representing such a Shareholder by proxy shall have one vote, and on a poll every holder of




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               Management Shares present in person and every Person representing such Shareholder by proxy
               shall be entitled to one vote in respect of each of the Management Shares held by them.

       61.    In the case of joint holders the vote of the senior who tenders a vote whether in person or by proxy
              shall be accepted to the exclusion of the votes of the other joint holders and for this purpose
              seniority shall be determined by the order in which the names stand in the Register.

       62.    A Shareholder of unsound mind, or in respect of whom an order has been made by any court
              having jurisdiction in lunacy, may vote in respect of Shares carrying the right to vote held by him,
              whether on a show of hands or on a poll, by his committee, or other Person in the nature of a
              committee appointed by that court, and any such committee or other Person, may vote in respect of
              such Shares by proxy.

       63     No Shareholder shall be entitled to vote at any general meeting of the Company unless all calls, if
              any, or other sums presently payable by him in respect of Shares carrying the right to vote held by
              him have been paid.

       64.    On a poll votes may be given either personally or by proxy.

       65.    The instrument appointing a proxy shall be in writing under the hand of the appointor or of his
              attorney duly authorised in writing or, if the appointor is a corporation, either under Seal or under
              the hand of an officer or attorney duly authorised. A proxy need not be a Shareholder.

       66.    An instrument appointing a proxy may be in any usual or common form or such other form as the
              Directors may approve.

       61.    The instrument appointing a proxy shall be deposited at the Office or at such other place as is
              specified for that purpose in the notice convening the meeting no later than the time for holding the
              meeting or, if the meeting is adjourned, the time for holding such adjourned meeting.

       68.    The instrument appointing a proxy shall be deemed to confer authority to demand or join in
              demanding a poll.

       69.    A resolution in writing signed by all the Shareholders for the time being entitled to receive notice of
              and to attend and vote at general meetings of the Company (or being corporations by their duly
              authorised representatives) shall be as valid and effective as if the same had been passed at a
              general meeting of the Company duly convened and held.

                        CORPORATIONS ACTING BY REPRESENTATIVES AT MEETINGS

       70.    Any corporation which is a Shareholder or a Director may by resolution of its directors or other
              governing body authorise such Person as it thinks fit to act as its representative at any meeting of
              the Company or of any meeting of holders of a Class or of the Directors or of a committee of
              Directors, and the Person so authorised shall be entitled to exercise the same powers on behalf of
              the corporation which he represents as that corporation could exercise if it were an individual
              Shareholder or Director.

                                                      DIRECTORS

       71.    The name(s) of the first Director(s) shall either be determined in writing by a majority (or in the case
              of a sole subscriber that subscriber) of, or elected at a meeting of, the subscribers of the
              Memorandum of Association.




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       72.     The Company may by Ordinary Resolution appoint any natural person or corporation to be a
               Director

       73.     Subject to these Articles, a Director shall hold office until such time as he is removed from office by
               Ordinary Resolution.

       74.     The Company may by Ordinary Resolution from time to time fix the maximum and minimum
               number of Directors to be appointed but unless such numbers are fixed as aforesaid the minimum
               number of Directors shall be one arid the maximum number of Directors shall be unlimited.

       75.     The remuneration of the Directors may be determined by the Directors or by Ordinary Resolution.

       76.    There shall be no shareholding qualification for Directors unless determined otherwise by Ordinary
              Resolution.

       77.    The Directors shall have power at any time and from time to time to appoint a natural person or
              corporation as a Director, either as a result of a casual vacancy or as an additional Director, subject
              to the maximum number (if any) imposed by Ordinary Resolution.

                                                ALTERNATE DIRECTOR

       78.    Any Director may in writing appoint another Person to be his alternate and, save to the extent
              provided otherwise in the form of appointment, such alternate shall have authority to sign written
              resolutions on behalf of the appointing Director, but shall not be required to sign such written
              resolutions where they have been signed by the appointing Director, and to act in such Director's
              place at any meeting of the Directors at which he is unable to be present. Every such alternate
              shall be entitled to attend and vote at meetings of the Directors as a Director when the Director
              appointing him is not personally present and where he is a Director to have a separate vote on
              behalf of the Director he is representing in addition to his own vote. A Director may at any time in
              writing revoke the appointment of an alternate appointed by him. Such alternate shall net be
              deemed to be an officer of the Company solely as a result of his appointment as an alternate. The
              remuneration of such alternate shall be payable out of the remuneration of the Director appointing
              him and the proportion thereof shall be agreed between them.

       79     Any Director may appoint any Person , whether or not a Director, to be the proxy of that Director to
              attend and vote on his behalf, in accordance with instructions given by that Director, or in the
              absence of such instructions at the discretion of the proxy, at a meeting or meetings of the Directors
              which that Director is unable to attend personally. The instrument appointing the proxy shall be in
              writing under the hand of the appointing Director and shall be in any usual or common form or such
              other form as the Directors may approve, and must be lodged with the chairman of the meeting of
              the Directors at which such proxy is to be used, or first used. prior to the commencement of the
              meeting.

                                       POWERS AND DUTIES OF DIRECTORS

       80.    Subject to the Law, these Articles and to any resolutions passed in a general meeting, the business
              of the Company shall be managed by the Directors, who may pay all expenses incurred in setting
              up and registering the Company and may exercise all powers of the Company. No resolution
              passed by the Company in general meeting shall invalidate any prior act of the Directors that would
              have been valid if that resolution had not been passed.




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       81.     The Directors may from time to time appoint any natural person or corporation , whether or not a
               Director to hold such office in the Company as the Directors may think necessary for the
               administration of the Company, including but not limited to, the office of president, one or more
               vice-presidents, treasurer, assistant treasurer, manager or controller, and for such term and at such
               remuneration (whether by way of salary or commission or participation in profits or partly in one way
               and partly in another), and with such powers and duties as the Directors may think fit. Any natural
               person or corporation so appointed by the Directors may be removed by the Directors or by the
               Company by Ordinary Resolution. The Directors may also appoint one or more of their number to
               the office of managing director upon like terms, but any such appointment shall ipso facto
               determine if any managing director ceases from any cause to be a Director, or if the Company by
               Ordinary Resolution resolves that his tenure of office be terminated.

       82      The Directors may appoint any natural person or corporation to be a Secretary (and if need be an
               assistant Secretary or assistant Secretaries) who shall hold office for such term, at such
               remuneration and upon such conditions and with such powers as they think fit. Any Secretary or
               assistant Secretary so appointed by the Directors may be removed by the Directors or by the
               Company by Ordinary Resolution.

       83.     The Directors may delegate any of their powers to committees consisting of such member or
               members of their body as they think fit; any committee so formed shall in the exercise of the powers
               so delegated conform to any regulations that may be imposed on it by the Directors.

       84.     The Directors may from time to time and at any time by power of attorney (whether under Seal or
               under hand) or otherwise appoint any company, firm or Person or body of Persons, whether
               nominated directly or indirectly by the Directors, to be the attorney or attorneys or authorised
               signatory (any such person being an "Attorney" or "Authorised Signatory", respectively) of the
               Company for such purposes and with such powers, authorities and discretion (not exceeding those
               vested in or exercisable by the Directors under these Articles) and for such period and subject to
               such conditions as they may think fit, and any such power of attorney or other appointment may
               contain such provisions for the protection and convenience of Persons dealing with any such
               Attorney or Authorised Signatory as the Directors may think fit, and may also authorise any such
               Attorney or Authorised Signatory to delegate all or any of the powers, authorities and discretion
               vested in him.

       85.     The Directors may from time to time provide for the management of the affairs of the Company in
               such manner as they shall think fit and the provisions contained in the three next following Articles
               shall not limit the general powers conferred by this Article.

       86.    The Directors from time to time and at any time may establish any committees, local boards or
              agencies for managing any of the affairs of the Company and may appoint any natural person or
              corporation to be a member of such committees or local boards and may appoint any managers or
              agents of the Company and may fix the remuneration of any such natural person or corporation.

       87.    The Directors from time to time and at any time may delegate to any such committee, local board,
              manager or agent any of the powers, authorities and discretions for the time being vested in the
              Directors and may authorise the members for the time being of any such local board, or any of them
              to fill any vacancies therein and to act notwithstanding vacancies and any such appointment or
              delegation may be made on such terms and subject to such conditions as the Directors may think fit
              and the Directors may at any time remove any natural person or corporation so appointed and may
              annul or vary any such delegation, but no Person dealing in good faith and without notice of any
              such annulment or variation shall be affected thereby.



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        88.    Any such delegates as aforesaid may be authorised by the Directors to sub-delegate all or any of
               the powers, authorities, and discretion for the time being vested in them.

                                       BORROWING POWERS OF DIRECTORS

        89.    The Directors may exercise all the powers of the Company to borrow money and to mortgage or
               charge its undertaking, property and uncalled capital or any part thereof, to issue debentures,
               debenture stock and other securities whenever money is borrowed or as security for any debt,
               liability or obligation of the Company or of any third party.

                                                        THE SEAL

       90.    The Seal shall not be affixed to any instrument except by the authority of a resolution of the
              Directors provided always that such authority may be given prior to or after the affixing of the Seal
              and if given after may be in general form confirming a number of affixings of the Seal. The Seal
              shall be affixed in the presence of a Director or a Secretary (or an assistant Secretary) or in the
              presence of any one or more Persons as the Directors may appoint for the purpose and every
              Person as aforesaid shall sign every instrument to which the Seal is so affixed in their presence.

       91.    The Company may maintain a facsimile of the Seal in such countries or places as the Directors may
              appoint and such facsimile Seal shall not be affixed to any instrument except by the authority of a
              resolution of the Directors provided always that such authority may be given prior to or after the
              affixing of such facsimile Seal and if given after may be in general form confirming a number of
              affixings of such facsimile Seal. The facsimile Seal shall be affixed in the presence of such Person
              or Persons as the Directors shall for this purpose appoint and such Person or Persons as aforesaid
              shall sign every instrument to which the facsimile Seal is so affixed in their presence and such
              affixing of the facsimile Seal and signing as aforesaid shall have the same meaning and effect as if
              the Seal had been affixed in the presence of and the instrument signed by a Director or a Secretary
              (or an assistant Secretary) or in the presence of any one or more Persons as the Directors may
              appoint for the purpose.

       92.    Notwithstanding the foregoing, a Secretary or any assistant Secretary shall have the authority to
              affix the Seal, or the facsimile Seal, to any instrument for the purposes of attesting authenticity of
              the matter contained therein but which does not create any obligation binding on the Company.

                                        DISQUALIFICATION OF DIRECTORS

       93.    The office of Director shall be vacated, if the Director:

              (a)     becomes bankrupt or makes any arrangement or composition with his creditors;

              (b)     dies or is found to be or becomes of unsound mind;

              (c)     resigns his office by notice in writing to the Company;

              (d)     is removed from office by Ordinary Resolution;

              (e)     is removed from office by notice addressed to him at his last known address and signed by
                      all of his co-Directors (not being less than two in number); or




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              (f)      is removed from office pursuant to any other provision of these Articles, including without
                       limitation, in the circumstance set out in Article 13.

                                           PROCEEDINGS OF DIRECTORS

        94.   The Directors may meet together (either within or without the Cayman Islands) for the despatch of
              business, adjourn, and otherwise regulate their meetings and proceedings as they think
              fit. Questions arising at any meeting shall be decided by a majority of votes. In case of an equality
              of votes the chairman shall have a second or casting vote. A Director may, and a Secretary or
              assistant Secretary on the requisition of a Director shall, at any time summon a meeting of the
              Directors

       95.    A Director may participate in any meeting of the Directors, or of any committee appointed by the
              Directors of which such Director is a member, by means of telephone or similar communication
              equipment by way of which all Persons participating in such meeting can communicate with each
              other and such participation shall be deemed to constitute presence in person at the meeting.

       96.    The quorum necessary for the transaction of the business of the Directors may be fixed by the
              Directors, and unless so fixed, if there he two or more Directors the quorum shall be two, and if
              there be one Director the quorum shall be one. A Director represented by proxy or by an alternate
              Director at any meeting shall be deemed to be present for the purposes of determining whether or
              not a quorum is present.

       97.    A Director who is in any way, whether directly or indirectly, interested in a contract or proposed
              contract with the Company shall declare the nature of his interest at a meeting of the Directors. A
              general notice given to the Directors by any Director to the effect that he is a member of any
              specified company or firm and is to be regarded as interested in any contract which may thereafter
              be made with that company or firm shall be deemed a sufficient declaration of interest in regard to
              any contract so made. A Director may vote in respect of any contract or proposed contract or
              arrangement notwithstanding that he may be interested therein and if he does so his vote shall be
              counted and he may be counted in the quorum at any meeting of the Directors at which any such
              contract or proposed contract or arrangement shall come before the meeting for consideration.

       98.    A Director may hold any other office or place of profit under the Company (other than the office of
              auditor) in conjunction with his office of Director for such period and on such terms (as to
              remuneration and otherwise) as the Directors may determine and no Director or intending Director
              shall be disqualified by his office from contracting with the Company either with regard to his tenure
              of any such other office or place of profit or as vendor, purchaser or otherwise, nor shall any such
              contract or arrangement entered into by or on behalf of the Company in which any Director is in any
              way interested, be liable to be avoided, nor shall any Director so contracting or being so interested
              be liable to account to the Company for any profit realised by any such contract or arrangement by
              reason of such Director holding that office or of the fiduciary relation thereby established. A
              Director, notwithstanding his interest, may be counted in the quorum present at any meeting of the
              Directors whereat he or any other Director is appointed to hold any such office or place of profit
              under the Company or whereat the terms of any such appointment are arranged and he may vote
              on any such appointment or arrangement.

       99.    Any Director may act by himself or his firm in a professional capacity for the Company, and he or his
              firm shall be entitled to remuneration for professional services as if he were not a Director; provided
              that nothing herein contained shall authorise a Director or his firm to act as auditor to the Company.




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        100.   The Directors shaft cause minutes to be made in books or loose-leaf folders provided for the
               purpose of recording:

               (a)     all appointments of officers made by the Directors;

               (b)     the names of the Directors present at each meeting of the Directors and of any committee
                       of the Directors; and

               (c)     all resolutions and proceedings at all meetings of the Company, and of the Directors and of
                       committees of Directors.

        101.   When the chairman of a meeting of the Directors signs the minutes of such meeting the same shall
               be deemed to have been duly held notwithstanding that ail the Directors have not actually come
               together or that there may have been a technical defect in the proceedings.

       102.    A resolution in writing signed by all the Directors or all the members of a committee of Directors
               entitled to receive notice of a meeting of Directors or committee of Directors, as the case may be
               (an alternate Director. subject as provided otherwise in the terms of appointment of the alternate
               Director, being entitled to sign such a resolution on behalf of his appointer), shall be as valid and
               effectual as if it had been passed at a duly called and constituted meeting of Directors or committee
               of Directors, as the case may be. When signed a resolution may consist of several documents
               each signed by one or more of the Directors or his duly appointed alternate.

       103.    The continuing Directors may act notwithstanding any vacancy in their body but If and for so long as
               their number is reduced below the number fixed by or pursuant to these Articles as the necessary
               quorum of Directors, the continuing Directors may act for the purpose of increasing the number, or
               of summoning a general meeting of the Company, but for no other purpose.

       104.    The Directors may elect a chairman of their meetings and determine the period for which he is to
               hold office but if no such chairman is elected, or if at any meeting the chairman is not present within
               fifteen minutes after the time appointed for holding the meeting, the Directors present may choose
               one of their number to be chairman of the meeting.

       105.    Subject to any regulations imposed on it by the Directors, a committee appointed by the Directors
               may elect a chairman of its meetings. If no such chairman is elected, or if at any meeting the
               chairman is not present within fifteen minutes after the time appointed for holding the meeting, the
               committee members present may choose one of their number to be chairman of the meeting.

       106.    A committee appointed by the Directors may meet and adjourn as it thinks proper. Subject to any
               regulations imposed on it by the Directors, questions arising at any meeting shall be determined by
               a majority of votes of the committee members present and in case of an equality of votes the
               chairman shall have a second or casting vote.

       107.    All acts done by any meeting of the Directors or of a committee of Directors, or by any Person
               acting as a Director, shall notwithstanding that it be afterwards discovered that there was some
               defect in the appointment of any such Director or Person acting as aforesaid, or that they or any of
               them were disqualified, be as valid as if every such Person had been duly appointed and was
               qualified to be a Director.




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                                                     DIVIDENDS

       108.   Subject to any rights and restrictions for the time being attached to any Shares, or as otherwise
              provided for in the Law and these Articles, the Directors may from time to time declare dividends
              (including interim dividends) and other distributions on Shares in issue and authorise payment of
              the same out of the funds of the Company lawfully available therefor.

       109.   Subject to any rights and restrictions for the time being attached to any Shares, the Company by
              Ordinary Resolution may declare dividends, but no dividend shall exceed the amount
              recommended by the Directors.

       110.   The Directors may, before recommending or declaring any dividend, set aside out of the funds
              legally available for distribution such sums as they think proper as a reserve or reserves which
              shall, in the absolute discretion of the Directors be applicable for meeting contingencies, or for
              equalising dividends or for any other purpose to which those funds may be properly applied and
              pending such application may in the absolute discretion of the Directors, either be employed in the
              business of the Company or be invested in such investments as the Directors may from time to time
              think fit.

       111.   Any dividend may be paid in any manner as the Directors may determine. If paid by cheque it will
              be sent through the post to the registered address of the Shareholder or Person entitled thereto, or
              in the case of joint holders, to any one of such joint holders at his registered address or to such
              Person and such address as the Shareholder or Person entitled, or such joint holders as the case
              may be, may direct. Every such cheque shall be made payable to the order of the Person to whom
              it is sent or to the order of such other Person as the Shareholder or Person entitled, or such joint
              holders as the case may be, may direct.

       112.   The Directors when paying dividends to the Shareholders in accordance with the foregoing
              provisions of these Articles may make such payment either in cash or in specie.

       113.   Subject to any rights and restrictions for the time being attached to any Participating Shares, all
              dividends shall be declared and paid in such amounts as may be declared by the Director's in their
              sole and absolute discretion without a requirement to pay such dividends on a pro-rata basis as to
              the paid-up or par value of the Shares.

       114.   If several Persons are registered as joint holders of any Share, any of them may give effectual
              receipts for any dividend or other moneys payable on or in respect of the Share.

       115.   No dividend shall bear interest against the Company.

                        ACCOUNTS, AUDIT AND ANNUAL RETURN AND DECLARATION

       116    The books of account relating to the Company's affairs shall be kept in such manner as may be
              determined from time to time by the Directors.

       117.   The books of account shall be kept at the Office, or at such other place or places as the Directors
              think fit, and shall always be open to the inspection of the Directors.

       118.   The Directors may from time to time determine whether and to what extent and at what times and
              places and under what conditions or regulations the accounts and books of the Company or any of
              them shall be open to the inspection of Shareholders not being Directors, and no Shareholder (not


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               being a Director) shall have any right of inspecting any account or book or document of the
               Company except as conferred by law or authorised by the Directors or by Ordinary Resolution.

        119.   The accounts relating to the Company's affairs shall only be audited if the Directors so determine, in
               which case the financial year end and the accounting principles will be determined by the Directors.

        120.   The Directors in each year shall prepare, or cause to be prepared, an annual return and declaration
               setting forth the particulars required by the Law and deliver a copy thereof to the Registrar of
               Companies in the Cayman Islands.

                                           CAPITALISATION OF RESERVES

       121.    Subject to the Law and these Articles, the Directors may:

               (a)     resolve to capitalise an amount standing to the credit of reserves (including a Share
                       Premium Account, capital redemption reserve and profit and loss account), whether or not
                       available for distribution;

               (b)     appropriate the sum resolved to be capitalised to the Shareholders in proportion to the
                       nominal amount of Participating Shares (whether or not fully paid) held by them
                       respectively and apply that sum on their behalf in or towards:

                       (i)     paying up the amounts (if any) for the time being unpaid on Participating Shares
                               held by them respectively; or

                      (ii)     paying up in full unissued Participating Shares or debentures of a nominal amount
                               equal to that sum,

                      and allot the Participating Shares or debentures, credited as fully paid, to the Shareholders
                      (or as they may direct) in those proportions, or partly in one way and partly in the other, but
                      the Share Premium Account, the capital redemption reserve and profits which are not
                      available for distribution may, for the purposes of this Article, only be applied in paying up
                      unissued Participating Shares to be allotted to Shareholders credited as fully paid;

               (c)    make any arrangements they think fit to resolve a difficulty arising in the distribution of a
                      capitalised reserve and in particular, without limitation, where Participating Shares or
                      debentures become distributable in fractions the Directors may deal with the fractions as
                      they think fit:

               (d)    authorise a Person to enter (on behalf of all the Shareholders concerned) into an
                      agreement with the Company providing for either:

                      (I)      the allotment to the Shareholders respectively, credited as fully paid, of
                               Participating Shares or debentures to which they may be entitled on the
                               capitalisation, or

                      (ii)    the payment by the Company on behalf of the Shareholders (by the application of
                              their respective proportions of the reserves resolved to be capitalised) of the
                              amounts or part of the amounts remaining unpaid on their existing Participating
                              Shares,



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                       and any such agreement made under this authority being effective and binding on all those
                       Shareholders; and

               (e)     generally do all acts and things required to give effect to any of the actions contemplated by
                       this Article.

                                              SHARE PREMIUM ACCOUNT

       122.   The Directors shall in accordance with the Law establish a Share Premium Account and shall carry
              to the credit of such account from time to time a sum equal to the amount or value of the premium
              paid on the issue of any Share.

       123.   There shall be debited to any Share Premium Account on the redemption or purchase of a Share
              the difference between the nominal value of such Share and the redemption or purchase price
              provided always that at the discretion of the Directors such sum may be paid out of the profits of the
              Company or, if permitted by the Law, out of capital.

                                                         NOTICES

       124.   Any notice or document may be served by the Company or by the Person entitled to give notice to
              any Shareholder either personally, or by posting it airmail or air courier service in a prepaid letter
              addressed to such Shareholder at his address as appearing in the Register, or by electronic mail to
              any electronic mail address such Shareholder may have specified in writing for the purpose of such
              service of notices, or by facsimile should the Directors deem it appropriate. In the case of joint
              holders of a Share, all notices shall be given to that one of the joint holders whose name stands first
              in the Register in respect of the joint holding, and notice so given shall be sufficient notice to all the
              joint holders.

       125.   Any Shareholder present, either personally or by proxy, at any meeting of the Company shall for all
              purposes be deemed to have received due notice of such meeting and, where requisite, of the
              purposes for which such meeting was convened.

      126.    Any notice or other document, if served by:

              (a)      post, shall be deemed to have been served five clear days after the time when the letter
                       containing the same is posted;

              (b)     facsimile, shall be deemed to have been served upon production by the transmitting
                      facsimile machine of a report confirming transmission of the facsimile in full to the facsimile
                      number of the recipient;

              (c)     recognised courier service, shall be deemed to have been served 48 hours after the time
                      when the letter containing the same is delivered to the courier service; or

              (d)     electronic mail, shall be deemed to have been served immediately upon the time of the
                      transmission by electronic mail.

              In proving service by post or courier service it shall be sufficient to prove that the letter containing
              the notice or documents was properly addressed and duly posted or delivered to the courier
              service.



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       127.   Any notice or document delivered or sent by post to or left at the registered address of any
              Shareholder in accordance with the terms of these Articles shall notwithstanding that such
              Shareholder be then dead or bankrupt, and whether or not the Company has notice of his death or
              bankruptcy, be deemed to have been duly served in respect of any Share registered in the name of
              such Shareholder as sole or joint holder, unless his name shall at the time of the service of the
              notice or document, have been removed from the Register as the holder of the Share, and such
              service shall for all purposes be deemed a sufficient service of such notice or document on all
              Persons interested (whether jointly with or as claiming through or under him) in the Share.

       128.   Notice of every general meeting of the Company shall be given to:

              (a)     all Shareholders holding Shares with the right to receive notice and who have supplied to
                      the Company an address for the giving of notices to them; and

              (b)     every Person entitled to a Share in consequence of the death or bankruptcy of a
                      Shareholder, who but for his death or bankruptcy would be entitled to receive notice of the
                      meeting.

              No other Person shall be entitled to receive notices of general meetings.

                                           NON-RECOGNITION OF TRUSTS

       129.   Subject to the proviso hereto, no Person shall be recognised by the Company as holding any Share
              upon any trust and the Company shall not, unless required by law, be bound by or be compelled in
              any way to recognise (even when having notice thereof) any equitable, contingent, future or partial
              interest in any Share or (except only as otherwise provided by these Articles or as the Law requires)
              any other right in respect of any Share except an absolute right to the entirety thereof in each
              Shareholder registered in the Register, provided that, notwithstanding the foregoing, the Company
              shall be entitled to recognise any such interests as shall be determined by the Directors.

                                                     WINDING UP

       130.   If the Company shall be wound up the liquidator shall apply the assets of the Company in such
              manner and order as he thinks fit in satisfaction of creditors' claims.

       131.   Subject to any rights and restrictions for the time being attributed to any Class or Series, the assets
              available for distribution among the Shareholders shall then be applied in the following priority:

              (a)     first, in the payment to the holders of Participating Shares and Management Shares, pan
                      passu, of a sum equal to the par value of the Participating Shares or Management Shares
                      held by them; and

              (b)     second, in the payment of any balance to holders of Participating Shares, such payment
                      being made in proportion to the number Participating Shares of the relevant Class and
                      Series held.

       132.   If the Company shall be wound up, the liquidator may, with the sanction of an Ordinary Resolution
              divide amongst the Participating Shareholders in specie or kind the whole or any part of the assets
              of the Company (whether they shall consist of property of the same kind or not) and may, for such
              purpose set such value as he deems fair upon any property to be divided as aforesaid and may
              determine how such division shall be carried out as between the Participating Shareholders or
              different Classes. The liquidator may, with the like sanction, vest the whole or any part of such




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               assets in trustees upon such trusts for the benefit of the Participating Shareholders as the
               liquidator, with the like sanction shall think fit, but so that no Shareholder shall be compelled to
               accept any assets whereon there is any liability.

                                   AMENDMENT OF ARTICLES OF ASSOCIATION

       133.    Subject to the Law and the rights attaching to the various Classes, the Company may at any time
               and from time to time by Special Resolution alter or amend these Articles in whole or in part.

                                CLOSING OF REGISTER OR FIXING RECORD DATE

       134.   For the purpose of determining those Shareholders that are entitled to receive notice of, attend or
              vote at any meeting of Shareholders or any adjournment thereof, or those Shareholders that are
              entitled to receive payment of any dividend, or in order to make a determination as to who is a
              Shareholder for any other purpose, the Directors may provide that the Register shall be closed for
              transfers for a stated period which shall not exceed in any case 40 days. If the Register shall be so
              closed for the purpose of determining those Shareholders that are entitled to receive notice of,
              attend or vote at a meeting of Shareholders the Register shall be so closed for at least ten days
              immediately preceding such meeting and the record date for such determination shall be the date
              of the closure of the Register.

       135.   In lieu of or apart from closing the Register, the Directors may fix in advance a date as the record
              date for any such determination of those Shareholders that are entitled to receive notice of, attend
              or vote at a meeting of the Shareholders and for the purpose of determining those Shareholders
              that are entitled to receive payment of any dividend the Directors may, at or within 90 days prior to
              the date of declaration of such dividend, fix a subsequent date as the record date for such
              determination.

       136.   If the Register is not so closed and no record date is fixed for the determination of those
              Shareholders entitled to receive notice of, attend or vote at a meeting of Shareholders or those
              Shareholders that are entitled to receive payment of a dividend, the date on which notice of the
              meeting is posted or the date on which the resolution of the Directors declaring such dividend is
              adopted, as the case may be, shall be the record date for such determination of Shareholders.
              When a determination of those Shareholders that are entitled to receive notice of, attend or vote at
              a meeting of Shareholders has been made as provided in this Article, such determination shall
              apply to any adjournment thereof.

                                   REGISTRATION BY WAY OF CONTINUATION

       137.   The Company may by Special Resolution resolve to be registered by way of continuation in a
              jurisdiction outside the Cayman Islands or such other jurisdiction in which it is for the time being
              incorporated, registered or existing. In furtherance of a resolution adopted pursuant to this Article,
              the Directors may cause an application to be made to the Registrar of Companies to deregister the
              Company in the Cayman Islands or such other jurisdiction in which it is for the time being
              incorporated, registered or existing and may cause all such further steps as they consider
              appropriate to be taken to effect the transfer by way of continuation of the Company.

                                           MERGERS AND CONSOLIDATION

       138.   The Company may by Special Resolution resolve to merge or consolidate the Company in
              accordance with the Law.




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                                                      DISCLOSURE

        139.   The Directors, or any authorised service providers (including the officers, the Secretary and the
               registered office agent of the Company), shall be entitled to disclose to any regulatory or judicial
               authority, or to any stock exchange on which the Shares or any Class or Series may from time to
               time be listed, any information regarding the affairs of the Company including, without limitation,
               information contained in the Register and books of the Company.

                                                        INDEMNITY

        140.   To the fullest extent permitted by law, no Director, Secretary, Assistant Secretary, committee
               member or other officer for the time being and from time to time of the Company (each, a "Covered
               Person" and collectively, "Covered Persons") shall be liable to the Company or anyone for any
               reason whatsoever (including but not limited to (i) any act or omission by any Covered Person in
               connection with the conduct of the business of the Company, that is determined by such Covered
               Person in good faith to be in or not opposed to the best interests of the Company, (ii) any act or
               omission by any Covered Person based on the suggestions of any professional advisor of the
               Company whom such Covered Person believes is authorized to make such suggestions on behalf
               of the Company, (iii) any act or omission by the Company, or (iv) any mistake, negligence,
               misconduct or bad faith of any broker or other agent of the Company selected by Covered Person
               with reasonable care), unless any act or omission by such Covered Person constitutes willful
               misconduct or Gross Negligence by such Covered Person (as determined by a non-appealable
               judgment of a court of competent jurisdiction).

       141.    Covered Person may consult with legal counsel or accountants selected by such Covered Person
               and any act or omission by such Covered Person on behalf of the Company or in furtherance of the
               business of the Company in good faith in reliance on and in accordance with the advice of such
               counsel or accountants shall be full justification for the act or omission, and such Covered Person
               shall be fully protected in so acting or omitting to act if the counsel or accountants were selected
               with reasonable care.

       142.    To the fullest extent permitted by law, the Company shall indemnify and save harmless Covered
               Persons (the "Indemnitees"), from and against any and all claims, liabilities, damages, losses,
               costs and expenses, including amounts paid in satisfaction of judgments, in compromises and
               settlements, as fines and penalties and legal or other costs and expenses of investigating or
               defending against any claim or alleged claim, of any nature whatsoever, known or unknown,
               liquidated or unliquidated, that are incurred by any Indemnitee and arise out of or in connection with
               the business of the Company, any investment made, or the performance by the lndemnitee of
               Covered Person's responsibilities hereunder and against all taxes, charges, duties or levies
               incurred by such Covered Person or any Indemnitee in connection with the Company, provided that
               an Indemnitee shall not be entitled to indemnification hereunder to the extent the lndemnitee's
               conduct constitutes willful misconduct or Gross Negligence (as determined by a non-appealable
               judgment of a court of competent jurisdiction). The termination of any proceeding by settlement,
               judgment, order or upon a plea of nob contendere or its equivalent shall not, of itself, create a
               presumption that the lndemnitee's conduct constituted willful misconduct or Gross Negligence.

       143.    Expenses incurred by an lndemnitee in defense or settlement of any claim that shall be subject to a
               right of indemnification hereunder, shall be advanced by the Company prior to the final disposition
               thereof upon receipt of an undertaking by or on behalf of the Indemnitee to repay the amount
               advanced to the extent that it shall be determined ultimately that the lndemnitee is not entitled to be
               indemnified hereunder.




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      144    The right of any Indemnitee to the indemnification provided herein shall be cumulative of, and in
             addition to, any and all rights to which the Indemnitee may otherwise be entitled by contract or as a
             matter of law or equity and shall be extended to the Indemnitee's successors, assigns and legal
             representatives.

                                               DISPUTE RESOLUTION

      145    The following procedures shall be used to resolve any controversy or claim ("Dispute') arising out
             of, relating to or in connection with these Articles or otherwise involving the Company, its
             Shareholders and/or any Covered Person. If any of these provisions are determined to he invalid
             or unenforceable, the remaining provisions shall remain in effect and binding on the parties to the
             fullest extent permitted by law.

             (a)     Mediation:

                     (i)      any Dispute shall be submitted to mediation by written notice to the other party or
                              parties. In the mediation process, the parties will try to resolve their differences
                              voluntarily with the aid of an impartial mediator, who will attempt to facilitate
                              negotiations. The mediator will be selected by agreement of the parties. If the
                              parties cannot agree on a mediator, a mediator shall be designated by
                              JAMS/Endispute at the request of a party using, if necessary, strike and rank
                              procedures then in effect;

                     (ii)     the mediation will be conducted as specified by the mediator and agreed upon by
                              the parties. The parties agree to discuss their differences in good faith and to
                              attempt, with the assistance of the mediator, to reach an amicable resolution of the
                              dispute,

                     (iii)    the mediation will be treated as a settlement discussion and therefore will be
                              confidential. The mediator may not testify for either party in any later proceeding
                              relating to the dispute. No recording or transcript shall be made of the mediation
                              proceedings; and

                     (iv)     each party will bear its own costs in the mediation. The fees and expenses of the
                              mediator will be shared equally by the parties,

             (b)     Arbitration:

                     if a Dispute has not been resolved within 90 days after the written notice beginning the
                     mediation process (or a longer period, if the parties agree to extend the mediation), the
                     mediation shall terminate and the dispute will be settled by arbitration. A party who files a
                     suit in court regarding a Dispute rather than in arbitration waives its claim and must pay all
                     attorney's fees and costs incurred by the other party in seeking to have such suit
                     dismissed. Under no circumstances will a party maintain its right to pursue his/her/its
                     Dispute if that party initiates a judicial suit instead of complying with the mediation and
                     arbitration provisions herein. The arbitration will be conducted through JAMS/Endispute
                     in accordance with the procedures in these Articles and the commercial dispute arbitration
                     rules then in effect ('Arbitration Rules"). In the event of a conflict, the provisions of these
                     Articles will control:

                     (i)     the arbitration will be conducted before a panel of three arbitrators, regardless of
                             the size of the dispute, to be selected as provided in the Arbitration Rules. Any




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                               issue concerning the extent to which any dispute is subject to arbitration, or
                               concerning the applicability, interpretation, or enforceability of these procedures,
                               including any contention that all or part of these procedures are invalid or
                               unenforceable, shall be governed by the United States Federal Arbitration Act
                               ("FAA"), and resolved by the arbitrators, provided, however, that the Company or
                               such applicable affiliate thereof may pursue a temporary restraining order and/or
                               preliminary injunctive relief in connection with confidentiality covenants or
                               agreements binding on any party, with related expedited discovery for the parties,
                               in a court of law, and, thereafter, require arbitration of all issues of final relief.
                               Under no circumstances will a State arbitration act of the United States preclude
                               application of the FAA, including any choice of law provisions in this agreement, or
                               any other agreement. No potential arbitrator may serve on the panel unless he or
                               she has agreed in writing to abide and be bound by these procedures;

                       (ii)    the arbitrators may not award non-monetary or equitable relief of any sort. They
                               shall have no power to award punitive damages or any other damages not
                               measured by the prevailing party's actual damages, and the parties expressly
                               waive their right to obtain such damages in arbitration or any in other forum. In no
                               event, even if any other portion of these provisions is held to be invalid or
                               unenforceable, shall the arbitrators have power to make an award or impose a
                               remedy that could not be made or imposed by a court deciding the matter in the
                               same jurisdiction. The arbitrator(s) shall be required to state in a written opinion all
                               facts and conclusions of law relied upon to support any decision rendered. Any
                               dispute over whether the arbitrator(s) has failed to comply with the foregoing will be
                               resolved by summary judgment in a court of law;

                       (iii)   the party initiating arbitration shall pay all arbitration costs and arbitrator's fees,
                               subject to a final arbitration award on who should bear costs and fees. All
                               proceedings shall be conducted in Dallas, Texas, or another mutually agreeable
                               site. Each party shall bear its own attorneys fees, costs and expenses, including
                               any costs of experts, witnesses and/or travel, subject to a final arbitration award on
                               who should bear costs and fees. This provision is intended to supersede any rights
                               under Texas Civil Practices and Remedies Code § 38.001(8), which rights the
                               parties expressly waive;

                       (iv)    no discovery will be allowed in connection with the arbitration unless the arbitration
                               panel, upon a showing of substantial need, expressly authorizes it. In any event,
                               there shall be no more than (i) two party depositions of six hours each. Each
                               deposition is to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one
                               non-party deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five
                               requests for admission; (v) ten requests for production. In response, the
                               producing party shall not be obligated to produce in excess of 5,000 total pages of
                               documents. The total pages of documents shall include electronic documents;
                               (vi) one request for disclosure pursuant to the Texas Rules of Civil Procedure.
                               Any discovery not specifically provided for in this paragraph, whether to parties or
                               non-parties, shall not be permitted;

                       (v)     all aspects of the arbitration shall be treated as confidential, including its institution
                               and/or settlement. Neither the parties nor the arbitrators may disclose the
                               existence, content or results of the arbitration, except as necessary to comply with
                               legal or regulatory requirements. Before making any such disclosure, a party
                               shall give written notice to all other parties and shall afford such parties a


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                                 reasonable opportunity to protect their interests. In the event a party who
                                 recovered monies by settlement, award by the arbitration panel, or otherwise in
                                 connection with the Dispute violates this confidentiality term, he, she, or it shall
                                 refund all such sums recovered. The parties expressly intend to waive the right to
                                 retain any monies received through settlement, award by the arbitration panel, or
                                 otherwise in connection with the Dispute in the event that that party violates the
                                 aforementioned confidentiality term; and

                        (vi)     the result of the arbitration will be binding on the parties, and judgment on the
                                 arbitrators' award may be entered in any court having jurisdiction.




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                                                                                                                                                                                  PATRICK_000017
                                                                                                                                                 Registration No.: 263805
          intertrust                                                                                                         Date of Incorporation: 27 October 2011
          GROUP
                                                                                                                                                    Client No.: KY059904
                                                                 REGISTER OF MEMBERS
                                                                         FOR:
                                                              CHARITABLE DAF HOLDCO, LTD


 Share Class:                    Management
Nominal Value:                   USD 0.01
 Voting Rights:                  Yes

 Conditional:                    NO


                                                                                                                                                                    Date Ceased
  Member                       Date Entered   Transaction     Number of                                                            %            Total Share
                                                                                     Notes                                Cert #                                    to be a
  Name & Address               as a Member    Type            Shares                                                               Paid         Holding
                                                                                                                                                                    Member




  Grant Scott                  7 Nov 2011        Al lotment                100.00    7 Nov 2011 : Al lotment of 100.0       No
  Highland Capital                                                                   Management share(s) for               Cert
  Managment, L.P.                                                                    USD0.01 / share to Mr. Grant
  13455 Noel Road, Suite 800                                                         Scott pursuant to
  Dallas                                                                             minutes/resolutions dated 07 Nov
  Texas 75240                                                                        2011
  USA
                                                 Transfer                 (100.00)   25 Mar 2021 : Transfer of 100.0
                                                                                     Management share(s)from Mr.
                                                                                     Grant Scott to Mark E. Patrick
                                                                                     pursuant to resolutions dated 25
                                                                                     Mar 2021

                                                                                                                                          Nil                 Nil   25 Mar 2021

  WNL Limited                  7 Nov 2011        Allotment                   1.00    7 Nov 2011 : Allotment of 1.0          No
  Walkers Corporate Services                                                         Management share(s) for               Cert
  Limited                                                                            USD0.01 / share to WNL Limited
  Walker House                                                                       pursuant to minutes/resolutions
  87 Mary Street                                                                     dated 07 Nov 2011
  George Town
  Grand Cayman KY1-9005                         Repurchase                  (1.00)   7 Nov 2011 : Repurchase of 1.0         No
  Cayman Islands                                                                     Management share(s) from WNL          Cert
                                                                                     Limited pursuant to resolutions




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                                                                                                                                                          PATRICK_000018
                                                                                                                            Registration No.: 263805
          intertrust                                                                                          Date of Incorporation: 27 October 2011
          GROUP
                                                                                                                               Client No.: KYO 59904
                                                         REGISTER OF MEMBERS
                                                                 FOR:
                                                      CHARITABLE DAF HOLDCO, LTD

                                                                      dated 07 Nov 2011.



                                                                                                                      Nil            Nil   7 Nov 2011

  Mark E. Patrick            25 Mar 2021   Transfer          100.00   25 Mar 2021 : Transferor 100.0         No
                                                                      Management share(s) from Mr.          Cert
                                                                      Grant Scott to Mark E. Patrick
                                                                      pursuant to resolutions dated 25
                                                                      Mar 2021

                                                                                                                      100         100.00



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                                                                                                                                                                           PATRICK_000019
          intertrust                                                                                                                          Registration No.: 263805

           GROUP                                                                                                                Date of Incorporation: 27 October 2011

                                                                                                                                                 Client No.: KY059904
                                                                    REGISTER OF MEMBERS
                                                                            FOR:
                                                               CHARITABLE DAF HOLDCO, LTD


 Share Class:                  Participating
 Nominal Value:                USD 0.01
 Voting Rights:                Yes

 Conditional:                  NO


  Member                     Date Entered      Transaction     Number of                                                                                   Date Ceased
                                                                                                                                     0/0    Total Share
  Name E. Address            as a Member       Type                                   Notes                                 Cert #                         to be a
                                                               Shares                                                                Paid   Holding
                                                                                                                                                           Member



  The Highland Capital       7 Nov 2011           Allotment                 300.00    7 Nov 2011 : Al lotment of 300.0        No
  Management Partners                                                                 Participating share(s) for             Cert
  Charitable Trust #2                                                                 USD0.01 / share to The Highland
  Highland Capital                                                                    Capital Management Partners
  Management, L.P.                                                                    Charitable Trust #2 pursuant to
  13455 Noel Rd, Suite 800                                                            minutes/resolutions dated 07 Nov
  Dallas                                                                              2011
  TX 75240
  USA                                             Transfer                 (100.00)   30 Nov 2011 : Transfer of 100.0
                                                                                      Participating share(s) from The
                                                                                      Highland Capital Management
                                                                                      Partners Charitable Trust #2 to
                                                                                      Highland Kansas City Foundation,
                                                                                      Inc pursuant to resolutions dated
                                                                                      30 Nov 2011
                                                   New                      200.00    30 Nov 2011 : New certificate No.       No
                                                 Certificate                          0 issued for remaining balance of      Cert
                                                                                      200.0 Participating share(s)

                                                  Transfer                 (100.00)   30 Nov 2011 : Transfer of 100.0
                                                                                      Participating share(s) from The
                                                                                      Highland Capital Management
                                                                                      Partners Charitable Trust #2 to
                                                                                      Highland Dal las Foundation, Inc




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                                                                                                                                 Registration No.: 263805
          intertrust
WNW GROUP                                                                                                          Date of Incorporation: 27 October 2011
                                                                                                                                    Client No.: KY059904
                                                            REGISTER OF MEMBERS
                                                                    FOR:
                                                         CHARITABLE DAF HOLDCO, LTD

                                                                          pursuant to resolutions dated 30
                                                                          Nov 2011

                                             New                100.00    30 Nov 2011 : New certificate No.       No
                                           Certificate                    0 issued for remaining balance of      Cert
                                                                          100.0 Participating share(s)

                                            Transfer           (100.00)   30 Nov 2011 : Transfer of 100.0
                                                                          Participating share(s) from The
                                                                          Highland Capital Management
                                                                          Partners Charitable Trust #2 to
                                                                          Highland Santa Barbara
                                                                          Foundation, Inc pursuant to
                                                                          resolutions dated 30 Nov 2011

                                                                                                                           Nil            Nil   30 Nov 2011

  Highland Kansas City       30 Nov 2011    Transfer            100.00    30 Nov 2011 : Transfer of 100.0         No
  Foundation, Inc                                                         Participating share(s) from The        Cert
                                                                          Highland Capital Management
                                                                          Partners Charitable Trust #2 to
                                                                          Highland Kansas City Foundation,
                                                                          Inc pursuant to resolutions dated
                                                                          30 Nov 2011

                                                                                                                           100         100.00

  Highland Dallas            30 Nov 2011    Transfer            100.00    30 Nov 2011 : Transfer of 100.0         No
  Foundation, Inc                                                         Participating share(s) from The        Cert
                                                                          Highland Capital Management
                                                                          Partners Charitable Trust #2 to
                                                                          Highland Dal las Foundation, Inc
                                                                          pursuant to resolutions dated 30
                                                                          Nov 2011

                                                                                                                           100         100.00

  Highland Santa Barbara     30 Nov 2011    Transfer            100.00    30 Nov 2011 : Transfer of 100.0         No
  Foundation, Inc                                                         Participating share(s) from The        Cert
                                                                          Highland Capital Management




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                                                                                                                                                                PATRICK_000021
                                                                                                                                  Registration No.: 263805
          intertrust                                                                                                Date of Incorporation: 27 October 2011
          GROUP
                                                                                                                                     Client No.: KY059904
                                                             REGISTER OF MEMBERS
                                                                     FOR:
                                                          CHARITABLE DAF HOLDCO, LTD

                                                                          Partners Charitable Trust #2 to
                                                                          Highland Santa Barbara
                                                                          Foundation, Inc pursuant to
                                                                          resolutions dated 30 Nov 2011

                                                                                                                            100         100.00

  Community Foundation of      13 Aug 2015   Al lotment            5.00   13 Aug 2015: Allotment of 5.0            No
  North Texas ("CFNT"), for                                               Participating share(s) for              Cert
  the Highland Capital                                                    USD0.01 / share to Community
  Management, L.P.                                                        Foundation of North Texas
  Charitable Fund at CFNT                                                 ("CFNT"), for the Highland Capital
  306 W. 7th St., Suite 1045                                              Management, L.P. Charitable
  Fort Worth                                                              Fund at CFNT pursuant to
  TX 76102                                                                minutes/resolutions dated 12 Aug
  USA                                                                     2015

                                                                                                                            100           5.00



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                                      Delaware                                          PAGE       I


                                                 The First State

               I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

        DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

        COPY OF THE CERTIFICATE OF FORMATION OF "CHARITABLE DAF GP,

        LLC", FILED IN THIS OFFICE ON THE TWENTY—FIFTH DAY OF OCTOBER,

        A.D. 2011, AT 11:23 O'CLOCK A.M.




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                                                                      Jeffrey W. Bullock, Secretary of State
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     Secretary of State
  Division of Corporations
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                                                 CERTIFICATE OF FORMATION
                                                              OF
                                                  CHARITABLE DAF GP, LLC



                      The undersigned hereby executes this Certificate of Formation of Charitable DAF GP,
               LLC (the "Company"), for the purpose of forming a limited liability company pursuant to the
               Delaware Limited Liability Company Act.

                        1.      The name of the Company is Charitable DAF GP, LLC.

                       2.       The address of the registered office of the Company in the State of Delaware is
                                Corporation Trust Center, 1209 Orange Street, Wilmington, County of New
                                Castle, State of Delaware 19901. Its registered agent at such address is The
                                Corporation Trust Company.


                       IN WITNESS WHEREOF, the undersigned, an authorized mrson of the Company, has
               caused this Certificate of Formation to be duly executed as of them day of October, 2011.




                                                                           . Seevers, Jr.
                                                                     uthorized Person




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                    ASSIGNMENT AND ASSUMPTION OF MEMBERSHIP INTEREST AGREEMENT

              THIS ASSIGNMENT AND ASSUMPTION OF MEMBERSHIP INTEREST AGREEMENT (this
       "Agreement") is made and entered into as of the I/ day of March, 2021, by and between Grant J. Scott (the
       "Assignor") and Mark E. Patrick,

                 WHEREAS, Assignor is the legal and beneficial owner of one hundred percent (100%) of the limited
       liability company interest (the "Membership Interest") in Charitable DAF GP, EEC, a Delaware limited liability
       company (the "Company"), and Assignor desires to assign the Membership Interest to Assignee, upon the terms
       and conditions set forth herein; and

                 WHEREAS, Assignee desires to accept an assignment of the Membership Interest (such right, title and
      • interest in and to the Membership Interest, together with, if any: (i) Assignor's capital account, (ii) the Assignor's
        rights in and to specific Company property, (iii) Assignor's rights to participate in the management of the
        Company, (iv) Assignor's rights to distributions, reimbursements or other payments (including any distributions of
        cash flow which have not been distributed), (v) rights to profits, losses and other allocations, and (vi) all other
        rights and benefits of Assignor in the Company with respect to the Membership Interest assigned hereby to
        Assignee being herein sometimes collectively referred to as the "Assigned Interest").

             NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which is hereby
       acknowledged, the parties hereto do hereby agree as follows:

       1.       Assignment and Assumption of Assigned Interest. Assignor does hereby unconditionally and irrevocably
       assign, transfer, set over and deliver unto the Assignee, its successors and assigns, the Assigned Interest,
       including, but not limited to the profits, losses, capital and cash flow, if any, allocable to the Assigned Interest,
       free and clear of any and all liens, security interests, encumbrances, claims, rights of another, rights of first
       refusal, covenants, conditions, reservations and any and all other restrictions. Assignee does hereby accept the
       Assigned Interest and agrees to be bound by and assume all obligations under the limited liability company
       agreement of the Company.

       2.    Substitute Member, Assignor hereby acknowledges that Assignee is hereby admitted as a substitute
       member of the Company with respect to the Membership Interest from and after the date hereof as a result of this
       Agreement.

       3.      Effective Date. This Agreement is effective as of the date first above mentioned.

       4.       Counterparts. This Agreement may be executed in any number of counterparts with the same effect as if
       all parties hereto had signed the same document. All counterparts shall be construed together and shall constitute
       one Agreement. This Agreement and any signed agreement or instrument entered into in connection with this
       Agreement or contemplated hereby, and any amendments hereto or thereto, to the extent signed and delivered by
       means of a facsimile machine, PI)F or other electronic means, shall be treated in all manner and respects as an
       original agreement or instrument and shall he considered to have the same binding legal effect as if it were the
       original signed version thereof delivered in person.




                IN WITNESS WHEREOF, the parties have executed this Agreement as of the date first above written.




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      ASSIG


      Name:     rant J. Scott



      ASSIGNEE:


      Name: Mark E. Patrick




                               [Signature Page for Assignment of Membership Interest Agreement]




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    INTERNAL REVENUE SERVICE
    CINCINNATI OH    45999-0023

                                                          Date of this notice:   12-02-2011

                                                          Employer Identification Number:
                                                                2008

                                                          Form:   SS-4

                                                          Number of this notice:   CP 575 E
         HIGHLAND SANTA BARBARA FOUNDATION
         INC
         13455 NOEL RD STE 800                            For assistance you may call us at:
         DALLAS, TX 75240                                 1-800-829-4933


                                                          IF YOU WRITE, ATTACH THE
                                                          STUB AT THE END OF THIS NOTICE.




                 WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

       Thank you for applying for an Employer Identification Number (EIN). We assigned you
  EIN       2008. This EIN will identify you, your business accounts, tax returns, and
  documents, even if you have no employees. Please keep this notice in your permanent
  records.

       When filing tax documents, payments, and related correspondence, it is very important
  that you use your EIN and complete name and address exactly as shown above. Any variation
  may cause a delay in processing, result in incorrect information in your account, or even
  cause you to be assigned more than one EIN. If the information is not correct as shown
  above, please make the correction using the attached tear off stub and return it to us.

       Assigning an EIN does not grant tax-exempt status to non-profit organizations.
  Publication 557, Tax Exempt Status for Your Organization, has details on the
  application process, as well as information on returns you may need to file. To apply
  for formal recognition of tax-exempt status, most organizations will need to complete
  either Form 1023, Application for Recognition of Exemption Under Section 501(c)(3) of
  the Internal Revenue Code, or Form 1024, Application for Recognition of Exemption
  Under Section 501(a). Submit the completed form, all applicable attachments, and the
  required user fee to:

  Internal Revenue Service
  PO Box 12192
  Covington, KY 41012-0192

       The Pension Protection Act of 2006 contains numerous changes to the tax law
  provisions affecting tax-exempt organizations, including an annual electronic
  notification requirement (Form 990-N) for organizations not required to file an annual
  information return (Form 990 or Form 990-EZ). Additionally, if you are required to
  file an annual information return, you may be required to file it electronically.
  Please refer to the Charities & Non-Profits page at www.irs.gov for the most current
  information on your filing requirements and on provisions of the Pension Protection
  Act of 2006 that may affect you.

       To obtain tax forms and publications, including those referenced in this notice,
  visit our Web site at www.irs.gov. If you do not have access to the Internet, call
  1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.
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     IMPORTANT REMINDERS:

          *   Keep a copy of this notice in your permanent records. This notice is issued only
              one time and the IRS will not be able to generate a duplicate copy for you.

          *   Use this EIN and your name exactly as they appear at the top of this notice on all
              your federal tax forms.

          *   Refer to this EIN on your tax-related correspondence and documents.

          *   Provide future officers of your organization with a copy of this notice.

          If you have questions about your EIN, you can call us at the phone number or write to
     us at the address shown at the top of this notice. If you write, please tear off the stub
     at the bottom of this notice and send it along with your letter. If you do not need to
     write us, do not complete and return the stub. Thank you for your cooperation.




                               Keep this part for your records.          CP 575 E (Rev. 7-2007)

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       Return this part with any correspondence
       so we may identify your account. Please                                       CP 575 E
       correct any errors in your name or address.
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       Your Telephone Number   Best Time to Call   DATE OF THIS NOTICE: 12-02-2011
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                      July 9, 2021

                      Honorable Stacy G. C. Jernigan
                      United States Bankruptcy Judge
                      Northern District of Texas

                      Re:     Highland Dallas Foundation, Inc.

                      Dear Judge Jernigan:

                      The Santa Barbara Foundation (“SBF”) is a community foundation incorporated in
                      1928 under the laws of the state of California as a nonprofit corporation to enrich the
                      lives of the people of Santa Barbara County through philanthropy. The mission of SBF
                      is to mobilize collective wisdom and philanthropic capital to build empathetic,
                      inclusive, and resilient communities. Working in partnership with individuals, families,
                      community organizations, nonprofits, businesses, and government, SBF funds a wide
                      range of initiatives, projects, and organizations. SBF has supported nearly every Santa
                      Barbara County nonprofit organization and essential community project during its 93-
                      year history and continues to serve as one of the largest private funding sources for
                      area nonprofits, agencies, and college-bound students.

                      In 2020, SBF awarded $31 million in grants, received $36 million in contributions, and
                      had $514 million in assets. Nonprofit support included annual grant programs
                      (behavioral health, health care, food, shelter & safety, and child care), laying the
                      groundwork for workforce development strategies, and creating the Collaboration for
                      Social Impact to help nonprofits with capacity building and leadership development.
                      Additionally, SBF co-organized and co-led the countywide COVID-19 Joint Response
                      Effort, broadened its grantmaking to include small businesses through the Santa
                      Barbara Better Together Fund, co-led the 2020 census efforts with the County of
                      Santa Barbara, sponsored and produced educational events to promote diversity,
                      equity, inclusion and access, and continued its annual funding of the Scholarship
                      Foundation of Santa Barbara. Grants are made through SBF from various types of
                      funds, including donor advised, donor designated, and field of interest. Discretionary
                      grants, totaling over $7 million in 2020, are also supported by SBF’s unrestricted
                      contributions and investment income.

                      Supporting Organizations

                      SBF works with entities organized under Section 509(a)(3) of the Internal Revenue
                      Code as supporting organizations to SBF for the specific and primary purpose of
                      benefiting, performing functions of, and engaging in activities consistent with SBF’s
                      charitable purposes. SBF appoints a majority of the members of the governing boards
                      of the supporting organizations. Each governing board may create its own investment
                      policy and grant guidelines. Each organization is a separate legal entity required to file
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  its own IRS Form 990, “Return of Organization Exempt from Income Tax”. SBF and its supporting organizations
  are considered under SBF’s control and thus consolidated in SBF’s audited financial statements.

  Overview of Highland Santa Barbara Foundation, Inc.

  Highland Santa Barbara Foundation, Inc. (HSBF) was formed in November 2011 as a Delaware nonprofit
  nonstock corporation to operate exclusively for the benefit of, to perform the functions of, or carry out the
  purposes of SBF. HSBF is a Type I supporting organization under Section 509(a)(3) of the Internal Revenue
  Code. SBF is a supported organization under Section 509(a)(1) of the Internal Revenue Code.

  The Bylaws of HSBF describe the governance of HSBF by its members, directors, and officers. HSBF has two
  classes of members, institutional and individual, and one member in each class. SBF is the institutional
  member. James Dondero is the individual member. HSBF has three directors, two elected by SBF and one
  elected by James Dondero. The president, secretary, and any other officers of HSBF are elected by the three
  directors.

  SBF and HSBF have an operating agreement whereby SBF provides grant administration and other services to
  HSBF and HSBF pays support fees to SBF. The fees are calculated using a tiered schedule based on the fair
  market value of 100 participation shares of Charitable DAF HoldCo, Ltd., which is the primary asset of HSBF.
  The fair market value is determined by an independent valuation firm at least annually.

  Relationship and Mission Advancement

  SBF meets annually with HSBF to discuss SBF activities, alignment of SBF priorities and focus areas with HSBF
  philanthropic objectives, and proposed HSBF funding for the upcoming year. Since its inception, HSBF has
  funded over $5 million of the grants awarded by SBF, including nearly $3 million in Santa Barbara County. See
  HSBF, Inc. History, attached.

  HSBF has augmented SBF’s discretionary grants in the areas of: early childhood, youth, and workforce
  development and education; scholarships; veterans and military education and job training; Community
  Caregiving Initiative; and Food Action Plan. HSBF has also funded grants to specific organizations, including:
  $400,000 to Children’s Museum of Santa Barbara d.b.a. MOXI - The Wolf Museum of Exploration and
  Innovation; $90,000 to Reasoning Mind, Inc. for identified local schools to participate in a math literacy
  program; and $30,000 to Boy Scouts of America - Los Padres Council for rebuilding of Camp Rancho Alegre
  following the Whittier Fire.

  Thank you.

  Sincerely,




  Jacqueline M. Carrera
  President & Chief Executive Officer
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     July 7, 2021


     To Whom It May Concern:

     Thank you for this opportunity to share our experience working with the Highland Kansas
     City Foundation, Inc.

     I represent the Greater Kansas City Community Foundation, which exists to serve
     philanthropic donors by providing vehicles for their charitable giving. The Community
     Foundation was founded in 1978, and now has an asset base of more than $4 billion, housing
     thousands of donor-advised funds, scholarship funds, supporting organizations and other
     charitable funds and accounts established by individuals, families and businesses. In 2020,
     the Community Foundation’s donors used their charitable dollars to grant over $550 million
     to their favorite causes across the country.

     The Community Foundation currently works with 18 supporting organizations, one of which
     is the Highland Kansas City Foundation, established in 2011. Supporting organizations
     operate under their own legal entities but require the Community Foundation’s active
     oversight and involvement. The Community Foundation’s Board of Directors controls the
     Board of the Highland Kansas City Foundation. The Community Foundation oversees all of
     the Highland Kansas City Foundation’s grants, ensuring every dollar is distributed for
     charitable purposes.

     Since 2011, the Highland Kansas City Foundation has granted more than $9 million to
     support education and college preparation, historical preservation, medical research,
     veterans, the arts, the environment and more.

     The Community Foundation’s mission is to increase philanthropy and connect donors to the
     causes they care about, and we are honored to further the Highland Kansas City Foundation’s
     generosity through significant annual distributions to important causes in our country.

     Sincerely,



     Deborah L. Wilkerson
     President & CEO
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                                             CHARITABLE DAF HOLDCO, LTD

                                                      (the "Company")



                                               SHARE TRANSFER FORM
                                                           i
                                                     Dated // March 2021



         I, Grant James Scott (the "Transferor"), for good and valuable consideration received by me from Mark
         E. Patrick (the "Transferee"), do hereby:

         1.      transfer to the Transferee 100 Management Shares (the "Shares") for the par value of $0.01
                 each standing in my name in the register of members of the Company to hold unto the
                 Transferee, his executors, administrators and assigns, subject to the several conditions on which
                 I held the same at the time of execution of this Share Transfer Form; and

         2.      consent that my name remains on the register of the Company until such time as the Company
                 enters the Transferee's name in the register of the Company.




         SIGNED by TRANSFEROR:

                                                                        Name'    rant J. Scott



         And the Transferee does hereby agree to take the Shares subject to the same conditions.—

         SIGNED by TRANSFEREE:                                     )
                                                                        Name: Mark E. Patrick




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                                         CHARITABLE DAF HOLDCO, LTD
                                              (THE "COMPANY")


                              WRITTEN RESOLUTIONS OF THE §OLE DIRECTOR
                              OF THE COMPANY DATED P/ 4f C4 7-5    2021


        1.    SHARE TRANSFER

        1.1   IT IS NOTED that the Director has received a duly executed share transfer form relating to the
              transfer by Grant James Scott of 100 Management Shares to Mark E. Patrick.

        1.2   IT IS RESOLVED that:

              (a)     the following share transfer (the "Transfer") be and is hereby ratified, confirmed and
                      approved

                          TRANSFEROR             TRANSFEREE            NO OF SHARES              DATE OF
                                                                                                TRANSFER

                       Grant James Scott     Mark E. Patrick        100 Management         24 March 2021
                                                                    Shares


              (b)     the Company's registered office provider be instructed to update the Register of Members
                      of the Company to reflect the Transfer.

        2.    GENERAL AUTHORISATION

        2.1   IT IS RESOLVED that, in connection with or to carry out the actions contemplated by the foregoing
              resolutions, the Director, officer or (if applicable) any attorney or duly authorised signatory of the
              Company (any such person being an "Attorney" or "Authorised Signatory" respectively) be, and
              such other persons as are authorised by any of them be, and each hereby is, authorised, in the
              name and on behalf of the Company, to do such further acts and things as the Director or officer
              or such duly authorised other person shall deem necessary or appropriate, including to do and
              perform (or cause to be done and performed), in the name and on behalf of the Company, all such
              acts and to sign, make, execute, deliver, issue or file (or cause to be signed, made, executed,
              delivered, issued or filed) with any person including any governmental authority or agency, all such
              agreements, documents, instruments, certificates, consents or waivers and all amendments to any
              such agreements, documents, instruments, certificates, consents or waivers and to pay, or cause
              to be paid, all such payments, as any of them may deem necessary or advisable in order to carry
              out the intent of the foregoing resolutions, the authority for the doing of any such acts and things
              and the signing, making, execution, delivery, issue and filing of such of the foregoing to be
              conclusively evidenced thereby.

        3.    RATIFICATION OF PRIOR ACTIONS

        3.1   IT IS RESOLVED that any and all actions of the Company, or of the Director or officer or any
              Attorney or Authorised Signatory, taken in connection with the actions contemplated by the
              foregoing resolutions prior to the execution hereof be and are hereby ratified, confirmed, approved
              and adopted in all respects as fully as if such actions) had been presented to for approval and
              approved by, the Director prior to such action being taken.




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        These written resolutions are signed by the sole Director of the Company.




        Mark E. Patrick




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                                                CLO HOLDCO,LTD.
                                                (THE "COMPANY")


                            WRITTEN SHAREHOLDER RESOLUTIONS OF THE SOLE
                                    SHAREHOLDER OF THE COMPANY
                                   MADE ON  "or/     as     2021


       The undersigned, being the sole holder of Shares of the Company having the right to receive notice of,
       attend and vote at general meetings hereby resolves the following shareholder resolutions.

       1.     REMOVAL OF DIRECTOR AND APPOINTMENT OF NEW DIRECTOR

       1,1    IT IS RESOLVED by ordinary resolutions that:

              (a)     Grant James Scott be and is hereby removed as a Director of the Company with effect
                      from the date of these resolutions;

              (b)     Mark E. Patrick be and is hereby appointed as a Director of the Company with effect from
                      the date of these resolutions until such time as such Director resigns or is removed or
                      otherwise disqualified in accordance with the Articles of Association of the Company;

              (c)     the Register of Directors of the Company be amended to note the removal of the Director
                      and the appointment of the new Director, all as set out in these resolutions; and

              (d)     the Company's registered office be and is hereby instructed to notify the Registrar of
                      Companies in the Cayman Islands of the removal of Mark E. Patrick as a Director of the
                      Company and the appointment of Grant James Scott as a Director of the Company.




                                 BY   .    e:7.//       i":721.      .7
                                          Mark E. Patrick for and on behalf of

                     Charitable DAF GP, LLC, the general partner of Charitable DAF Fund, L.P.




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                         THE COMPANIES LISTED !N THE ATTACHED SCHEDULE
                       (EACH A "COMPANY" AND TOGETHER THE "COMPANIES"


                             WRITTEN RESOLUTIONS OF THE S,OLE DIRECTOR
                            OF EACH COMPANY DATED /\^'i') <L7^ 2021



  1. APPOINTMENT OF DIRECTOR

  1.1 IT IS NOTED that the Directors wish to appoint Paul Murphy as a Director of each Company with
          effect from the date of these resolutions and that such proposed Director has indicated a
          willingness to hold such office and has executed a letter of consent and/or a services agreement
          in relation thereto (such appointment, the "Director's Appointment").

  1.2 IT IS RESOLVED that:

          (a) the Director's Appointment be and is hereby approved with effect from the date of these
                  resolutions until such time as the Director resigns or is removed from office in accordance
                  with the Articles of Association of each Company; and

          (b) the registered office service provider be and is hereby instructed to update the Register
                  of Directors of each Company and to make the necessary filings with the Registrar of
                  Companies to reflect the Director's Appointment.

  2. GENERAL AUTHORISATION

  2.1 IT IS RESOLVED that, in connection with or to carry out the actions contemplated by the
          foregoing resolutions, the Director or any officer or (if applicabie) any attorney or duly authorised
          signatory of each Company (any such person being an "Attorney" or "Authorised Signatory"
          respectively) be, and such other persons as are authorised by any of them be, and each hereby
          is, authorised, in the name and on behalf of each Company, to do such further acts and things as
          the Director or any officer or such duiy authorised other person shall deem necessary or
          appropriate, including to do and perform (or cause to be done and performed), in the name and
          on behaif of each Company, aH such acts and to sign, make, execute, deliver, issue or file (or
          cause to be signed, made, executed, delivered, issued or filed) with any person including any
          governmental authority or agency, all such agreements, documents, instruments, certificates,
          consents or waivers and all amendments to any such agreements, documents, instruments,
          certificates, consents or waivers and to pay, or cause to be paid, a!! such payments, as any of
          them may deem necessary or advisable in order to carry out the intent of the foregoing
          resolutions, the authority for the doing of any such acts and things and the signing, making,
          execution, delivery, issue and filing of such of the foregoing to be conclusively evidenced thereby.

  3. RATIFICATION OF PRIOR ACTIONS

  3.1 IT IS RESOLVED that any and a!i actions of each Company, or of the Director or any officer or
          any Attorney or Authorised Signatory, taken in connection with the actions contemplated by the
          foregoing resolutions prior to the execution hereof be and are hereby ratified, confirmed,
          approved and adopted in all respects as fully as if such action(s) had been presented to for
          approval and approved by, the Director prior to such action being taken.




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    These written resolutions are signed by the sole Director of the Company.




     Mark E. Patrick




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                                          Schedule
                                    (L/s( of Companies)



  Charitable DAF HoldCo, Ltd.
  CLO HoldCo, Ltd.
  Liberty CLO Holdco, Ltd.
  Liberty Sub, Ltd.
  HCT Holdco 2, Ltd.
  MGM Studios Holdco, Ltd.




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                                  Charitable Giving Overview
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                                                  Highlights

The following provides an
overview of philanthropic
                                                   $42M+               Since 2012, the Supporting Organizations
                                                                       have committed over $42 million to
activities across the group of                                         nonprofit organizations operating across a
charitable entities that operate                                       range of issue areas.
as supporting organizations to
community foundation: the
Highland Dallas Foundation,                        $32M+               We have funded over $32 million of our
                                                                       total commitments; remaining
Inc., the Highland Santa                                               commitments are comprised of future
Barbara Foundation, Inc., and                                          scheduled installments of multiyear grants.
the Highland Kansas City
Foundation, Inc. (together the
“Supporting Organizations” or                      $3.7M               Average annual grant payments total $3.7
                                                                       million.
“we”).

Each of the entities within the
Supporting Organizations has
its own independent board,                         275+                The Supporting Organizations have made
                                                                       donations to more than 275 individual
which provides oversight for the
organization’s grantmaking                                             organizations.
activity.

Data represents activity
between January 1, 2012, and                       2029                Through our multiyear grants we have over
                                                                       $10 million in funds committed through
December 31, 2020 unless                                               2029.
otherwise noted.
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               GRA NTS OV ERVIEW                             EXHIBIT 4

               Total committed: $42.7 million1


                     The Supporting Organizations have                                 GRANT COMMITMENTS BY ISSUE AREA2
                     committed $42,688,403 in grants to
                     nonprofits across a range of issue                                  Civic & Cultural Institutions
                     areas, with a focus on:                                                                                                   4%
                                                                                                                                         4%
                      civic and cultural institutions in                                Education & Research                       5%
                       the Dallas-Ft. Worth area;
                                                                                                                               6%
                      education;                                                        Military, Veterans & First
                                                                                         Responders                                                                 48%
                      support for military, veterans, and                                                                  9%
                       first responders;                                                 Health

                      health and medical research;
                                                                                         Economic & Community
                      economic and community                                            Development                                24%
                       development initiatives; and
                                                                                         Youth & Family
                      youth and family.

                                                                                         Other




1. As of 12/31/2020. Figures rounded to the nearest hundred thousand. 2. Represents amount committed in grants since 2012 (inclusive of funded and unfunded commitments).
Unfunded commitments represent installment payments for multiyear grants to be paid at future dates following a schedule included in the grant agreement. Issue areas defined by HCP.
Grants categorized by purpose and/or use of funds. “Other” category inclusive of grants related to the following issue areas: Animals & Environments; Arts, Culture & Humanities; Faith-
Based Causes; and Global Affairs.
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               GRA NTS OV ERVIEW                             EXHIBIT 4

               Total funded: $32.5 million1



                                                                        GRANTS FUNDED BY ISSUE AREA2                                  Civic & Cultural Institutions

                    The Supporting
                                                                                            5%                                        Education & Research
                    Organizations have
                                                                                      5%
                    funded $32,548,403 in
                                                                                 5%                                                   Military, Veterans & First
                    grants, representing                                                                                              Responders
                    payments made directly to
                                                                            8%                                    44%                 Health
                    nonprofit organizations
                    that are improving lives
                    and addressing pressing                                11%                                                        Economic & Community
                                                                                                                                      Development
                    issues in our local
                    community—and beyond.                                                                                             Youth & Family

                                                                                        22%                                           Other




1. As of 12/31/2020. Figures rounded to the nearest hundred thousand. 2. Represents amount committed in grants since 2012 (inclusive of funded and unfunded commitments).
Unfunded commitments represent installment payments for multiyear grants to be paid at future dates following a schedule included in the grant agreement. Issue areas defined by HCP.
Grants categorized by purpose and/or use of funds. “Other” category inclusive of grants related to the following issue areas: Animals & Environments; Arts, Culture & Humanities; Faith-
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              GRA NTS OV ERVIEW                             EXHIBIT 4

              Average annual funding: $3.7 million1

                TOTAL GRANT PAYMENTS ($M)2

                 $7

                 $6

                 $5

                 $4

                 $3

                 $2

                 $1

                  $-
                            2012            2013           2014            2015           2016            2017            2018           2019            2020




1. As of 12/31/2020. Figures rounded to the nearest hundred thousand. 2. Represents amount paid in grants and/or grant installments during each calendar year. Not inclusive of
grants committed but not funded.
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GRA NTS OV ERVIEW                             EXHIBIT 4

Highlights of grants’ impact

   Supporting 4,000 military and law enforcement members                                           Enabling 1.2M
                                                                                                   visitors to make
   Grants to the Center for BrainHealth helped provide training and other programming
   to members of the military, veterans, and local law enforcement that aims to improve            memorable
   the cognitive health—all at no cost.                                                            experiences with
                                                                                                   wildlife
                                                                                                   Grants funding the
                                                                                                   construction of the new
                                                                                                   hippo exhibit and providing
                                                                                                   support for the
   Providing a path to safety for 11,000 victims of family violence
                                                                                                   organization’s membership
   Grants to The Family Place helped the organization serve more than 11,000 clients in            program helped the Dallas
   2019, including providing more than 62,000 days of Emergency Shelter.                           Zoo draw a record-breaking
                                                                                                   1.2 million visitors in 2017.




   Supporting and defending                           Providing educational opportunities for 600 low-income
   8,000 abused children                              students in southeast Dallas
                                                      Grants to expand the Cristo Rey Dallas campus in Pleasant Grove enable
   Grants to the Dallas Children’s
                                                      the school to accommodate up to 600 students. 95% of CRD students are
   Advocacy Center helped the
                                                      the first in their families to attend college, and with a 100% college
   organization serve over 8,000 children
                                                      acceptance rate, the expansion will help create an estimated 570 first-
   who have been abused each year,
                                                      generation college students every four years.
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GRANT HIGHLIGHT                               EXHIBIT 4

Dallas Zoo
                                         Promoting Visitor Engagement: Grant to Support Zoo Membership
                                         The Supporting Organizations have supported the Zoo’s membership program since
   About the Dallas Zoo                  2014 through a series of multiyear grants that help the Dallas Zoo continue to reach
   The Dallas Zoological Society         new audiences. In the first full year of the grant, the Zoo welcomed a record 600,000
   (the “Zoo”), the largest              guests, and that number has steadily increased since. With our support, the Zoo
   zoological park in Texas, has         continues to find new ways to deliver unforgettable experiences. As a result, it regularly
   become a staple in the                ranks in the top-10 zoos in the U.S. by USA Today.
   Dallas community over its
   130-year history. Home to             Increasing Community Access: Grant to Support Discounted Admission
   over 430 different species,           The Supporting Organizations pursue grant opportunities that increase community
   the Dallas Zoo engages and            access to local civic and cultural institutions. With this goal, we expanded our support
   educates visitors, while              of the Zoo in 2017 to include the annual sponsorship of the “Penguin Days” program.
   seeking to create a better            The grant enables the Zoo to reduce the price of general admission to $7 on select
   world for animals.                    days from December-February, making the Zoo more accessible to the North Texas
                                         Community and allowing families who might not otherwise visit the Zoo to do so in an
                                         affordable way.

Opening a New Exhibit: Grant to Support Construction of an Educational/Event Space at the Hippo Exhibit
The Zoo announced in early 2016 that it was planning to break ground on a new exhibit that would bring hippos to the Zoo for
the first time in 16 years. The project also marked the first major exhibit opening at the Zoo since 2010. The Supporting
Organizations contributed to this project through a grant that helped establish a 4,485-square-foot indoor/outdoor multipurpose
event space, which engages visitors in interactive activities that further the Zoo’s animal education mission. Currently, the space
is a walkthrough exhibit highlighting conservation efforts of hippo habitats around the world. This exhibit helped increase
attendance to a record-breaking 1.2 million visitors in 2017.




                                                                  Issue Area: Civic & Cultural Institutions
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GRANT HIGHLIGHT                               EXHIBIT 4

George W. Bush Presidential Center
                                                  Driving a Local Institution’s Ambitious Global Agenda: Grant
                                                  Supporting the Construction of the Bush Center in Dallas
   About the George W. Bush                       In 2008, the Bush Center officially selected Dallas as its permanent
   Presidential Center                            home, announcing plans to construct its building on the campus of
                                                  SMU. The Supporting Organizations helped make the vision of the Bush
   The George W. Bush Presidential Center (the    Center’s Dallas home a reality, making a grant to help complete
   “Bush Center”) is comprised of the George
                                                  construction and design for the building. On May 1, 2013, the Bush
   W. Bush Presidential Library and Museum,       Center opened its doors to the public. In its first five years after opening,
   which houses the official records of the
                                                  the Bush Center welcomed over $1.6 million visitors.
   presidency of George W. Bush, and the
   George W. Bush Institute, an action-
   oriented, nonpartisan policy organization.     Securing a Legacy and Driving Engagement: Grant Supporting the
   Through these dual operations, the Bush        Center’s Long-term Operations and Engagement Agenda
   Center works to both preserve history and      In 2018, the Bush Center launched an important fundraising initiative to
   shape the future. The Bush Center is           ensure its mission endures for generations to come. With its “A Charge
   uniquely equipped to promote leadership        to Keep” capital campaign, the Bush Center aimed to raise funds that
   development, advance policy initiatives, and   would sustain its operations beyond the lifetimes of President and Mrs.
   inspire action on a local, national, and       Bush.
   global scale. Its work covers three major
   Impact Centers: Domestic Excellence; Global    The Supporting Organizations made a grant to help ensure the Bush
   Leadership; and Engagement. Through            Center can continue its important work well into the future. The grant
   these Impact Centers, the Bush Center is       specifically focused on the public speaker series, Engage at the Bush
   dedicated to solving some of today’s most      Center. The series brings newsmakers, thought leaders, and authors to
   pressing challenges.                           the Bush Center for thought-provoking panel discussions and keynote
                                                  conversations that allow guests to connect with the Bush Center in a
                                                  meaningful way and dive deeper into many of today’s most pressing
                                                  policy areas and issues.


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Perot Museum
                                                Helping Establish a World Class Museum in Downtown Dallas: Grant to
                                                Support Construction of the New Perot Museum:
    About the Perot Museum
                                                With support from Dallas’ philanthropic community, the Perot Museum opened a
    The Perot Museum of Nature and              new building in December 2012. With its bold architectural design, it quickly
    Science (the “Perot”) promotes              became a fixture in its new location in Dallas’ Victory Park. The project also
    science and education in the North          sparked a renewed commitment to inspire minds and improve community
    Texas community through hands-on            achievement, giving rise to new initiatives that promote science learning.
    exhibits, educator resources,
    unique films, and other special             The Supporting Organizations contributed to the project by issuing a challenge
    programming that engages                    grant, which matched donations, inciting additional giving and helping complete
    audiences of all ages.                      the project’s capital campaign. Since then, we have contributed additional
                                                funding to support ongoing educational programming, special exhibitions, and
                                                community engagement initiatives.

Increasing Community Access: Grant to Support the Perot’s Traveling Exhibition Programs
In 2014, the Supporting Organizations began issuing a series of grants to support the traveling exhibitions program. The initial
exhibition, the “The World’s Largest Dinosaurs” exhibition, educated audiences on the gigantic sauropods that once roamed the
earth, drawing nearly 200,000 visitors to the museum. Since then, our grants have made possible the many captivating
exhibitions that have been hosted by the Perot, covering a range of subject areas. With two special exhibitions held each year,
the grants enable the museum to deliver new experiences that give visitors a reason to keep coming back and serve as a
complement to the museum’s 11 permanent exhibit halls. The program draws exhibitions from around the globe to the Perot,
providing the North Texas community with access to world-class educational experiences. All the special exhibition grants include
funding that allows the Perot to make all traveling exhibitions bilingual (with programming in both English and Spanish). These
exhibits have helped increase community access to the North Texas Hispanic population.




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Cristo Rey Dallas
                                                                     Building Space for Innovation: Grant to Support CRD
                                                                     Campus Expansion and Renovations
   About Cristo Rey Dallas
                                                                     The 30th school in the nationwide Cristo Rey network, CRD
   Cristo Rey Dallas College Prep (“CRD”) is a private,              opened in August 2015, operating out of an old
   independent Catholic high school located in the Pleasant          elementary school and aging gymnasium. They quickly
   Grove area of Southeast Dallas. The Cristo Rey Network’s          outgrew the space and had to begin turning away
   formula for success is a proven, revolutionary model of           prospective students. In 2019, CRD launched a $15
   college preparatory high school curriculum accessible to          million capital campaign to expand the campus, adding
   those of limited financial resources. It integrates rigorous      new academic and athletic buildings and conducting
   college preparatory academics with professional work              much needed renovations on the existing buildings.
   experience through the Corporate Work Study Program—a
   key component of the fiscal sustainability of the Cristo Rey      The Supporting Organizations issued the campaign’s lead
   model. Through the Work Study Program, students work in           grant, helping build a new 37,000 sq. ft. Innovation
   a professional setting five days per month to earn the            Center, which boasts spaces for fine arts and counseling.
   majority of their tuition. The 144 job partners include           The campaign also created a new cafeteria and
   some of Dallas’s most prominent companies.                        gymnasium, as well as a new soccer field – something the
                                                                     school never had before. The new buildings opened in
                                                                     time for the 2020 school year.
                                                                     The Supporting Organizations also helped provide space
            The Cristo Rey model is proven, with 100%                for CRD students off campus in a centrally located office
                                                                     building near Downtown Dallas. The space gave students
            of graduates gaining acceptance to a two- or four-year
            college and 90% matriculating. For students in           a place to study and complete work study programs that
                                                                     were moved to Work From Home due to the pandemic.
            Pleasant Grove—where only 4% of the population
            graduated from college—CRD offers access and
            opportunity that can change their trajectory.



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Education Is Freedom
                                           Developing a Skilled and Educated Workforce: Grant Supporting the
   About Education Is Freedom              Mayor’s Intern Fellows Program
   Education Is Freedom (“EIF”) is         In 2008, EIF worked with the Mayor’s Office to create the Mayor’s Intern
   committed to transforming students’     Fellows Program (“MIFP”), an initiative to provide workforce readiness. The
   lives through education. With a focus   program provides Dallas high school students with internship opportunities at
   on college planning, the organization   local companies, nonprofits, and government entities. Through the eight-week,
   provides underserved students in the    paid internship, students gain real-world experience and insight into the
   North Texas community with a range      professional opportunities available to them. Not only does the
   of resources to ensure every student    program prepare students for future careers, but it also connects local
   has the opportunity to pursue a         businesses with the future workforce, promoting collaboration to strengthen the
   college education.                      pipeline of talent.
                                           The Supporting Organizations have issued grants to EIF to support the MIFP.
   EIF’s higher education advisors work    The grants have helped EIF put on the program’s annual Job Fair. Held in the
   onsite at public high schools across    spring, the Job Fair provides an opportunity for students to interview with
   the region, helping students and        prospective employers in the hopes of securing an internship for the summer.
   their families navigate the college     Education Is Freedom conducts extensive training with the students throughout
   process. In 20XX, EIF helped high       the program, offering workshops and coaching on everything from interview
   school seniors complete 21,000          preparation to professional etiquette.
   college applications and receive over
   $132 million in scholarships.           In 2018, over 2,400 students from 52 high schools applied for the program. Of
                                           those applicants, 1,050 were selected to attend the Job Fair. At the 2018 Job
   In addition to their college planning   Fair, over 200 employers from across the Dallas-Fort Worth region interviewed
                                           internship candidates, ultimately offering positions to 395 students for the
   initiatives, EIF operates a number of
   supplementary programs to enhance       summer. In addition to the Job Fair, our grants have funded internships at
                                           various nonprofit partners, covering the cost for organizations that might not
   access to postsecondary education
   and promote workforce readiness.        otherwise be able to hire paid interns.



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SMU Tower Center
                                                                Investing in the Next Generation of Policymakers:
                                                                Grant to Endow the Tower Scholars Undergraduate
    About the SMU Tower Scholars Program                        Program at SMU
    The Southern Methodist University (“SMU”) Tower             In 2014, the Supporting Organizations worked with the
    Scholars Program provides top undergraduate students        Tower Center to create a dedicated undergraduate program
    with an opportunity to integrate public policy and          that carries out the center’s mission of bridging the gap
    international affairs into their studies through a          between the scholarship and practice of politics and
    dedicated curriculum of academic coursework and real-       striving to inspire ethical public service. The grant
    world experiences. Students in the program receive a        established an endowment that provides long-term funding
    minor in public policy and international affairs, offered   for the Tower Scholars Program.
    through SMU’s John Goodwin Tower Center for Political
    Studies (the “Tower Center”).                               A hallmark of the program is its interdisciplinary focus. Over
                                                                75% of the Tower Scholars either earned or are pursuing
                                                                more than one major—and that is in addition to the minor
                                                                they earn in the program. Outside the classroom, each


“
                                                                student is involved in multiple on-campus organizations,
       The Tower Scholar Program’s resources and                many in leadership positions.
       curriculum allow me to not only learn public policy      The Supporting Organizations’ grant makes possible the
       principles through lectures, but also gain tactile       unique academic experiences—from meeting with global
       experience with practicums and classes taught by         leaders, to working on real policy issues for major
       policy practitioners. Without this program, I would      corporations—offered to the Tower Scholars. The
       have been unable to experience and explore my            program accepts 10 students each year, and recently
       interest in public policy.”                              welcomed its eighth cohort.

                            – Tower Scholar, Class of 2020



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Center for BrainHealth
                                        Applying Innovative Research to Improve the Lives of Post-9/11 Veterans and
   About the Center for                 First Responders: Grant Supporting the Warriors Program Through the Brain
   BrainHealth                          Performance Institute
   The Center for BrainHealth           In 2015, CBH broke ground on new building dedicated to translating leading-edge
   (“CBH”), part of The University of   science to scalable solutions for the public at large. Through construction of the
   Texas at Dallas, is a research       Brain Performance Institute, CBH sought to extend the reach and applications of its
   institute committed to               research, providing solutions to the public to maximize brain performance in health,
   enhancing, protecting and            injury, and disease.
   restoring brain health across the    The Supporting Organizations made a grant to help fund the construction of the
   lifespan. CBH is composed of         Brain Performance Institute and expand CBH’s Warrior Initiative, which that focused
   independent labs that are            on translating research into cognitive therapies for former military personnel. The
   responsible for more than 60         Warrior Initiative was established to provide high performance brain training to
   fully funded research projects       current and former military service men and women and their families.
   that investigate brain health,
   injury, and disease. Many of the     The goal of the Warrior Initiative program is to arm veteran and active-duty service
                                        members with the necessary tools to achieve successful, enriching, and fulfilling
   center’s programs use functional
   and structural neuroimaging          lives by proactively optimizing brain performance, building resilience in cognitive
                                        brain function, and reversing losses in cognitive capacity. The program was
   techniques to better understand
   the neurobiology supporting          expanded in 2016 to support first responders, specifically focusing on local law
                                        enforcement.
   cognition and emotion in health
   and disease. Areas of research       The grant help create a space in the Brain Performance Institute building specifically
   include addiction, aging,            for veterans, first responders, and their families, where these groups are able to
   Alzheimer's disease, autism,         come together in a safe, relaxing environment and get to know other members of
   multiple sclerosis, social           service before and after training sessions.
   cognition, and traumatic brain
   injuries.


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Friends of the Dallas Police
                                                         Helping Show Appreciation and Recognition to Local Law
                                                         Enforcement: Grant Supporting the Annual Awards Program
   About Friends of the Dallas Police
                                                         The Supporting Organizations have provided grants to help the
   The Friends of Dallas Police was founded in 1982      Friends of the Dallas Police show appreciation to the men and
   to recognize the commitment that the employees        women of the Dallas Police Department who risk their lives every
   of the Dallas Police Department make to better        day to make Dallas a safer city. Our grants have helped fund the
   the city and its residents’ quality of life. The      annual awards event hosted by the Friends of the Dallas Police,
   organization’s mission is to raise and provide        which honors and recognizes outstanding employees throughout
   funds to be used to host a major awards banquet       the Dallas Police Department.
   each year honoring Dallas Police Department
                                                         Through our grants, the Supporting Organizations have facilitated
   personnel for outstanding performance in the line
                                                         the production of the annual awards program, enabled sworn and
   of duty. Over the years, approximately 4,400
                                                         non-sworn employees and their spouses to attend the event, and
   awards have been presented to officers and
                                                         provided educational sponsorships for children of police officers.
   civilian staff, and more than $43,000 in
   educational scholarships have been awarded to         The Supporting Organizations have also drawn on its philanthropic
   their children.                                       network to provide gifts to award recipients and their families,
                                                         including tickets to visit organizations like the Dallas Zoo, George
                                                         W. Bush Presidential Center, and Perot Museum.




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Snowball Express
                                                               Supporting Families of Fallen Service Members: Grant
   About Snowball Express                                      to Support Programming for Gold Star Children
   Snowball Express (now part of the Gary Sinise               In 2014, Myles Eckert, the nine-year-old son of U.S. Army
   Foundation) serves the children of fallen military          Sergeant was killed in Iraq on active duty, gave a $20 bill
   heroes. By providing events and other experiences in        that he found to a veteran in a pay-it-forward act of kindness
   a stress-free environment, the organization is creating     towards our military. Myles’s story was shared widely online,
   a community to learn, grow, and make lasting                and the gift quickly received national attention.
   memories with new friends.                                  In honor of Myles Eckert’s gift, the Supporting Organizations
   The organization hosts an annual five-day experience        issued a challenge grant to Snowball Express to support the
   for 1,750+ children of the fallen and their surviving       organization’s programming for children that have lost one or
   parent or guardian. As a therapeutic retreat with a         both parents during active service.
   blend of fun and inspiring programs, these families         The grant inspired significant giving from individuals and
   can lean on their peers for support. The organization       organizations around the world, enabling Snowball Express to
   also hosts community-driven events for these families       expand its services for Gold Star children and their families.
   all year long. From baseball games, to arts and
                                                               Snowball Express used the proceeds from the challenge
   educational opportunities, to camping trips, the
   events strengthen the local networks of Gold Star           grant to provide services to over 8,000 Gold Star children in
                                                               2014—almost 6,000 more than the year before and a new
   families, helping children and surviving spouses to
   build bonds with the only people who can truly              record for the organization.
   understand their loss: each other.




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Dallas Children’s Advocacy Center
                                        Fostering Crucial Collaboration: Grant to Support DCAC’s Operations and
                                        Strengthen Collaboration Among Agencies Involved in Child Abuse Cases
   About Dallas Children’s              The Supporting Organizations have been a longtime partner of the Dallas
   Advocacy Center                      Children’s Advocacy Center (“DCAC”), issuing annual grants that provide funding
                                        for a range of operating costs. The grants help DCAC serve over 8,000 children
   Dallas Children’s Advocacy Center
                                        (and their non-offending family members) each year who were sexually abused,
   (“DCAC”) is the only agency of its
                                        severely physically abused, or who had witnessed a violent crime. DCAC’s
   kind in Dallas County, working in
                                        average client is a 9-year-old girl, sexually abused by someone she knows and
   agreement with public and private
                                        trusts.
   agencies to investigate,
   prosecute, and provide healing       The grants also support DCAC in its efforts to foster crucial collaboration across
   services for child abuse cases in    government agencies and other organizations involved in child abuse cases.
   Dallas County. DCAC reduces the      The DCAC building houses the Child Abuse Unit of the Dallas Police Department,
   re-victimization of the child,       six units of CPS, and a Dallas County Assistant District Attorney. Having all of
   removes barriers to investigation    these professionals under one roof drives collaboration and communication in
   and treatment, and enhances          the very sensitive cases that DCAC coordinates.
   criminal prosecution with its        Not only have the Supporting Organizations been a long-time financial supporter
   distinctive multidisciplinary        of DCAC, we have also provided support in other ways, leveraging connections
   approach to these complex and        with our network of nonprofit partners. Most recently, we worked with the Dallas
   severe cases.                        Zoo to provide animal encounter demonstrations during DCAC’s summer
                                        camps, which serve as a way to deliver ongoing support to—and help build a
                                        community for—children who have experienced trauma.




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The Family Place
                                         Providing Support for Victims of Family Violence Across North Texas
                                         The Family Place empowers victims of family violence by providing safe
   About The Family Place
                                         housing, counseling, and skills that create independence while building
   The Family Place was founded in       community engagement and advocating for social change to stop family
   1978 and has grown to become the      violence.
   largest family violence prevention
                                         While The Family Place supports clients in several different ways, its
   agency in North Texas, providing
                                         Residential Services, which provide safe shelter for families affected by
   shelter and assistance to victims
                                         violence, are one of crucial components of its work. These services include the
   across the region along with
                                         Emergency Shelter Services, which provide immediate shelter for families
   counseling and education. Since its
                                         escaping abuse, and the Supportive Living Program, which provides long-term
   founding, the organization
                                         housing for families as they rebuild their lives. Not only does the organization
   has served over 839,000 clients
                                         provide necessities like food, clothing, and transportation, but it also offers
   through counseling, shelter, and
                                         childcare, legal services, counseling, and case management.
   hotline responses.
                                         As The Family Place expanded, its Residential Services were constrained by
   In 2019, The Family Place served      the capacity of its emergency shelters, and at many times the organization had
   nearly 12,000 clients, providing      to house clients in hotels and other temporary housing in order to meet
   over 62,000 days of emergency         demand.
   shelter, over 36,000 days of          In 2016, the Supporting Organizations issued a challenge grant to help The
   transitional housing, and over        Family Place build a new shelter facility to expand its Residential Services. The
   18,000 hours of counseling to         new facility provides space and support services for over 2,000 victims per
   nonresidential clients, and over      year. It also includes onsite Medical and Dental Clinics and even an Animal
   8,000 hours of counseling to          Kennel so families can bring their beloved pets with them to safety. The shelter
   batterers. All services are in        has been operating at full capacity since October 2017. With the new facility,
   Spanish and in English.               The Family Place now has three emergency shelters, providing 177 shelter
                                         beds each night, and three counseling centers.


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                                     Cristo Rey Dallas Update

          Cristo Rey Dallas (CRD) is incredibly grateful for the gifts from Highland Dallas
  Foundation, Inc. CRD is excited to have the Highland Capital Academic Center and the
  NexBank Gymnasium in the Innovation Center on our campus. These naming rights were given
  as the result of a donation that Highland Dallas Foundation, Inc.made to our Innovation Center
  Capital Campaign. These facilities truly impact our students and allow us to provide our services
  to our population of 465 students.

         CRD also receives support from Highland Dallas Foundation, Inc. through the Corporate
  Work Study Program (CWSP). Cornerstone Healthcare and NexBank both currently have one
  job team (a team of 4 students) that work in their offices. In the upcoming year, NexBank will
  host two teams of students. One team is funded through the gift from Highland Dallas
  Foundation, Inc. and the other is supported by NexBank. The work study program allows
  students to earn about 60% percent of their tuition to CRD, and the involvement in the work
  study program makes such a difference in the lives of the 8 students that work in those
  businesses.

           Finally, CRD is incredibly thankful for the remote workspace at Cityplace Tower. CWSP
  has been greatly affected by COVID-19. This year, many partners were unable to host students
  in their offices. The space at Cityplace Tower allows 30 students to work remotely for their job
  partners each day which means that about 120 students benefit from the offices each week.
  Without this space, CRD would not have the capacity to allow these students to work remotely.

         The support of Highland Dallas Foundation, Inc. has meant so much to us at CRD. We
  are so appreciative, and we look forward to continuing our partnership for many years.
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         Dallas Children’s Advocacy Center (DCAC)
         Partnership with Highland Dallas Foundation, Inc.

         Organization Mission and History
         The mission of DCAC is to improve the lives of abused children in Dallas County and to provide
         national leadership on child abuse issues. Since opening its doors in 1991, DCAC has served more
         than 60,000 of the most severely abused children and their non-offending family members in
         Dallas County. In FY2021, DCAC will serve 8,400 children and their non-offending family members.

         DCAC was created to coordinate the investigation of child abuse cases that rise to the criminal
         level in a seamless, collaborative process. We facilitate a coordinated approach to child abuse
         cases that results in more successful investigation and prosecution outcomes and provides a less
         traumatic response to child victims and families. DCAC partners with 39 organizations to form a
         Multidisciplinary Team (MDT) that includes medical, legal, and law enforcement and is designed
         to ensure child clients receive the appropriate services for healing and safety.

         In 2015 DCAC’s Partner Relations Team began reading all reports of abuse and neglect made to
         DFPS in Dallas County as part of a state-wide effort to ensure every child who needs services from
         a children’s advocacy center (CAC) gets them. In FY2019 we read 28,131 reports of child abuse for
         Dallas County. At the beginning of March 2020 before COVID-19 safety measures were
         implemented, we had experienced a 15% increase in the number of cases read. While case reports
         went down during quarantine, we have projected and experienced a dramatic increase in cases;
         at the end of February 2021, we had experienced a 35% increase in cases read year-over-year.

         In addition to supportive services provided by the MDT, DCAC also provides the following Core
         Programs at no cost to our clients. Please note, for the second half of FY2020, DCAC provided
         therapy and family advocacy services via a HIPPA-approved telehealth platform, Doxy.me.
         Forensic interviews were always conducted on-site during quarantine. Below you will find details
         and outcomes for FY 2020.

         Forensic Interview Program
         Trained DCAC forensic interviewers conduct interviews of children, both as a first step in the
         child’s healing process and as a vital component of the investigation and prosecution of alleged
         perpetrators. The result is a legally defensible investigative interview of each alleged child victim.
         During FY2020, DCAC conducted 1,921 forensic interviews.

         Family Advocacy Program
         The Family Advocacy Team is committed to helping each family navigate the complex process of
         investigation, prosecution and healing after a child makes an outcry of abuse. The team helps the
         family learn about their rights and resources available to them during crisis as well as provides
         tangible, critical needs items like clothing, toiletries, and financial assistance on an as-needed
         basis. During FY 2020, the Family Advocacy Program supported 7,431 children and their non-
         offending family members.

         Evidence-Based Therapy Program
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         The Evidence-Based Therapy Program provides clients and their non-offending caregivers with
         cutting-edge, no-cost therapeutic services. Treatment is informed by an initial assessment to
         enhance engagement between families and therapists toward the recovery of children. When
         clients are assessed at the end of treatment, over 70% report a reduction in trauma symptoms.
         During FY 2020, the DCAC Therapy Program provided services to 2,498 clients.

         Education Program
         DCAC has pioneered a comprehensive, multi-part training curriculum that provides holistic
         responses to Texas child abuse reporting laws. In the past year, 100,405 people were educated in
         our curriculum by means of in-person instruction or online learning. In addition to our cutting-
         edge curriculum, we also host a Lecture Series at the Center. Lecture Series topics are designed
         to provide continuing education for medical, legal, clinical, law enforcement and other children’s
         advocacy professionals. Since the start of the pandemic, we moved all lecture series’ online; we
         continue to provide this education virtually and as such have discovered we can reach even more
         professional.

         Partnership with Highland Dallas Foundation, Inc.
         Since 2016, Highland Dallas Foundation, Inc. has supported DCAC through yearly, general operating
         investments towards our mission. We have received over $85,000 over the past five years through
         sponsorship of our Art for Advocacy event as well as from a golf tournament where DCAC was the
         dedicated beneficiary. This funding has been critical to the sustainability of our programs and each
         dollar allows us to serve our clients with transformative services at no cost to them. Alongside the
         financial commitment, Highland Dallas Foundation, Inc. has gone above and beyond in introducing
         us to additional community advocates who individually support our efforts as well. The ripple effect
         of our partnership with Highland Dallas Foundation, Inc. is invaluable and for that we are so grateful.
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS

     CHARITABLE DAF FUND, L.P.          §
     and CLO HOLDCO, LTD.,              §
     directly and derivatively,         §
                                        §
                   Plaintiffs,          §
                                        §
                       v.               §                   Cause No. __________________________
                                        §
     HIGHLAND CAPITAL MANAGEMENT, §
     L.P. , HIGHLAND HCF ADVISOR, LTD., §
     and HIGHLAND CLO FUNDING, LTD., §
     nominally,                         §
                                        §
                  Defendants.           §



                                          ORIGINAL COMPLAINT


                                                       I.
                                               INTRODUCTION
            This action arises out of the acts and omissions of Defendant Highland Capital

 Management, L.P. (“HCM”), which is the general manager of Highland HCF Advisor, Ltd.

 (“HCFA”), both of which are registered investment advisers under the Investment Advisers Act of

 1940 (the “Advisers Act”),1 and nominal Defendant Highland CLO Funding, Ltd. (“HCLOF”)

 (HCM and HCFA each a “Defendant,” or together, “Defendants”). The acts and omissions which

 have recently come to light reveal breaches of fiduciary duty, a pattern of violations of the

 Advisers Act’s anti-fraud provisions, and concealed breaches of the HCLOF Company Agreement,

 among others, which have caused and/or likely will cause Plaintiffs damages.




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         At all relevant times, HCM was headed by CEO and potential party James P. Seery

 (“Seery”). Seery negotiated a settlement with the several Habourvest2 entities who owned 49.98%

 of HCLOF. The deal had HCM (or its designee) purchasing the Harbourvest membership interests

 in HCLOF for $22.5 million. Recent revelations, however, show that the sale was predicated upon

 a sales price that was vastly below the Net Asset Value (“NAV”) of those interests. Upon

 information and belief, the NAV of HCLOF’s assets had risen precipitously, but was not disclosed

 to Harbourvest nor to Plaintiffs.

         Under the Advisers Act, Defendants have a non-waivable duty of loyalty and candor, which

 includes its duty not to inside trade with its own investors, i.e., not to trade with an investor to

 which HCM and Seery had access to superior non-public information. Upon information and

 belief, HCM’s internal compliance policies required by the Advisers Act would not generally have

 allowed a trade of this nature to go forward—meaning, the trade either was approved in spite of

 compliance rules preventing it, or the compliance protocols themselves were disabled or amended

 to a level that leaves Defendants HCM and HCLOF exposed to liability. Thus, Defendants have

 created an unacceptable perpetuation of exposure to liability.

         Additionally, Defendants are liable for a pattern of conduct that gives rise to liability for

 their conduct of the enterprise consisting of HCM in relation to HCFA and HCLOF, through a

 pattern of concealment, misrepresentation, and violations of the securities rules. In the alternative,

 HCFA and HCM, are guilty of self-dealing, violations of the Advisers Act, and tortious

 interference by (a) not disclosing that Harbourvest had agreed to sell at a price well below the

 current NAV, and (b) diverting the Harbourvest opportunity to themselves.



   2
    “Habourvest” refers to the collective of Harbourvest Dover Street IX Investment, L.P., Harbourvest
 2017 Global AIF, L.P., Harbourvest 2017 lobal Fund, L.P., HV International VIII Secondary, L.P., and
 Harbourvest Skew Base AIF, L.P. Each was a member of Defendant Highland CLO Funding, Ltd.

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         For these reasons, judgment should be issued in Plaintiffs’ favor.

                                                   II.
                                               PARTIES
         1.      Plaintiff CLO Holdco, Ltd. is a limited company incorporated under the laws of

 the Cayman Islands.

         2.      Plaintiff Charitable DAF Fund, L.P., (“DAF”) is a limited partnership formed under

 the laws of the Cayman Islands.

         3.      Defendant Highland Capital Management, L.P. is a limited partnership with its

 principal place of business at 300 Crescent Court, Suite 700, Dallas, Texas 75201. It may be served

 at its principal place of business or through its principal officer, James P. Seery, Jr., or through the

 Texas Secretary of State, or through any other means authorized by federal or state law.

         4.      Defendant Highland HCF Advisor, Ltd. is a limited company incorporated under

 the laws of the Cayman Islands. Its principal place of business is 300 Crescent Court, Suite 700,

 Dallas, Texas 75201. It is a registered investment adviser (“RIA”) subject to the laws and

 regulations of the Investment Advisers Act of 1940 (the “Adviser’s Act”). It is a wholly-owned

 subsidiary of Highland Capital Management, L.P.

         5.      Nominal Defendant Highland CLO Funding, Ltd. is a limited company

 incorporated under the laws of the Island of Guernsey. Its registered office is at First Floor, Dorey

 Court, Admiral Park, St. Peter Port, Guernsey GY1 6HJ, Channel Islands. Its principal place of

 business is 300 Crescent Court, Suite 700, Dallas, Texas 75201.

         6.      Potential party James P. Seery, Jr. (“Seery”) is an officer and/or director and/or

 control person of Defendants Highland Capital Management, L.P., Highland CLO Funding, Ltd.,

 and Highland HCF Advisor, Ltd., and is a citizen of and domiciled in Floral Park, New York.




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                                                    III.
                                   JURISDICTION AND VENUE
         7.      This Court has subject matter jurisdiction over this dispute under 28 U.S.C. § 1331

 as one or more rights and/or causes of action arise under the laws of the United States. This Court

 has supplemental subject matter jurisdiction over all other claims under 28 U.S.C. § 1367.

         8.      Personal jurisdiction is proper over the Defendants because they reside and/or have

 continual contacts with the state of Texas, having regularly submitted to jurisdiction here.

 Jurisdiction is also proper under 18 U.S.C. § 1965(d).

         9.      Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c) because one or

 more Defendants reside in this district and/or a substantial part of the events or omissions giving

 rise to the claim occurred or a substantial part of property that is the subject of the action is situated

 in this district. Venue in this district is further provided under 18 U.S.C. § 1965(d).

                                                    IV.
                                    RELEVANT BACKGROUND
                                         HCLOF IS FORMED
         10.     Plaintiff DAF is a charitable fund that helps several causes throughout the country,

 including providing funding for humanitarian issues (such as veteran’s welfare associations and

 women’s shelters), public works (such as museums, parks and zoos), and education (such as

 specialty schools in underserved communities). Its mission is critical.

         11.     Since 2012, DAF was advised by its registered investment adviser, Highland

 Capital Management, L.P., and its various subsidiaries, about where to invest. This relationship

 was governed by an Investment advisory Agreement.




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         12.     At one point in 2017, HCM advised DAF to acquire 143,454,001 shares of HCLOF,

 with HCFA (a subsidiary of HCM) serving as the portfolio manager. DAF did so via a holding

 entity, Plaintiff CLO Holdco, Ltd.

         13.     On November 15, 2017, through a Subscription and Transfer Agreement, the DAF

 entered into an agreement with others to sell and transfer shares in HCLOF, wherein the DAF

 retained 49.02% in CLO Holdco.

         14.     Pursuant to that agreement, Harbourvest acquired the following interests in the

 following entities:

         Harbourvest Dover Street IX Investment, L.P., acquired 35.49%;

         Harbourvest 2017 Global AIF, L.P., acquired 2.42%;

         Harbourvest 2017 lobal Fund, L.P., acquired 4.85%;

         HV International VIII Secondary, L.P., acquired 6.5%; and

         Harbourvest Skew Base AIF, L.P., acquired 0.72%;

 for a total of 49.98% (altogether, the “Harbourvest interests”).

         15.     On or about October 16, 2019, Highland Capital Management filed for Chapter 11

 bankruptcy in Delaware Bankruptcy Court, which was later transferred to the Northern District of

 Texas Bankruptcy Court, in the case styled In Re: Highland Capital Management, L.P., Debtor,

 Cause No. 19-34054, (the “HCM Bankruptcy” and the Court is the “Bankruptcy Court”).

                               The Harbourvest Settlement with
                         Highland Capital Management in Bankruptcy

         16.     On April 8, 2020, Harbourvest submitted its proofs of claim in the HCM bankruptcy

 proceeding. Annexed to its proofs of claims was an explanation of the Proof of Claim and the basis

 therefor setting out various pre-petition allegations of wrongdoing by HCM. See, e.g., Case No.

 19-bk-34054, Doc. 1631-5.


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         17.     The debtor, HCM, made an omnibus response to the proofs of claims, stating they

 were duplicative of each other, overstated, late, and otherwise meritless.

         18.     Harbourvest responded to the omnibus objections on September 11, 2020. See

 Cause No. 19-bk-34054, Doc. 1057.

         19.     Harbourvest represented that it had invested in HCLOF, purchasing 49.98% of

 HCLOF’s outstanding shares.

         20.     Plaintiff CLO Holdco was and is also a 49.02% holder of HCLOF’s member

 interests.

         21.     In its Omnibus Response, Harbourvest explained that its claims included

 unliquidated legal claims for fraud, fraud in the inducement, RICO violations under 18 U.S.C.

 1964, among others (the “Harbourvest Claims”). See Cause No. 19-bk-34054, Doc. 1057.

         22.     The Harbourvest Claims centered on allegations that when Harbourvest was

 intending to invest in a pool of Collateralized Loan Obligations, or CLOs, that were then-managed

 by Acis Capital Management (“Acis”), a subsidiary of HCM, HCM failed to disclose key facts

 about ongoing litigation with a former employee, Josh Terry.

         23.     Harbourvest contended that HCM never sufficiently disclosed the underlying facts

 about the litigation with Terry, and HCM’s then-intended strategy to fight Terry caused HCLOF

 to incur around $15 million in legal fees and costs. It contended that had it known the nature of the

 lawsuit and how it would eventually turn out, Harbourvest never would have invested in HCLOF.

 See Cause No. 19-bk-34054, Doc. 1057.

         24.     HCLOF’s portfolio manager is HCFA. HCM is the parent of HCFA and is managed

 by its General Partner, Strand Management, who employs Seery and acts on behalf of HCM.




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         25.      Before acceding to the Harbourvest interests, HCM was a 0.6% holder of HCLOF

 interests.

         26.      While even assuming Harbourvest’s underlying claims were valid as far as the lost

 $15 million went, the true damage of the legal fees to Harbourvest would have been 49.98% of the

 HCLOF losses (i.e., less than $7.5 million). Harbourvest claimed that it had lost over $100 million

 in the HCLOF transaction due to fraud, which, after trebling under the racketeering statute, it

 claimed it was entitled to over $300 million in damages.

         27.      In truth, as of September 2020, Harbourvest had indeed lost some $52 million due

 to the alleged diminishing value of the HCLOF assets (largely due to the underperformance of the

 Acis entities3)—and the values were starting to recover.

         28.      HCM denied the allegations in the Bankruptcy Court. Other than the claim for

 waste of corporate assets of $15 million, HCM at all times viewed the Harbourvest legal claims as

 being worth near zero and having no merit.

         29.      On December 23, 2020, HCM moved the Court to approve a settlement between

 itself and Harbourvest. No discovery had taken place between the parties, and Plaintiff did not

 have any notice of the settlement terms or other factors prior to the motion’s filing (or even during

 its pendency) in order to investigate its rights.

         30.      HCM set the hearing right after the Christmas and New Year’s holidays, almost

 ensuring that no party would have the time to scrutinize the underpinnings of the deal.

         31.      On January 14, 2021, the Bankruptcy Court held an evidentiary hearing and

 approved the settlement in a bench ruling, overruling the objections to the settlement.




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   Acis was being managed by Joshua Terry. JP Morgan had listed the four ACIS entities under his management as
 the four worst performers of the 1200 CLOs it evaluated.

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         32.     An integral part of the settlement was allowing $45 million in unsecured claims

 that, at the time of the agreement, were expected to net Harbourvest around 70 cents on the dollar.

 In other words, Harbourvest was expected to recover around $31,500,000 from the allowed claims.

         33.     As part of the consideration for the $45 million in allowed claims, Harbourvest

 agreed to transfer all of its interests in HCLOF to HCM or its designee.

         34.     HCM and Seery rationalized the settlement value by allocating $22.5 million of the

 net value of the $45 million in unsecured claims as consideration to purchase Harbourvest’s

 interests in HCLOF, meaning, if 70% of the unsecured claims—i.e., $31.5 million—was realized,

 because $22.5 million of that would be allocated to the purchase price of the Harbourvest interests

 in HCLOF, the true “settlement” for Harbourvest’s legal claims was closer to $9 million.

         35.     Plaintiffs here are taking no position at this time about the propriety of settling the

 Harbourvest legal claims for $9 million. That is for another day.

         36.     At the core of this lawsuit is the fact that HCM purchased the Harbourvest interests

 in HCLOF for $22.5 million knowing that they were worth far more than that.

         37.     It has recently come to light that, upon information and belief, the Harbourvest

 interests, as of December 31, 2020, were worth in excess of $41,750,000, and they have continued

 to go up in value.

         38.     On November 30, 2020, which was less than a month prior to the filing of the

 Motion to Approve the Settlement, the net asset value of those interests was over $34.5 million.

 Plaintiffs were never made aware of that.

         39.     The change is due to how the net asset value, or NAV, was calculated. The means

 and methods for calculating the “net asset value” of the assets of HCLOF are subject to and




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  governed by the regulations passed by the SEC pursuant to the Adviser’s Act, and by HCM’s

  internal policies and procedures.

            40.     Typically, the value of the securities reflected by a market price quote.

            41.     However, the underlying securities in HCLOF are not liquid and had not been

  traded in a long while.

            42.     There not having been any contemporaneous market quotations that could be used

  in good faith to set the marks4 meant that other prescribed methods of assessing the value of the

  interests, such as the NAV, would have been the proper substitutes.

            43.     Seery testified that the fair market value of the Harbourvest HCLOF interests was

  $22.5 million. Even allowing some leeway there, it was off the mark by a mile.

            44.     Given the artifice described herein, Seery and the entity Defendants had to know

  that the representation of the fair market value was false. But it does not appear that they disclosed

  it to Harbourvest to whom they owed fiduciary duties as the RIA in charge of HCLOF, and they

  certainly did not disclose the truth to the Plaintiff.

            45.     It is either the case that (i) Defendants conducted the proper analysis to obtain a

  current value of the assets but decided to use a far lower valuation in order to whitewash the

  settlement or enrich the bankruptcy estate; or (ii) Defendants never conducted the proper current

  valuation, and therefore baselessly represented what the current value of the assets was, despite

  knowingly having no reasonable basis for making such a claim.

            46.     For years HCM had such internal procedures and compliance protocols. HCM was

  not allowed by its own compliance officers to trade with an investor where HCM had superior

  knowledge about the value of the assets, for example. While Plaintiff has no reason to believe that



    4
        The term “mark” is shorthand for an estimated or calculated value for a non-publicly traded instrument.

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  those procedures were scrapped in recent months, it can only assume that they were either

  overridden improperly or circumvented wholesale.

          47.     Upon finalizing the Harbourvest Settlement Agreement and making representations

  to the Bankruptcy Court to the Plaintiffs about the value of the Harbourvest Interests, Seery and

  HCM had a duty to use current values and not rely on old valuations of the assets or the HCLOF

  interests.

          48.     Given Defendants’ actual or constructive knowledge that they were purchasing

  Harbourvest’s Interests in HCLOF for a less than 50% of what those interests were worth—

  Defendants owed Plaintiff a fiduciary duty not to purchase them for themselves.

          49.     Defendants should have either had HCLOF repurchase the interests with cash, or

  offer those interests to Plaintiff and the other members pro rata, before HCM agreed to purchase

  them all lock, stock and barrel, for no up-front cash.

          50.     Indeed, had Plaintiff been offered those interests, it would have happily purchased

  them and therefore would have infused over $20 million in cash into the estate for the purpose of

  executing the Harbourvest Settlement.

          51.     That Defendants (and to perhaps a lesser extent, the Unsecured Creditors

  Committee (the “UCC”)) agreed to pay $22.5 million for the HCLOF assets, where they had

  previously not consented to any such expenditure by the estate on behalf of HCLOF, strongly

  indicates their awareness that they were purchasing assets for far below market value.

          52.     The above is the most reasonable and plausible explanation for why Defendants

  and the UCC forwent raising as much as $22.5 million in cash now in favor of hanging on to the

  HCLOF assets.




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          53.      Indeed, in January 2021 Seery threatened Ethen Powell that “[Judge Jernigan] is

  laughing at you” and “we are coming after you” in response to the latter’s attempt to exercise his

  right as beneficial holder of the CLO, and pointing out a conflict of interest in Seery’s plan to

  liquidate the funds.

          54.      HCM’s threat, made by Seery, is tantamount to not only a declaration that he

  intends to liquidate the funds regardless of whether the investors want to do so, and whether it is

  in their best interests, but also that HCM intends to leverage what it views as the Bankruptcy

  Court’s sympathy to evade accountability.

                                                        V.

                                           CAUSES OF ACTION

                                          FIRST CAUSE OF ACTION
                                         Breaches of Fiduciary Duty

          55.      Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

  forth herein and further alleges the following:

          56.      HCM is a registered investment advisor and acts on behalf of HCFA. Both are

  fiduciaries to Plaintiffs.

          57.      The Advisers Act establishes an unwaivable federal fiduciary duty for investment

  advisers.5




  5
    See e.g, SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 194 (1963); Transamerica Mortg.
  Advisors (tama) v. Lewis, 444 U.S. 11, 17 (1979) (“§ 206 establishes ‘federal fiduciary standards’ to govern
  the conduct of investment advisers.”); Santa Fe Indus, v. Green, 430 U.S. 462, 471, n.11 (1977) (in
  discussing SEC v. Capital Gains, stating that the Supreme Court’s reference to fraud in the “equitable”
  sense of the term was “premised on its recognition that Congress intended the Investment Advisers Act to
  establish federal fiduciary standards for investment advisers”). See also Investment Advisers Act Release
  No. 3060 (July 28, 2010) (“Under the Advisers Act, an adviser is a fiduciary whose duty is to serve the best
  interests of its clients, which includes an obligation not to subrogate clients’ interests to its own”) (citing
  Proxy Voting by Investment Advisers, Investment Advisers Act Release No. 2106 (Jan. 31, 2003)).

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          58.     HCM and the DAF entered into an Amended and Restated Investment Advisory

  Agreement, executed between them on July 1, 2014 (the “RIA Agreement”). It renews annually

  and continued until the end of January 2021.

          59.     In addition to being the RIA to the DAF, HCM was appointed the DAF’s attorney-

  in-fact for certain actions, such as “to purchase or otherwise trade in Financial Instruments that

  have been approved by the General Partner.” RIA Agreement ¶ 4.

          60.     The RIA Agreement further commits HCM to value financial assets “in accordance

  with the then current valuation policy of the Investment Advisor [HCM], a copy of which will

  provided to the General Partner upon request.” RIA Agreement ¶ 5.

          61.     While HCM contracted for the recognition that it would be acting on behalf of

  others and could be in conflict with advice given the DAF, (RIA Agreement ¶ 12), nowhere did it

  purport to waive the fiduciary duties owed to the DAF not to trade as a principal in a manner that

  harmed the DAF.

          62.     HCFA owed a fiduciary duty to Holdco as an investor in HCLOF and to which

  HCFA was the portfolio manager. HCM owed a fiduciary duty to the DAF (and to Holdco as its

  subsidiary) pursuant to a written Advisory Agreement HCM and the DAF had where HCM agreed

  to provide sound investment advice and management functions.

          63.     As a registered investment adviser, HCM’s fiduciary duty is broad and applies to

  the entire advisor-client relationship.

          64.     The core of the fiduciary duty is to act in the best interest of their investors—the

  advisor must put the ends of the client before its own ends or the ends of a third party.




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          65.     This is manifested in a duty of loyalty and a duty of utmost care. It also means that

  the RIA has to follow the terms of the company agreements and the regulations that apply to the

  investment vehicle.

          66.     The fiduciary duty that HCM and Seery owed to Plaintiff is predicated on trust and

  confidence. Section 204A of the Advisers Act requires investment advisors (whether SEC-

  registered or not) to establish, maintain, and enforce written policies and procedures reasonably

  designed to prevent the RIA from trading on material, non-public information. See 17 C.F.R. §

  275.206(4)-7. That means that Plaintiff should be able to take Defendants at their word and not

  have to second guess or dig behind representations made by them.

          67.     The simple thesis of this claim is that Defendants HCFA and HCM breached their

  fiduciary duties by (i) insider trading with Harbourvest and concealing the rising NAV of the

  underlying assets—i.e., trading with Harbourvest on superior, non-public information that was

  neither revealed to Harbourvest nor to Plaintiff; (ii) concealing the value of the Harbourvest

  Interests; and (iii) diverting the investment opportunity in the Harbourvest entities to HCM (or its

  designee) without offering it to or making it available to Plaintiff or the DAF.

          68.     HCM, as part of its contractual advisory function with Plaintiffs, had expressly

  recommended the HCLOF investment to the DAF. Thus, diverting the opportunity for returns on

  its investment was an additional breach of fiduciary duty.

          69.     This violated a multitude of regulations under 27 C.F.R. part 275, in addition to

  Rules 10b-5 and 10b5-1. 17 CFR 240.10b5-1 (“Rule 10b5-1”) explains that one who trades while

  possessing non-public information is liable for insider trading, and they do not necessarily have to

  have used the specific inside information.

          70.     It also violated HCM’s own internal policies and procedures.



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          71.      Also, the regulations impose obligations on Defendants to calculate a current

  valuation when communicating with an investor, such as what may or may not be taken into

  account, and what cannot pass muster as a current valuation. Upon information and belief, these

  regulations were not followed by the Defendants.

          72.      HCM’s internal policies and procedures, which it promised to abide by both in the

  RIA Agreement and in its Form ADV SEC filing, provided for the means of properly calculating

  the value of the assets.

          73.      HCM either did not follow these policies, changed them to be out of compliance

  both with the Adviser Act regulations and its Form ADV representations, and/or simply

  misrepresented or concealed their results.

          74.      In so doing, because the fiduciary duty owed to Plaintiff is a broad one, and because

  Defendants’ malfeasance directly implicates its relationship with Plaintiff, Defendants have

  breached the Advisers Act’s fiduciary duties owed to Plaintiff as part of their fiduciary

  relationship.6

          75.      At no time between agreeing with Harbourvest to the purchase of its interests and

  the court approval did Defendants disclose to either Harbourvest or to Plaintiff (and the

  Bankruptcy Court for that matter) that the purchase was at below 50% the current net asset value

  as well, and when they failed to offer Plaintiff (and the other members of HCLOF) their right to

  purchase the interests pro rata at such advantageous valuations. Plaintiff’s lost opportunity to



  6
    See Advisers Act Release No. 4197 (Sept. 17, 2015) (Commission Opinion) (“[O]nce an investment
  Advisory relationship is formed, the Advisers Act does not permit an adviser to exploit that fiduciary
  relationship by defrauding his client in any investment transaction connected to the Advisory
  relationship.”); see also SEC v. Lauer, No. 03-80612-CIV, 2008 U.S. Dist. LEXIS 73026, at 90 (S.D. Fla.
  Sept. 24, 2008) (“Unlike the antifraud provisions of the Securities Act and the Exchange Act, Section 206
  of the Advisers Act does not require that the activity be ‘in the offer or sale of any’ security or ‘in connection
  with the purchase or sale of any security.’”).

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  purchase has harmed Plaintiff. Plaintiff had been led to believe by the Defendants that the value

  of what was being purchased in the Harbourvest settlement by HCM (or its designee) was at fair

  market value. This representation, repeated again in the Bankruptcy Court during the Harbourvest

  confirmation, implicitly suggested that a proper current valuation had been performed.

          76.     Defendant’s principal, Seery, testified in January 2021 that the then-current fair

  market value of Habourvests’s 49.98% interest in HCLOF was worth around $22.5 million. But

  by then, it was worth almost double that amount and has continued to appreciate. Seery knew or

  should have known that fact because the value of some of the HCLOF assets had increased, and

  he had a duty to know the current value. His lack of actual knowledge, while potentially not overtly

  fraudulent, would nonetheless amount to a breach of fiduciary duty for acting without proper

  diligence and information that was plainly available.

          77.     Furthermore, HCLOF holds equity in MGM Studios and debt in CCS Medical via

  various CLO positions. But Seery, in his role as CEO of HCM, was made aware during an advisors

  meeting in December 2020 that Highland would have to restrict its trading in MGM because of its

  insider status due to activities that were likely to apply upward pressure on MGM’s share price.

          78.     Furthermore, Seery controlled the Board of CCS Medical. And in or around

  October 2020, Seery was advocating an equatization that would have increased the value of the

  CCS securities by 25%, which was not reflected in the HCM report of the NAV of HCLOF’s

  holdings.

          79.     Seery’s knowledge is imputed to HCM.

          80.     Moreover, it is a breach of fiduciary duty to commit corporate waste, which is

  effectively what disposing of the HCLOF assets would constitute in a rising market, where there




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  is no demand for disposition by the investors (save for HCM, whose proper 0.6% interest could

  easily be sold to the DAF at fair value).

          81.     As holder of 0.6% of the HCLOF interests, and now assignee of the 49.98%

  Harbourvest Interests), HCM has essentially committed self-dealing by threatening to liquidate

  HCLOF now that it may be compelled to do so under its proposed liquidation plan, which perhaps

  inures to the short term goals of HCM but to the pecuniary detriment of the other holders of

  HCLOF whose upside will be prematurely truncated.

          82.     Seery and HCM should not be allowed to benefit from the breach of their fiduciary

  duties because doing so would also cause Plaintiffs irreparable harm. The means and methods of

  disposal would likely render the full scope of damages to the DAF not susceptible to specific

  calculation—particularly as they would relate to calculating the lost opportunity cost. Seery and

  HCM likely do not have the assets to pay a judgment to Plaintiffs that would be rendered, simply

  taking the lost appreciation of the HCLOF assets.

          83.     Defendants are thus liable for diverting a corporate opportunity or asset that would

  or should have been offered to Plaintiff and the other investors. Because federal law makes the

  duties invoked herein unwaivable, it is preposterous that HCM, as a 0.6% holder of HCLOF,

  deemed itself entitled to the all of the value and optionality of the below-market Harbourvest

  purchase.

          84.     Defendants cannot rely on any contractual provision that purports to waive this

  violation. Nothing in any agreement purports to permit, authorize or otherwise sanitize

  Defendants’ self-dealing. All such provisions are void.

          85.     In the fourth quarter of 2020, Seery and HCM notified staff that they would be

  terminated on December 31, 2020. That termination was postponed to February 28, 2021.



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  Purchasing the Harbourvest assets without staffing necessary to be a functioning Registered

  Investment Advisor was a strategic reversal from prior filings that outlined canceling the CLO

  management contracts and allowing investors to replace Highland as manager.

          86.     Seery’s compensation agreement with the UCC incentivizes him to expedite

  recoveries and to prevent transparency regarding the Harbourvest settlement.

          87.     What is more, Seery had previously testified that the management contracts for the

  funds—HCLOF included—were unprofitable, and that he intended to transfer them. But he later

  rejected offers to purchase those management contracts for fair value and instead decided to

  continue to manage the funds—which is what apparently gave rise to the Harbourvest Settlement,

  among others. He simultaneously rejected an offer for the Harbourvest assets of $24 million,

  stating that they were worth much more than that.

          88.     Because of Defendants’ malfeasance, Plaintiffs have lost over $25 million in

  damages—a number that continues to rise—and the Defendants should not be able to obtain a

  windfall.

          89.     For the same reason, Defendants’ malfeasance has also exposed HCLOF to a

  massive liability from Harbourvest since the assignment of those interests is now one that is likely

  unenforceable under the Advisers Act, Section 47(b), if there was unequal information.

          90.     HCM and HCFA are liable as principals for breach of fiduciary duty, as are the

  principals and compliance staff of each entity.

          91.     Plaintiffs seek disgorgement, damages, exemplary damages, attorneys’ fees and

  costs. To the extent the Court determines that this claim had to have been brought derivatively on

  behalf of HCLOF, then Plaintiffs represent that any pre-suit demand would have been futile since

  asking HCM to bring suit against its principal, Seery, would have been futile.



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                                    SECOND CAUSE OF ACTION
                               Breach of HCLOF Company Agreement
                           (By Holdco against HCLOF, HCM and HCFA)

             92.   Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

   forth herein and further alleges the following:

             93.   On November 15, 2017, the members of HCLOF, along with HCLOF and HCFA,

  executed the Members Agreement Relating to the Company (the “Company Agreement”).

             94.   The Company Agreement governs the rights and duties of the members of HCLOF.

             95.   Section 6.2 of HCLOF Company Agreement provides that when a member “other

  than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

  third party (i.e., not to an affiliate of the selling member), then the other members have the first

  right of refusal to purchase those interests pro rata for the same price that the member has agreed

  to sell.

             96.   Here, despite the fact that Harbourvest agreed to sell its interests in HCLOF for

  $22.5 million when they were worth more than double that, Defendants did not offer Plaintiff the

  chance to buy its pro rata share of those interests at the same agreed price of $22.5 million (adjusted

  pro rata).

             97.   The transfer and sale of the interests to HCM were accomplished as part of the

  Harbourvest Settlement which was approved by the Bankruptcy Court.

             98.   Plaintiff was not informed of the fact that Harbourvest had offered its shares to

  Defendant HCM for $22.5 million—which was under 50% of their true value.

             99.   Plaintiff was not offered the right to purchase its pro rata share of the Harbourvest

  interests prior to the agreement being struck or prior to court approval being sought.




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          100.    Had Plaintiff been allowed to do so, it would have obtained the interests with a net

  equity value over their purchase price worth in excess of $20 million.

          101.    No discovery or opportunity to investigate was afforded Plaintiff prior to lodging

  an objection in the Bankruptcy Court.

          102.    Plaintiff is entitled to specific performance or, alternatively, disgorgement,

  constructive trust, damages, attorneys’ fees and costs.

                                     THIRD CAUSE OF ACTION
                                           Negligence
                       (By the DAF and CLO Holdco against HCM and HCFA)

          103.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

  forth herein, and further alleges the following:

          104.    Plaintiffs incorporate the foregoing causes of action and note that all the foregoing

  violations were breaches of the common law duty of care imposed by law on each of Seery, HCFA

  and HCM.

          105.    Each of these Defendants should have known that their actions were violations of

  the Advisers Act, HCM’s internal policies and procedures, the Company Agreement, or all three.

          106.    Seery and HCM owed duties of care to Plaintiffs to follow HCM’s internal policies

  and procedures regarding both the propriety and means of trading with a customer [Harbourvest],

  the propriety and means of trading as a principal in an account but in a manner adverse to another

  customer [the DAF and Holdco], and the proper means of valuing the CLOs and other assets held

  by HCLOF.

          107.    It would be foreseeable that failing to disclose the current value of the assets in the

  HCLOF would impact Plaintiffs negatively in a variety of ways.




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          108.    It would be reasonably foreseeable that failing to correctly and accurately calculate

  the current net asset value of the market value of the interests would cause Plaintiffs to value the

  Harbourvest Interests differently.

          109.    It would be reasonably foreseeable that referring to old and antiquated market

  quotations and/or valuations of the HCLOF assets or interests would result in a mis-valuation of

  HCLOF and, therefore, a mis-valuation of the Harbourvest Interests.

          110.    Likewise, it would have been foreseeable that Plaintiff’s failure to give Plaintiff the

  opportunity to purchase the Harbourvest shares at a $22.5 million valuation would cause Plaintiff

  damages. Defendants knew that the value of those assets was rising. They further knew or should

  have known that whereas those assets were sold to HCM for an allowance of claims to be funded

  in the future, selling them to Plaintiff would have provided the estate with cash funds.

          111.    Defendants’ negligence foreseeably and directly caused Plaintiff harm.

          112.    Plaintiff is thus entitled to damages.

                                       FOURTH CAUSE OF ACTION
                        Racketeering Influenced Corrupt Organizations Act
                                (CLO Holdco and DAF against HCM)

          113.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

  forth herein, and further alleges the following:

          114.    Defendants are liable for violations of the Racketeer Influenced and Corrupt

  Organizations (“RICO”) Act, 18 U.S.C. § 1961 et seq., for the conduct of an enterprise through a

  pattern of racketeering activity.

          115.    HCLOF constitutes an enterprise under the RICO Act. Additionally, or in the

  alternative, HCM, HCLA, and HCLOF constituted an association-in-fact enterprise. The purpose

  of the association-in-fact was the perpetuation of Seery’s position at HCM and using the



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  Harbourvest settlement as a vehicle to enrich persons other than the HCLOF investors, including

  Holdco and the DAF, and the perpetuation of HCM’s holdings in collateralized loan obligations

  owned by HCLOF, while attempting to deny Plaintiffs the benefit of its rights of ownership.

          116.    The association-in-fact was bound by informal and formal connections for years

  prior to the elicit purpose, and then changed when HCM joined it in order to achieve the

  association’s illicit purpose. For example, HCM is the parent and control person over HCFA,

  which is the portfolio manager of HCLOF pursuant to a contractual agreement—both are

  registered investment advisors and provide advisory and management services to HCLOF.

          117.    Defendants injured Plaintiffs through their continuous course of conduct of the

  HCM-HCLA-HCLOF association-in-fact enterprise. HCM’s actions (performed through Seery

  and others) constitute violations of the federal wire fraud, mail fraud, fraud in connection with a

  case under Title 11, and/or securities fraud laws, pursuant to 18 U.S.C. § 1961(1)(B) and (D).

          118.    HCM operated in such a way as to violate insider trading rules and regulations when

  it traded with Harbourvest while it had material, non-public information that it had not supplied to

  Harbourvest or to Plaintiffs.

          119.    In or about November 2020, HCM and Harbourvest entered into discussions about

  settling the Harbourvest Claims. Seery’s conduct of HCLOF and HCLA on behalf of HCM through

  the interstate mails and/or wires caused HCM to agree to the purchase of Harbourvest’s interests

  in HCLOF.

          120.    On or about each of September 30, 2020, through December 31, 2020, Seery,

  through his conduct of the enterprise, utilized the interstate wires and/or mails to obtain or arrive

  at valuations of the HCLOF interests. Seery’s conduct of the enterprise caused them to cease




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  sending the valuation reports to Plaintiffs, which eventually allowed Plaintiffs to be misled into

  believing that Seery had properly valued the interests.

          121.    On or about September 30, 2020, Seery transmitted or caused to be transmitted

  though the interstate wires information to HCLOF investors from HCM (via HCFA), including

  Harbourvest, regarding the value of HCLOF interests and underlying assets.

          122.    Additionally, Seery operated HCM in such a way that he concealed the true value

  of the HCLOF interests by utilizing the interstate wires and mails to transmit communications to

  the court in the form of written representations on or about December 23, 2020, and then further

  transmitted verbal representations of the current market value (the vastly understated one) on

  January 14, 2021, during live testimony.

          123.    However, Harbourvest was denied the full picture and the true value of the

  underlying portfolio. At the end of October and November of 2020, HCM had updated the net

  asset values of the HCLOF portfolio. According to sources at HCM at the time, the HCLOF assets

  were worth north of $72,969,492 as of November 30, 2020. Harbourvest’s share of that would

  have been $36,484,746.

          124.    The HCLOF net asset value had reached $86,440,024 as of December 31, 2021,

  which means that by the time Seery was testifying in the Bankruptcy Court on January 14, 2021,

  the fair market value of the Harbourvest Assets was $22.5 million, when it was actually closer to

  $43,202,724. Seery, speaking on behalf of HCM, knew of the distinction in value.

          125.    On January 14, 2021, Seery also testified that he (implying HCM, HCLA and

  HCLOF) had valued the Harbourvest Assets at their current valuation and at fair market value.

  This was not true because the valuation that was used and testified to was ancient. The ostensible

  purpose of this concealment was to induce Plaintiff and other interest holdings to take no action.



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          126.    In supporting HCM’s motion to the Bankruptcy Court to approve the Harbourvest

  Settlement, Seery omitted the fact that HCM was purchasing the interests at a massive discount,

  which would violate the letter and spirit of the Adviser’s Act.

          127.    Seery was informed in late December 2020 at an in-person meeting in Dallas to

  which Seery had to fly that HCLOF and HCM had to suspend trading in MGM Studios’ securities

  because Seery had learned from James Dondero, who was on the Board of MGM, of a potential

  purchase of the company. The news of the MGM purchase should have caused Seery to revalue

  the HCLOF investment in MGM.

          128.    In or around October 2020, Seery (who controls the Board of CSS Medical) was

  pursuing “equatization” of CSS Medical’s debt, which would have increased the value of certain

  securities by 25%. In several communications through the U.S. interstate wires and/or mails, and

  with Plaintiffs, and the several communications with Harbourvest during the negotiations of the

  settlement, Seery failed to disclose these changes which were responsible in part for the ever-

  growing value of the HCLOF CLO portfolio.

          129.    Seery was at all relevant times operating as an agent of HCM.

          130.    This series of related violations of the wire fraud, mail fraud, and securities fraud

  laws, in connection with the HCM bankruptcy, constitute a continuing pattern and practice of

  racketeering for the purpose of winning a windfall for HCM and himself--a nearly $30,000,000

  payday under the confirmation agreement.

          131.    The federal RICO statute makes it actionable for one’s conduct of an enterprise to

  include “fraud in connection with a [bankruptcy case]”. The Advisers’ Act antifraud provisions

  require full transparency and accountability to an advisers’ investors and clients and does not

  require a showing of reliance or materiality. The wire fraud provision likewise is violated when,



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  as here, the interstate wires are used as part of a “scheme or artifice … for obtaining money or

  property by means of false … pretenses, [or] representations[.]”

          132.    Accordingly, because Defendants’ conduct violated the wire fraud and mail fraud

  laws, and the Advisers’ Act antifraud provisions, and their acts and omissions were in connection

  with the HCM Bankruptcy proceedings under Title 11, they are sufficient to bring such conduct

  within the purview of the RICO civil action provisions, 18 U.S.C. § 1964.

          133.    Plaintiffs are thus entitled to damages, treble damages, attorneys’ fees and costs of

  suit, in addition to all other injunctive or equitable relief to which they are justly entitled.

                                        FIFTH CAUSE OF ACTION
                                          Tortious Interference
                                      (CLO Holdco against HCM)

          134.    Plaintiff respectfully incorporates the foregoing factual averments as if fully set

  forth herein and further alleges the following:

          135.    At all relevant times, HCM owned a 0.6% interest in HCLOF.

          136.    At all relevant times, Seery and HCM knew that Plaintiff had specific rights in

  HCLOF under the Company Agreement, § 6.2.

          137.    Section 6.2 of HCLOF Company agreement provides that when a member “other

  than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

  third party (i.e., not an affiliate of the member), then the other members have the first right of

  refusal to purchase those interests pro rata for the same price that the member has agreed to sell.

          138.    HCM, through Seery, tortiously interfered with Plaintiff’s contractual rights with

  HCLOF by, among other things, diverting the Harbourvest Interests in HCLOF to HCM without

  giving HCLOF or Plaintiff the option to purchase those assets at the same favorable price that

  HCM obtained them.



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          139.     HCM and Seery tortiously interfered with Plaintiff’s contractual rights with

  HCLOF by, among other things, misrepresenting the fair market value as $22.5 million and

  concealing the current value of those interests.

          140.    But for HCM and Seery’s tortious interference, Plaintiff would have been able to

  acquire the Harbourvest Interests at a highly favorable price. HCM and Seery’s knowledge of the

  rights and intentional interference with these rights has caused damage to Plaintiff CLO Holdco.

          141.    Plaintiff is therefore entitled to damages from HCM and Seery, as well as

  exemplary damages.

                                                     VI.

                                            JURY DEMAND

          142.    Plaintiff demands trial by jury on all claims so triable.

                                                     VII.

                                       PRAYER FOR RELIEF

          143.    Wherefore, for the foregoing reasons, Plaintiffs respectfully pray that the Court

  enter judgment in its favor and against Defendants, jointly and severally, for:

              a. Actual damages;

              b. Disgorgement;

              c. Treble damages;

              d. Exemplary and punitive damages;

              e. Attorneys’ fees and costs as allowed by common law, statute or contract;

              f. A constructive trust to avoid dissipation of assets;

              g. All such other relief to which Plaintiff is justly entitled.




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  Dated: April 12, 2021                          Respectfully submitted,

                                                 SBAITI & COMPANY PLLC

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                                                 Texas Bar No. 24058096
                                                 Jonathan Bridges
                                                 Texas Bar No. 24028835
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                                                 Counsel for Plaintiffs




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                                                            REGISTER OF DIRECTORS
                                                                     FOR:
                                                              CLO HOLDCO, LTD.



  Name & Address                                                              Office Held         Date of Appointment       Date of Resignation

  WNL Limited
  Walkers Corporate Services Limited; Walker House; 87 Mary Street;            Director               17 Dec 2010               17 Dec 2010
  George Town; Grand Cayman KY1-9005; Cayman Islands.
  Grant James Scott
  Highland Capital Managment, L.P.; 13455 Noel Road, Suite 800; Dallas;        Director               17 Dec 2010               24 Mar 2021
  Texas 75240; USA.
  Mark E. Patrick
                                                                               Director               24 Mar 2021               31 Mar 2021
  .
  Grant James Scott
  Highland Capital Managment, L.P.; 13455 Noel Road, Suite 800; Dallas;        Director               31 Mar 2021               02 Apr 2021
  Texas 75240; USA.
  Mark E. Patrick
                                                                               Director               02 Apr 2021
  .
  Paul Murphy
  Coutil Jacques; Les Gravees, St Peter Port; Guernsey; Guernsey, C.I.         Director               22 Apr 2021
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                                                                    FOR:
                                                        CHARITABLE DAF HOLDCO, LTD



  Name & Address                                                            Office Held         Date of Appointment       Date of Resignation

  WNL Limited
  Walkers Corporate Services Limited; Walker House; 87 Mary Street;          Director               04 Nov 2011               04 Nov 2011
  George Town; Grand Cayman KY1-9005; Cayman Islands.
  Grant James Scott
  Highland Capital Managment, L.P.; 13455 Noel Road, Suite 800; Dallas;      Director               04 Nov 2011               25 Mar 2021
  Texas 75240; USA.
  Patrick Mark
  Highland Capital Management, L.P.; 13455 Noel Rd, Suite 800; Dallas;       Director               25 Mar 2021
  TX 75240; USA.
  Paul Murphy
  Coutil Jacques; Les Gravees, St Peter Port; Guernsey; Guernsey, C.I.       Director               22 Apr 2021
  GY1 1RL.




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                                                            REGISTER OF DIRECTORS
                                                                     FOR:
                                                          LIBERTY CLO HOLDCO, LTD.



  Name & Address                                                             Office Held          Date of Appointment       Date of Resignation

  WNL Limited
  Walkers Corporate Services Limited; Walker House; 87 Mary Street;            Director               26 Jun 2012               26 Jun 2012
  George Town; Grand Cayman KY1-9005; Cayman Islands.
  Grant James Scott
  Highland Capital Managment, L.P.; 13455 Noel Road, Suite 800; Dallas;        Director               26 Jun 2012               24 Mar 2021
  Texas 75240; USA.
  Mark E. Patrick
  Highland Capital Managment, L.P.; 13455 Noel Road, Suite 800; Dallas;        Director               24 Mar 2021
  Texas 75240; USA.
  Paul Murphy
  Coutil Jacques; Les Gravees, St Peter Port; Guernsey; Guernsey, C.I.         Director               22 Apr 2021
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                                                                    FOR:
                                                         MGM STUDIOS HOLDCO, LTD.



  Name & Address                                                            Office Held         Date of Appointment       Date of Resignation

  WNL Limited
  190 Elgin Avenue; George Town; Grand Cayman KY1-9001; Cayman               Director               12 Nov 2014               12 Nov 2014
  Islands.
  Grant James Scott
  Highland Capital Managment, L.P.; 13455 Noel Road, Suite 800; Dallas;      Director               12 Nov 2014               24 Mar 2021
  Texas 75240; USA.
  Mark E. Patrick
                                                                             Director               24 Mar 2021
  .
  Paul Murphy
  Coutil Jacques; Les Gravees, St Peter Port; Guernsey; Guernsey, C.I.       Director               22 Apr 2021
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                                                                     FOR:
                                                             HCT HOLDCO 2, LTD.



  Name & Address                                                              Office Held         Date of Appointment       Date of Resignation

  WNL Limited
  Walkers Corporate Services Limited; Walker House; 87 Mary Street;            Director               30 Dec 2010               30 Dec 2010
  George Town; Grand Cayman KY1-9005; Cayman Islands.
  Grant James Scott
  Highland Capital Managment, L.P.; 13455 Noel Road, Suite 800; Dallas;        Director               30 Dec 2010               24 Mar 2021
  Texas 75240; USA.
  Mark E. Patrick
                                                                               Director               24 Mar 2021
  .
  Paul Murphy
  Coutil Jacques; Les Gravees, St Peter Port; Guernsey; Guernsey, C.I.         Director               22 Apr 2021
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